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Case 3:21-cv-00881-X Document Appendix
                                   178-16 Page
                                            Filed 110 of 899 Page 1 of 200 PageID 43945
                                                  01/09/24




                                                                                 APP 108
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Case 3:21-cv-00881-X Document Appendix
                                   178-16 Page
                                            Filed 111 of 899 Page 2 of 200 PageID 43946
                                                  01/09/24




                                                                                 APP 109
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Case 3:21-cv-00881-X Document Appendix
                                   178-16 Page
                                            Filed 112 of 899 Page 3 of 200 PageID 43947
                                                  01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                   178-16 Page
                                            Filed 113 of 899 Page 4 of 200 PageID 43948
                                                  01/09/24




                                                                                 APP 111
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 Case
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Case 3:21-cv-00881-X Document Appendix
                                   178-16 Page
                                            Filed 114 of 899 Page 5 of 200 PageID 43949
                                                  01/09/24




                                                                                 APP 112
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 Case
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page
                                           Filed 115 of 899 Page 6 of 200 PageID 43950
                                                 01/09/24




                                                                                APP 113
 Case
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page
                                           Filed 116 of 899 Page 7 of 200 PageID 43951
                                                 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page
                                           Filed 117 of 899 Page 8 of 200 PageID 43952
                                                 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page
                                           Filed 118 of 899 Page 9 of 200 PageID 43953
                                                 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    119 of 899 Page 10 of 200 PageID 43954
                                           Filed 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    120 of 899 Page 11 of 200 PageID 43955
                                           Filed 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    121 of 899 Page 12 of 200 PageID 43956
                                           Filed 01/09/24




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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    122 of 899 Page 13 of 200 PageID 43957
                                           Filed 01/09/24




                                                                                APP 120
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    123 of 899 Page 14 of 200 PageID 43958
                                           Filed 01/09/24




                                                                                APP 121
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    124 of 899 Page 15 of 200 PageID 43959
                                           Filed 01/09/24




                                                                                APP 122
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 Case
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      21-03010-sgj
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    125 of 899 Page 16 of 200 PageID 43960
                                           Filed 01/09/24




                                                                                APP 123
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
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Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     126 of 899 Page 17 of 200 PageID 43961
                                           Filed 01/09/24


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  Counsel for Defendant NexPoint Advisors, L.P.

                     IN THE UNITED STATES BANKRUPTCY COURT
                       FOR THE NORTHERN DISTRICT OF TEXAS
                                 DALLAS DIVISION
  In re:                                   §          Case No. 19-34054-SGJ-11
                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §                Chapter 11
                                           §
         Debtor.                           §
                                           §
  HIGHLAND CAPITAL MANAGEMENT, L.P., §
                                           §
         Plaintiff.                        §
                                           §
  v.                                       §
                                           §         Adversary No.: 21-03005-sgj
  NEXPOINT ADVISORS, L.P., JAMES           §
  DONDERO, NANCY DONDERO, AND              §
  DUGABOY INVESTMENT TRUST,                §
                                           §
         Defendants.                       §

                            DEFENDANT NEXPOINT ADVISORS, L.P.’S
                              ANSWER TO AMENDED COMPLAINT

          Defendant NexPoint Advisors, L.P. (“NexPoint”), a defendant in the above-styled and

  numbered adversary proceeding (the “Adversary Proceeding”) filed by Highland Capital

  Management, L.P. (the “Plaintiff”), hereby files this Answer (the “Answer”) responding to the

  Amended Complaint for (I) Breach of Contract and (II) Turnover of Property (III) Fraudulent

  Transfer, and (IV) Breach of Fiduciary Duty [Adv. Dkt. 73] (the “Amended Complaint”). Where

  an allegation in the Amended Complaint is not expressly admitted in this Answer, it is denied.


                                                                                           Exhibit B
  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 1
                                                                                            APP 124
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
                        86-3Filed   Filed 01/05/22
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                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     127 of 899 Page 18 of 200 PageID 43962
                                           Filed 01/09/24



                                   PRELIMINARY STATEMENT

            1.   The first sentence of paragraph 1 of the Amended Complaint sets forth the

  Plaintiff’s objective in bringing the Amended Complaint and does not require a response. To the

  extent it contains factual allegations, they are denied. The second sentence contains a legal

  conclusion that does not require a response. To the extent it contains factual allegations, they are

  denied.

            2.   Defendant NexPoint admits that NPA’s First Amended Answer speaks for itself.

  To the extent paragraph 2 contradicts the First Amended Answer, it is denied.

            3.   Defendant NexPoint denies the allegations in paragraph 3 of the Amended

  Complaint.

            4.   Paragraph 4 of the Amended Complaint sets forth the Plaintiff’s objective in

  bringing the Amended Complaint and does not require a response. To the extent it contains factual

  allegations, they are denied.

            5.   Paragraph 5 of the Amended Complaint contains a summary of the relief the Plaintiff

  seeks and does not require a response. To the extent it contains factual allegations, they are

  denied.

                                   JURISDICTION AND VENUE

            6.   Defendant NexPoint admits that this Adversary Proceeding relates to the

  Plaintiff’s bankruptcy case but denies any implication that this fact confers Constitutional

  authority on the Bankruptcy Court to adjudicate this dispute. Any allegations in paragraph 6 not

  expressly admitted are denied.

            7.   Defendant NexPoint admits that the Court has statutory (but not Constitutional)

  jurisdiction to hear this Adversary Proceeding. Any allegations in paragraph 7 not expressly

  admitted are denied.

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                             PAGE 2
                                                                                                APP 125
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
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Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     128 of 899 Page 19 of 200 PageID 43963
                                           Filed 01/09/24



             8.    Defendant NexPoint denies the allegations contained in paragraph 8 of the

  Amended Complaint. Defendant NexPoint does not consent to any trial before, or final order

  entered by, the Bankruptcy Court. Defendant NexPoint demands a trial by jury of all issues so

  triable.

             9.    Defendant NexPoint admits the allegations in paragraph 9 of the Amended

  Complaint.

                                          THE PARTIES

             10.   Defendant NexPoint admits the allegations in paragraph 10 of the Amended

  Complaint.

             11.   Defendant NexPoint admits the allegations in paragraph 11 of the Amended

  Complaint.

             12.   Defendant NexPoint admits the allegations in paragraph 12 of the Amended

  Complaint.

             13.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 13 of the Amended Complaint and therefore denies

  the same.

             14.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 14 of the Amended Complaint and therefore denies

  the same.

                                      CASE BACKGROUND

             15.   Defendant NexPoint admits the allegations in paragraph 15 of the Amended

  Complaint.

             16.   Defendant NexPoint admits the allegations in paragraph 16 of the Amended

  Complaint.

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                        PAGE 3
                                                                                           APP 126
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
                        86-3Filed   Filed 01/05/22
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Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     129 of 899 Page 20 of 200 PageID 43964
                                           Filed 01/09/24



         17.     Defendant NexPoint admits the allegations in paragraph 17 of the Amended

  Complaint.

         18.     Defendant NexPoint admits the allegations in paragraph 18 of the Amended

  Complaint.

         19.     Defendant NexPoint admits the allegations in paragraph 19 of the Amended

  Complaint.

                                     STATEMENT OF FACTS

         20.     Defendant NexPoint admits that it has executed at least one promissory note under

  which the Debtor is a payee. Any allegations in paragraph 20 note expressly admitted are denied.

         21.     Defendant NexPoint admits the allegations in paragraph 21 of the Amended

  Complaint.

         22.     Defendant NexPoint denies paragraph 22 of the Complaint. The document speaks

  for itself and the quote set forth in paragraph 22 is not verbatim.

         23.     Defendant NexPoint admits the allegations in paragraph 23 of the Amended

  Complaint.

         24.     Defendant NexPoint denies paragraph 24 of the Complaint. The document speaks

  for itself and the quote set forth in paragraph 24 is not verbatim.

         25.     Defendant NexPoint admits the allegations in paragraph 25 of the Amended

  Complaint.

         26.     Defendant NexPoint admits that it did not make a payment under the Note on

  December 31, 2020. Defendant NexPoint denies that any payment was due under the Note on

  December 31, 2020. To the extent not expressly admitted, paragraph 26 of the Amended

  Complaint is denied.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 4
                                                                                            APP 127
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
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                                                                           Page   ofof13
                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     130 of 899 Page 21 of 200 PageID 43965
                                           Filed 01/09/24



            27.   Defendant NexPoint admits that Exhibit 2 to the Amended Complaint (the

  “Demand Letter”) is a true and correct copy of what it purports to be and that the document

  speaks for itself. To the extent paragraph 27 of the Amended Complaint asserts a legal

  conclusion, no response is required, and it is denied. To the extent not expressly admitted,

  paragraph 27 of the Amended Complaint is denied.

            28.   Defendant NexPoint admits that it paid the Debtor $1,406,111.92 on January 14,

  2021, but denies that any payment was due on December 31, 2020 or that this was an attempt to

  cure a default. To the extent not expressly admitted, paragraph 28 of the Amended Complaint is

  denied.

            29.   Defendant NexPoint admits that Exhibit 3 to the Amended Complaint (the

  “Second Demand Letter”) is a true and correct copy of what it purports to be and that the

  document speaks for itself. To the extent paragraph 29 of the Amended Complaint asserts a legal

  conclusion, no response is required, and it is denied. To the extent not expressly admitted,

  paragraph 29 of the Amended Complaint is denied.

            30.   To the extent paragraph 30 of the Amended Complaint asserts a legal conclusion,

  no response is necessary, and it is denied. The Defendant otherwise admits paragraph 30 of the

  Amended Complaint.

            31.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 31 of the Amended Complaint and therefore denies

  the same.

            32.   Defendant NexPoint denies the allegations in paragraph 32 of the Amended

  Complaint.

            33.   Defendant NexPoint admits that the Debtor filed the Original Complaint in this

  action on January 22, 2021, as alleged in the first sentence of paragraph 33 of the Amended

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 5
                                                                                            APP 128
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
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                                                                           Page   ofof13
                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     131 of 899 Page 22 of 200 PageID 43966
                                           Filed 01/09/24



  Complaint. Defendant NexPoint denies it is liable for the relief requested in the Original

  Complaint. To the extent not expressly admitted, paragraph 33 of the Amended Complaint is

  denied.

            34.   Defendant NexPoint admits the allegations in paragraph 34 of the Amended

  Complaint.

            35.   Defendant NexPoint admits the allegations in paragraph 35 of the Amended

  Complaint.

            36.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

  itself. To the extent paragraph 36 contradicts the First Amended Answer, it is denied.

            37.   Defendant NexPoint admits that NexPoint’s First Amended Answer speaks for

  itself. To the extent paragraph 37 contradicts the First Amended Answer, it is denied.

            38.   Paragraph 38 of the Amended Complaint asserts a legal conclusion to which no

  answer is required. To the extent of any factual allegation, Defendant NexPoint admits that Mr.

  Dondero controlled NPA and denies that he controlled the Debtor at the time of the Alleged

  Agreement.

            39.   Defendant NexPoint lacks knowledge or information sufficient to form a belief

  about the truth of the allegations in paragraph 39 of the Amended Complaint and therefore denies

  the same.

            40.   Defendant NexPoint denies the allegations in paragraph 40 of the Amended

  Complaint.

            41.   Defendant NexPoint admits that Exhibit 4 to the Amended Complaint is a true and

  correct copy of what it purports to be and that the document speaks for itself. To the extent

  paragraph 41 of the Amended Complaint asserts a legal conclusion, no response is required, and




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                         PAGE 6
                                                                                            APP 129
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
                        86-3Filed   Filed 01/05/22
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                                                                11:52:30
                                                                 17:22:38   Page77Desc
                                                                           Page   ofof13
                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     132 of 899 Page 23 of 200 PageID 43967
                                           Filed 01/09/24



  it is denied. To the extent not expressly admitted, paragraph 41 of the Amended Complaint is

  denied.

            42.   Paragraph 42 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

            43.   Paragraph 43 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

                                   FIRST CLAIM FOR RELIEF
                                        (against NexPoint)
                                     (for Breach of Contract)

            44.   Paragraph 44 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

            45.   Paragraph 45 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

            46.   Paragraph 46 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

            47.   Paragraph 47 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

            48.   Paragraph 48 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                               SECOND CLAIM FOR RELIEF
                                      (against NexPoint)
                      (Turnover by NexPoint Pursuant to 11 U.S.C. § 542(b))

            49.   Paragraph 49 of the Amended Complaint is a sentence of incorporation that does

  not require a response and is therefore denied. All prior responses are incorporated herein by

  reference.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                            PAGE 7
                                                                                                APP 130
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
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                                                                 17:22:38   Page88Desc
                                                                           Page   ofof13
                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     133 of 899 Page 24 of 200 PageID 43968
                                           Filed 01/09/24



         50.      Paragraph 50 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         51.      Paragraph 51 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         52.      Paragraph 52 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         53.      Paragraph 53 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.        Defendant NexPoint admits that the Plaintiff

  transmitted the Demand Letter and the Second Demand Letter, and those documents speak for

  themselves. 

         54.      Paragraph 54 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         55.      Paragraph 55 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                              THIRD CLAIM FOR RELIEF
                                   (Against NexPoint)
   (Avoidance and Recovery of Actual Fraudulent Transfer under 11 U.S.C. §§ 548(a)(1)(A)
                                        and 550)

         56.      Paragraph 56 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         57.      Paragraph 57 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

         58.      Paragraph 58 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                             PAGE 8
                                                                                                APP 131
   Case21-03005-sgj
 Case
  Case  21-03005-sgjDoc
        21-03005-sgj  Doc
                     Doc 64148-3
                        86-3Filed   Filed 01/05/22
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                                                                 17:22:38   Page99Desc
                                                                           Page   ofof13
                                                                                       13
Case 3:21-cv-00881-X DocumentAppendix
                                 178-16 Page     134 of 899 Page 25 of 200 PageID 43969
                                           Filed 01/09/24



         59.     Paragraph 59 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         60.     Paragraph 60 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         61.     Paragraph 61 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                             FOURTH CLAIM FOR RELIEF
                                   (Against NexPoint)
    (Avoidance and Recovery of Actual Fraudulent Transfer Under 11 U.S.C. § 544(b) and
                       550, and Tex. Bus. & C. Code § 24.005(a)(1))

         62.     Paragraph 62 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         63.     Paragraph 63 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

         64.     Paragraph 64 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         65.     Paragraph 65 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

         66.     Paragraph 66 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied. To the extent of any factual allegation, it is denied.

                                 FIFTH CLAIM FOR RELIEF
                   (Against Dugaboy Investment Trust and Nancy Dondero)
            (For Declaratory Relief: -- 11 U.S.C. § 105(a) and Fed. R. Bankr. P. 7001)

         67.     Paragraph 67 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                             PAGE 9
                                                                                                APP 132
   Case
 Case
  Case   21-03005-sgj
      21-03005-sgj
        21-03005-sgj
                   Doc Doc
                     Doc 64 148-3
                        86-3Filed   Filed 01/05/22
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                                                                           Page10Desc
                                                                                10ofof13
                                                                                       13
Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    135 of 899 Page 26 of 200 PageID 43970
                                           Filed 01/09/24



         68.     This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         69.     This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         70.     Paragraph 70 of the Amended Complaint states a legal conclusion that does not

  require a response and is therefore denied.

                                SIXTH CLAIM FOR RELIEF
                    (Against Dugaboy Investment Trust and Nancy Dondero)
                                  (Breach of Fiduciary Duty)

         71.     Paragraph 71 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         72.     This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         73.     This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         74.     This claim is only asserted against Defendants Dugaboy Investment Trust and

  Nancy Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

                               SEVENTH CLAIM FOR RELIEF
                          (Against James Dondero and Nancy Dondero)
                        (Aiding and Abetting a Breach of Fiduciary Duty)

         75.     Paragraph 75 of the Amended Complaint is a sentence of incorporation that does

  not require a response. All prior responses are incorporated herein by reference.

         76.     This claim is only asserted against Defendants James Dondero and Nancy

  Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

         77.     This claim is only asserted against Defendants James Dondero and Nancy

  Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                     PAGE 10
                                                                                           APP 133
   Case
 Case
  Case   21-03005-sgj
      21-03005-sgj
        21-03005-sgj
                   Doc Doc
                     Doc 64 148-3
                        86-3Filed   Filed 01/05/22
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                                                                           Page11Desc
                                                                                11ofof13
                                                                                       13
Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    136 of 899 Page 27 of 200 PageID 43971
                                           Filed 01/09/24



          78.      This claim is only asserted against Defendants James Dondero and Nancy

  Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          79.      This claim is only asserted against Defendants James Dondero and Nancy

  Dondero. Therefore, Defendant NexPoint is not required to respond to this claim.

          Defendant NexPoint denies that the Plaintiff is entitled to the relief requested in the

  prayer, including as to parts (i), (ii), (iii), (iv), (v), (vi), (vii) and (iii) [sic].

                                        AFFIRMATIVE DEFENSES

          80.      Pursuant to that certain Shared Services Agreement, the Plaintiff was responsible

  for making payments on behalf of the Defendant under the note. Any alleged default under the

  note was the result of the Plaintiff’s own negligence, misconduct, breach of contract, etc.

          81.      Delay in the performance of a contract is excused when the party who seeks to

  enforce the contract caused the delay. It was therefore inappropriate for the Plaintiff to accelerate

  the note when the brief delay in payment was the Plaintiff’s own fault.

          82.      Furthermore, the Plaintiff has waived the right to accelerate the note and /or the

  Plaintiff is estopped to enforce the alleged acceleration by accepting payment after the same.

          83.      Furthermore, the Plaintiff’s claims are barred in whole or in part because, prior to

  any alleged breach or acceleration, the Plaintiff agreed that it would not collect on the note upon

  fulfilment of certain conditions subsequent. Specifically, sometime between December of the

  year in which each Note was made and February of the following year, Defendant Nancy

  Dondero, as representative for a majority of the Class A shareholders of Plaintiff agreed that

  Plaintiff would forgive the Notes if certain portfolio companies were sold for greater than cost or

  on a basis outside of Defendant James Dondero’s control. This agreement setting forth the

  conditions subsequent to demands for payment on the Notes was an oral agreement; however,

  Defendant NexPoint believes there may be testimony or email correspondence thatdiscusses the

  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                             PAGE 11
                                                                                                 APP 134
   Case
 Case
  Case   21-03005-sgj
      21-03005-sgj
        21-03005-sgj
                   Doc Doc
                     Doc 64 148-3
                        86-3Filed   Filed 01/05/22
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                                                                           Page12Desc
                                                                                12ofof13
                                                                                       13
Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    137 of 899 Page 28 of 200 PageID 43972
                                           Filed 01/09/24



  existence of this agreement that may be uncovered through discovery in this Adversary

  Proceeding.

         84.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

  NexPoint acted in good faith, without knowledge of any alleged avoidability, and because

  reasonably equivalent value was provided for any alleged transfer or obligation.

         85.     Defendant NexPoint asserts that any fraudulent transfer claim is barred because

  no transferor or transferee, or obligor or obligee, was insolvent.

         86.     To the extent of any avoidance, NexPoint asserts a lien under 11 U.S.C. § 548(c)

  to the extent that NexPoint gave value, and a similar preference lien under any applicable

  provision of the Texas Uniform Fraudulent Transfer Act.

                                           JURY DEMAND

         87.     Defendant NexPoint demands a trial by jury of all issues so triable pursuant to

  Rule 38 of the Federal Rules of Civil Procedure and Rule 9015 of the Federal Rules of

  Bankruptcy Procedure.

         88.     Defendant NexPoint does not consent to the Bankruptcy Court conducting a jury

  trial and therefore demands a jury trial in the District Court.

                                               PRAYER

         WHEREFORE, PREMISES CONSIDERED, Defendant NexPoint respectfully requests

  that, following a trial on the merits, the Court enter a judgment that the Plaintiff take nothing on

  the Amended Complaint and provide Defendant NexPoint such other relief to which it is entitled.




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                          PAGE 12
                                                                                               APP 135
 Case
  Case
   Case
      21-03005-sgj
        21-03005-sgj
         21-03005-sgj
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                                                                                13
                                                                                 Desc
                                                                                  ofof13
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Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page    138 of 899 Page 29 of 200 PageID 43973
                                           Filed 01/09/24



           RESPECTFULLY SUBMITTED this 1st day of September, 2021.

                                             MUNSCH HARDT KOPF & HARR, P.C.
                                             
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                                                  Facsimile: (214) 855-7584
                                                   Email: drukavina@munsch.com

                                             COUNSEL FOR NEXPOINT ADVISORS, L.P.




                                    CERTIFICATE OF SERVICE
  
          The undersigned hereby certifies that, on September 1, 2021, a true and correct copy of
  this document was served via the Court’s CM/ECF system on counsel for the Plaintiff.

                                                     /s/ Davor Rukavina
                                                     Davor Rukavina




  DEFENDANT NEXPOINT’S ANSWER TO AMENDED COMPLAINT                                      PAGE 13
  4828Ͳ3165Ͳ6185v.1019717.00001                                                         APP 136
  Case
    Case
       21-03005-sgj
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                    DocDoc
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                                                                          Page 1Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    139 of 899 Page 30 of 200 PageID 43974
                                          Filed 01/09/24
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·1· · · · · · · · WATERHOUSE - 10-19-21

·2· · · · IN THE UNITED STATES BANKRUPTCY COURT
· · · · · ·FOR THE NORTHERN DISTRICT OF TEXAS
·3· · · · · · · · ·DALLAS DIVISION
· · ·-----------------------------
·4· ·IN RE:

·5· · · · · · · · · · · · · · · ·Chapter 11
· · ·HIGHLAND CAPITAL
·6· ·MANAGEMENT, L.P.,· · · · · ·CASE NO.
· · · · · · · · · · · · · · · · ·19-34054-SGI11
·7
· · · · · · · · Debtor.
·8· ·------------------------------
· · ·HIGHLAND CAPITAL MANAGEMENT, L.P.,
·9
· · · · · · · · Plaintiff,
10· ·vs.· · · · · · · · · · · · · · · Adversary
· · · · · · · · · · · · · · · · · · ·Proceeding No.
11· ·HIGHLAND CAPITAL MANAGEMENT· · · 21-03000-SGI
· · ·FUND ADVISORS, L.P.; NEXPOINT
12· ·ADVISORS, L.P.; HIGHLAND
· · ·INCOME FUND; NEXPOINT
13· ·STRATEGIC OPPORTUNITIES FUND;
· · ·NEXPOINT CAPITAL, INC.; and
14· ·CLO HOLDCO, LTD.,

15· · · · · · · Defendants.
· · ·-------------------------------
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17· · · · · · ·REMOTE VIDEOTAPED DEPOSITION OF

18· · · · · · · · · FRANK WATERHOUSE

19· · · · · · · · ·October 19, 2021

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24· ·Reported by:· Susan S. Klinger, RMR-CRR, CSR

25· ·Job No: 201195


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                                                                          Page 2Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    140 of 899 Page 31 of 200 PageID 43975
                                          Filed 01/09/24
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·4· · · · · · · · · · · October 19, 2021
·5· · · · · · · · · · · 9:30 a.m.
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·9· · · · Remote Deposition of FRANK WATERHOUSE,
10· ·held before Susan S. Klinger, a Registered
11· ·Merit Reporter and Certified Realtime Reporter
12· ·of the State of Texas.
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                      TSG Reporting - Worldwide· · 877-702-9580                APP 138
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                                                                          Page 3Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    141 of 899 Page 32 of 200 PageID 43976
                                          Filed 01/09/24
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·1· · · · · · · · WATERHOUSE - 10-19-21
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       21-03005-sgj
         21-03005-sgj
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                                                                          Page 4Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    142 of 899 Page 33 of 200 PageID 43977
                                          Filed 01/09/24
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·1· · · · · · · · WATERHOUSE - 10-19-21
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22
23· ·Also Present:
24· · · · Ms. La Asia Canty
25


                      TSG Reporting - Worldwide· · 877-702-9580                APP 140
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    DocDoc
                       86-4148-3
                            Filed 10/29/21
                                   Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 5Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    143 of 899 Page 34 of 200 PageID 43978
                                          Filed 01/09/24
                                                                                    Page 5
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · · · · · I N D E X
·3
·4· ·WITNESS· · · · · · · · · · · · · · · · · ·PAGE
·5· ·FRANK WATERHOUSE
·6· ·EXAMINATION BY MR. MORRIS· · · · · · · · · · 10
·7· ·EXAMINATION BY MR. RUKAVINA· · · · · · · · ·256
·8· ·EXAMINATION BY MS. DEITSCH-PEREZ· · · · · · 352
·9· ·EXAMINATION BY MR. MORRIS· · · · · · · · · ·377
10· ·EXAMINATION BY MR. RUKAVINA· · · · · · · · ·387
11· ·EXAMINATION BY MS. DEITSCH-PEREZ· · · · · · 393
12
13· · · · · · · · · E X H I B I T S
14· ·No.· · · · · · · · · · · · · · · · · · · ·Page
15· ·Exhibit 2· NPA et al Amended Complaint· · · 142
16· ·Exhibit 33 6/3/19 Management· · · · · · · · ·91
17· · · · · · · Representation
18· ·Exhibit 34 HCMLP Consolidated Financial· · · 94
19· · · · · · · Statements
20· ·Exhibit 35 HCMFA Incumbency Certificate· · ·151
21· ·Exhibit 36 Email string re 15(c)· · · · · · 170
22· ·Exhibit 39 HCMLP Operating Results 2/18· · ·226
23· ·Exhibit 40 Summary of Assets and· · · · · · 236
24· · · · · · · Liabilities
25· ·Exhibit 41 12/19 Monthly Operating Report· ·258


                      TSG Reporting - Worldwide· · 877-702-9580                APP 141
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    DocDoc
                       86-4148-3
                            Filed 10/29/21
                                   Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 6Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    144 of 899 Page 35 of 200 PageID 43979
                                          Filed 01/09/24
                                                                                    Page 6
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Exhibit 45 HCMFA Consolidated Financial· · ·135
·3· · · · · · · Statements
·4· ·Exhibit 46 NexPoint 2019 Audited· · · · · · 218
·5· · · · · · · Financials
·6
·7· ·Exhibit A1 Emails 11/25· · · · · · · · · · ·328
·8· ·Exhibit A2 Emails 12/31· · · · · · · · · · ·338
·9· ·Exhibit A6 Emails 1/12· · · · · · · · · · · 341
10· ·Exhibit A7 Promissory Notes· · · · · · · · ·297
11· ·Exhibit A9 Email, 8/31· · · · · · · · · · · 307
12· ·Exhibit A10 Acknowledgment from HCMLP· · · ·302
13· ·Exhibit A11 HCMLP Schedule 71A· · · · · · · 309
14
15
16
17
18
19
20
21
22
23
24
25


                      TSG Reporting - Worldwide· · 877-702-9580                APP 142
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    DocDoc
                       86-4148-3
                            Filed 10/29/21
                                   Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 7Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    145 of 899 Page 36 of 200 PageID 43980
                                          Filed 01/09/24
                                                                                    Page 7
·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · · ·P R O C E E D I N G S
·3· · · · ·VIDEOGRAPHER:· Good morning,
·4· ·Counselors.· My name is Scott Hatch.· I'm a
·5· ·certified legal videographer in association
·6· ·with TSG Reporting, Inc.
·7· · · · ·Due to the severity of COVID-19 and
·8· ·following the practice of social
·9· ·distancing, I will not be in the same room
10· ·with the witness.· Instead, I will record
11· ·this videotaped deposition remotely.· The
12· ·reporter, Susan Klinger, also will not be
13· ·in the same room and will swear the witness
14· ·remotely.
15· · · · ·Do all parties stipulate to the
16· ·validity of this video recording and remote
17· ·swearing, and that it will be admissible in
18· ·the courtroom as if it had been taken
19· ·following Rule 30 of the Federal Rules of
20· ·Civil Procedures and the state's rules
21· ·where this case is pending?
22· · · · ·MR. HORN:· Yes.
23· · · · ·MS. DANDENEAU:· Yes.
24· · · · ·MR. MORRIS:· Yes.· John Morris.                    I
25· ·would just try to do a negative notice


                      TSG Reporting - Worldwide· · 877-702-9580                APP 143
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    DocDoc
                       86-4148-3
                            Filed 10/29/21
                                   Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 8Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    146 of 899 Page 37 of 200 PageID 43981
                                          Filed 01/09/24
                                                                                    Page 8
·1· · · · · ·WATERHOUSE - 10-19-21
·2· ·here, as we did yesterday.· If anybody has
·3· ·a problem with what was just stated, can
·4· ·you state your objection now?
·5· · · · ·Okay.· No response, so everybody
·6· ·accepts the stipulation and the instruction
·7· ·that was just given.
·8· · · · ·VIDEOGRAPHER:· Thank you.· This is
·9· ·the start of media labeled Number 1 of the
10· ·video recorded deposition of Frank
11· ·Waterhouse In Re: Highland Capital
12· ·Management, L.P., in the United States
13· ·Bankruptcy Court for the Northern District
14· ·of Texas, Dallas Division, Case Number
15· ·21-03000-SGI.
16· · · · ·This deposition is being held via
17· ·video conference with participants
18· ·appearing remotely due to COVID-19
19· ·restrictions on Tuesday, October 19th, 2021
20· ·at approximately 9:32 a.m.· My name is
21· ·Scott Hatch, legal video specialist with
22· ·TSG Reporting, Inc. headquartered at 228
23· ·East 45th Street, New York, New York.· The
24· ·court reporter is Susan Klinger in
25· ·association with TSG Reporting.


                      TSG Reporting - Worldwide· · 877-702-9580                APP 144
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    DocDoc
                       86-4148-3
                            Filed 10/29/21
                                   Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 9Desc
                                                                                 of 397
                             Appendix
 Case 3:21-cv-00881-X Document   178-16 Page    147 of 899 Page 38 of 200 PageID 43982
                                          Filed 01/09/24
                                                                                    Page 9
·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · ·Counsel, please introduce
·3· ·yourselves.
·4· · · · ·MR. MORRIS:· John Morris, Pachulski
·5· ·Stang Ziehl & Jones for the reorganized
·6· ·Highland Capital Management, L.P., the
·7· ·plaintiff in these actions.
·8· · · · ·MS. DANDENEAU:· Deborah Dandeneau
·9· ·from Baker McKenzie.· My partner, Michelle
10· ·Hartmann, is also in the room with me,
11· ·representing Frank Waterhouse individually.
12· · · · ·MS. DEITSCH-PEREZ:· Deborah
13· ·Deitsch-Perez from Stinson, LLP,
14· ·representing Jim Dondero, Nancy Dondero,
15· ·HCRA, and HCMS.
16· · · · ·MR. HORN:· Warren Horn with Heller,
17· ·Draper & Horn in New Orleans representing
18· ·Dugaboy Investment Trust.
19· · · · ·MR. RUKAVINA:· Davor Rukavina with
20· ·Munsch Hardt Kopf & Harr in Dallas
21· ·representing NexPoint Advisors, LP and
22· ·Highland Capital Management Fund Advisors,
23· ·L.P.
24· · · · ·MR. AIGEN:· Michael Aigen from
25· ·Stinson, and I represent the same parties


                      TSG Reporting - Worldwide· · 877-702-9580                APP 145
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 10Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     148 of 899 Page 39 of 200 PageID 43983
                                            Filed 01/09/24
                                                                                     Page 10
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · as Deborah Deitsch-Perez.
·3· · · · · · · MS. NEWMAN:· This is Deborah Newman
·4· · · · from Quinn Emanuel.· We represent the
·5· · · · litigation -- Marc Kirschner as the trustee
·6· · · · for the litigation SunTrust.
·7· · · · · · · MR. MORRIS:· I think that is
·8· · · · everybody.
·9· · · · · · · VIDEOGRAPHER:· Thank you.· Will the
10· · · · court reporter please swear in the witness.
11· · · · · · · · · FRANK WATERHOUSE,
12· ·having been first duly sworn, testified as
13· ·follows:
14· · · · · · · · · · ·EXAMINATION
15· ·BY MR. MORRIS:
16· · · · Q.· · Please state your name for the
17· ·record.
18· · · · A.· · My name is Frank Waterhouse.
19· · · · Q.· · Good morning, Mr. Waterhouse.· I'm
20· ·John Morris, as you know, from Pachulski Stang
21· ·Ziehl & Jones.· You understand that my firm and
22· ·I represent Highland Capital Management, L.P.;
23· ·is that right?
24· · · · A.· · Yes.
25· · · · Q.· · Okay.· And do you understand that


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 146
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 11Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     149 of 899 Page 40 of 200 PageID 43984
                                            Filed 01/09/24
                                                                                     Page 11
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·we're here today for your deposition in your
·3· ·individual capacity?
·4· · · · A.· · Yes.
·5· · · · Q.· · Did you review and -- did you
·6· ·receive and review a subpoena that Highland
·7· ·Capital Management, L.P., served upon you?
·8· · · · A.· · Yes.
·9· · · · Q.· · You have been deposed before; right?
10· · · · A.· · Yes.
11· · · · Q.· · How many times have you been
12· ·deposed?
13· · · · A.· · About three or four times.
14· · · · Q.· · Okay.· And I defended you in one
15· ·deposition; isn't that right?
16· · · · A.· · That is correct.
17· · · · Q.· · So the general ground rules for this
18· ·deposition are largely the same as the
19· ·depositions you have given before.· And that is
20· ·I will ask you a series of questions, and it is
21· ·important that you allow me to finish my
22· ·question before you begin your answer; is that
23· ·fair?
24· · · · A.· · Yes.
25· · · · Q.· · And it is important that I allow you


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 147
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 12Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     150 of 899 Page 41 of 200 PageID 43985
                                            Filed 01/09/24
                                                                                     Page 12
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to finish your answers before I begin a
·3· ·question, but if I fail to do that, will you
·4· ·let me know?
·5· · · · A.· · I can certainly do that.
·6· · · · Q.· · Okay.· Do you understand that this
·7· ·deposition is being videotaped?
·8· · · · A.· · Yes.
·9· · · · Q.· · You understand that I may seek to
10· ·use portions of the videotape in a court of
11· ·law?
12· · · · A.· · I did not know that, until you just
13· ·said that.
14· · · · Q.· · Okay.· And you are aware of that now
15· ·before the deposition begins substantively; is
16· ·that right?
17· · · · A.· · Yes.
18· · · · Q.· · So unlike I think the other
19· ·depositions that you have given, this one is
20· ·being given remotely.· So that presents some
21· ·unique challenges, at least as compared to a
22· ·deposition that is taken in-person.
23· · · · · · · From time to time we're going to put
24· ·documents up on the screen, Mr. Waterhouse.
25· ·And it is important that I give you the


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 148
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 13Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     151 of 899 Page 42 of 200 PageID 43986
                                            Filed 01/09/24
                                                                                     Page 13
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·opportunity to review any portion of the
·3· ·document that you think you need in order to
·4· ·fully and completely answer the question.
·5· · · · · · · So I would ask you to let me know if
·6· ·there is a portion of a document that you need
·7· ·to see in order to fully and completely answer
·8· ·the question.· Can you do that for me?
·9· · · · A.· · Yes.
10· · · · · · · MS. DANDENEAU:· Mr. Morris, I would
11· · · · just note that we do have hard copies of
12· · · · the documents that you sent, so if you can
13· · · · just refer to the exhibit number as
14· · · · reflected in the documents that you sent,
15· · · · Mr. Waterhouse will be able to look at the
16· · · · hard copies of those documents.
17· · · · · · · MR. MORRIS:· I appreciate that,
18· · · · and -- and I will encourage him to do so.
19· · · · There will be other documents that we did
20· · · · not send to you that we'll be using today
21· · · · though.
22· · · · Q.· · Okay.· With that as background, if
23· ·there is anything that I ask you, sir, that you
24· ·don't understand, will you let me know?
25· · · · A.· · Yes.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 149
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 14Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     152 of 899 Page 43 of 200 PageID 43987
                                            Filed 01/09/24
                                                                                     Page 14
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Are you currently employed?
·3· · · · A.· · Yes.
·4· · · · Q.· · By whom?
·5· · · · A.· · The Skyview Group.
·6· · · · Q.· · When did you become employed by the
·7· ·Skyview Group?
·8· · · · A.· · I believe March 1st of 2021.
·9· · · · Q.· · Do you have a title at Skyview?
10· · · · A.· · Yes.
11· · · · Q.· · What is your title?
12· · · · A.· · My title is chief financial officer.
13· · · · Q.· · Do you report to anybody in your
14· ·role as CFO?
15· · · · A.· · I don't, no.
16· · · · Q.· · No.· Is there a president or a CEO
17· ·of Skyview?
18· · · · A.· · Yes.
19· · · · Q.· · Who is that?
20· · · · A.· · That is Scott Ellington.
21· · · · Q.· · But you don't report to
22· ·Mr. Ellington; is that right?
23· · · · A.· · I don't think so.
24· · · · Q.· · Does Skyview Group --
25· · · · · · · MS. DANDENEAU:· Excuse me, we --


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 150
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 15Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     153 of 899 Page 44 of 200 PageID 43988
                                            Filed 01/09/24
                                                                                     Page 15
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I -- I -- I might.· I just -- I
·3· ·don't recall.
·4· · · · Q.· · Okay.· Does Skyview Group provide
·5· ·any services to any entity directly or
·6· ·indirectly owned or controlled by Jim Dondero?
·7· · · · A.· · Yes.
·8· · · · Q.· · Can you name -- is that pursuant to
·9· ·written contracts?
10· · · · A.· · Yes.
11· · · · Q.· · And do you know how many contracts
12· ·exist?
13· · · · A.· · Approximately six or so.
14· · · · Q.· · And is the Skyview Group made up of
15· ·individuals who were formerly employees of
16· ·Highland Capital Management, L.P.?
17· · · · A.· · No.
18· · · · Q.· · Do you know how many -- how many --
19· ·how many employees does Skyview have?
20· · · · A.· · Approximately 35.
21· · · · Q.· · And can you tell me how many of
22· ·those 35 are former officers, directors, or
23· ·employees of Highland Capital Management, L.P.?
24· · · · A.· · I don't know the exact number.
25· · · · Q.· · Is it more than 20?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 151
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 16Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     154 of 899 Page 45 of 200 PageID 43989
                                            Filed 01/09/24
                                                                                     Page 16
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Is it more than 30?
·4· · · · A.· · I don't know.
·5· · · · Q.· · Can you tell me what portion of
·6· ·Skyview -- Skyview's revenue is derived from
·7· ·entities that are directly or indirectly owned
·8· ·or controlled by Jim Dondero?
·9· · · · · · · MS. DANDENEAU:· Mr. Morris, I mean,
10· · · · you called Mr. Waterhouse here individually
11· · · · for purposes of his testimony in connection
12· · · · with the noticed litigation.· I have given
13· · · · you some leeway to ask him some background
14· · · · information about Skyview Group, but this
15· · · · is not a substitute for a deposition in
16· · · · connection with any other pending disputes
17· · · · that exist.· And -- and we agreed to accept
18· · · · the subpoena on the basis of he -- this is
19· · · · testimony that he is giving in connection
20· · · · with the noticed litigation.
21· · · · · · · I really think that you are now
22· · · · going a little bit far afield from the
23· · · · purpose of this deposition.
24· · · · · · · MR. MORRIS:· Okay.· It is -- I'm not
25· · · · intending to use these -- the answers to


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 152
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 17Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     155 of 899 Page 46 of 200 PageID 43990
                                            Filed 01/09/24
                                                                                     Page 17
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · these questions for any purpose other than
·3· · · · this litigation.· I think you understand
·4· · · · fully why I'm asking the questions, and I
·5· · · · just have a couple more, if you will bear
·6· · · · with me.
·7· · · · · · · MS. DANDENEAU:· Okay.
·8· · · · · · · MS. DEITSCH-PEREZ:· Can we have an
·9· · · · agreement that an objection by one is an
10· · · · objection for any other party here?
11· · · · · · · MR. MORRIS:· Sure.· I would -- I
12· · · · would encourage that, sure.
13· · · · · · · MS. DEITSCH-PEREZ:· Thank you.
14· · · · · · · MR. MORRIS:· It can't be sustained
15· · · · or overruled more than one time, so...
16· · · · Q.· · Mr. Waterhouse, can you answer my
17· ·question, please.
18· · · · · · · MS. DANDENEAU:· Do you want to
19· · · · repeat it, Mr. Morris, for his benefit?
20· · · · · · · MR. MORRIS:· Sure.
21· · · · Q.· · Can you -- can you tell me the
22· ·approximate portion of Skyview's revenue that
23· ·is derived from entities that are directly or
24· ·indirectly owned or controlled by Mr. Dondero?
25· · · · A.· · I don't know the exact number.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 153
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 18Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     156 of 899 Page 47 of 200 PageID 43991
                                            Filed 01/09/24
                                                                                     Page 18
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is it more than 75 percent?
·3· · · · A.· · Yes.
·4· · · · Q.· · Is it more than 90 percent?
·5· · · · A.· · I don't know.
·6· · · · Q.· · Okay.· Can I refer to Highland
·7· ·Capital Management, L.P., as Highland?
·8· · · · A.· · Yes.
·9· · · · Q.· · All right.· And you previously
10· ·served as Highland's CFO; correct?
11· · · · A.· · Yes.
12· · · · Q.· · When did you join Highland?
13· · · · A.· · I don't recall the exact date.
14· · · · Q.· · Can you tell me what year?
15· · · · A.· · 2006.
16· · · · Q.· · When did you -- in what year did you
17· ·become Highland's CFO?
18· · · · A.· · I don't recall the exact date.
19· · · · Q.· · I'm not asking you for the exact
20· ·date.· I'm asking you if you recall the year in
21· ·which you were appointed CFO.
22· · · · A.· · I don't recall the exact year.
23· · · · Q.· · Can you tell me which years it is
24· ·possible that you were appointed to CFO of
25· ·Highland?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 154
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 19Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     157 of 899 Page 48 of 200 PageID 43992
                                            Filed 01/09/24
                                                                                     Page 19
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · 2011 or 2012.
·3· · · · Q.· · Did you serve as Highland's CFO on a
·4· ·continuous basis from in or around 2011 or 2012
·5· ·until early 2021?
·6· · · · A.· · Yes.
·7· · · · Q.· · During that entire time you reported
·8· ·directly to Jim Dondero; correct?
·9· · · · A.· · I -- I don't know.
10· · · · Q.· · Is there anybody else you reported
11· ·to -- withdrawn.
12· · · · · · · Did you report to Mr. Dondero for
13· ·some portion of the time that you served as
14· ·CFO?
15· · · · A.· · Yes.
16· · · · Q.· · Is there a portion of time that you
17· ·don't recall who you reported to?
18· · · · A.· · Yes.
19· · · · Q.· · What portion of time do you have in
20· ·your mind when you can't recall who you
21· ·reported to?
22· · · · A.· · From the 2011 to -- for
23· ·approximately a year or two.
24· · · · Q.· · Okay.· So is it fair to say that you
25· ·reported to Mr. Dondero in your capacity as CFO


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 155
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 20Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     158 of 899 Page 49 of 200 PageID 43993
                                            Filed 01/09/24
                                                                                     Page 20
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·from at least 2014 until the time you left
·3· ·Highland?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't want to speculate the exact
·6· ·or what year that changed or -- so I would like
·7· ·to stick with my testimony.
·8· · · · Q.· · Can you recall when you began
·9· ·reporting to Mr. Dondero?
10· · · · A.· · I don't recall.
11· · · · Q.· · Can you -- can you give me an
12· ·estimate of what year you think you might have
13· ·began reporting to Mr. Dondero?
14· · · · A.· · I will go back to my prior
15· ·testimony.
16· · · · Q.· · Okay.· There is no -- you have no
17· ·ability to tell me when you began reporting to
18· ·Mr. Dondero.
19· · · · · · · Do I have that right?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall.
22· · · · Q.· · Okay.· Do you recall who you might
23· ·have reported to before you began reporting to
24· ·Mr. Dondero?
25· · · · A.· · Yes.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 156
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 21Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     159 of 899 Page 50 of 200 PageID 43994
                                            Filed 01/09/24
                                                                                     Page 21
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Who might you have reported to in
·3· ·your capacity as CFO before you started
·4· ·reporting to Mr. Dondero?
·5· · · · A.· · That would have been Patrick Boyce.
·6· · · · Q.· · Are you aware that Highland filed
·7· ·for bankruptcy on October 19th, 2019?
·8· · · · A.· · Yes.
·9· · · · Q.· · And we refer to that as the petition
10· ·date?
11· · · · A.· · Yes.
12· · · · Q.· · Okay.· Do you hold any professional
13· ·licenses, sir?
14· · · · A.· · Yes.
15· · · · Q.· · Can you tell me what professional
16· ·licenses you hold?
17· · · · A.· · I'm a certified public accountant.
18· · · · Q.· · Okay.· Anything else?
19· · · · A.· · No.
20· · · · Q.· · Do you have any other professional
21· ·licenses or certificates?
22· · · · A.· · When you say "professional license,"
23· ·that is not education?
24· · · · Q.· · Tell me -- sure.· Anything other
25· ·than a driver's license.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 157
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 22Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     160 of 899 Page 51 of 200 PageID 43995
                                            Filed 01/09/24
                                                                                     Page 22
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Do you have any other license or
·3· ·certificate or certification?
·4· · · · A.· · Are you asking, like, where I went
·5· ·to school and the --
·6· · · · Q.· · I am not.· I am not.· I didn't say
·7· ·education.· I didn't ask about degrees.
·8· · · · · · · Do you know what a license is?
·9· · · · A.· · Well, yeah, I mean, a license is
10· ·something you get after you receive a certain
11· ·level of proficiency.
12· · · · Q.· · Do you have any licenses or
13· ·certifications other than your CPA?
14· · · · · · · MS. DANDENEAU:· Objection, form.
15· · · · · · · I assume you mean professional
16· · · · licenses, Mr. Morris; correct?
17· · · · Q.· · Can you answer my question, sir?
18· · · · A.· · Mr. Morris, I'm thinking.                     I
19· ·don't -- I don't think I have any others.
20· · · · Q.· · Are you familiar with an entity
21· ·called Highland Capital Management Fund
22· ·Advisors?
23· · · · A.· · Yes.
24· · · · Q.· · Were you ever -- can we refer to
25· ·that entity as HCMFA?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 158
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 23Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     161 of 899 Page 52 of 200 PageID 43996
                                            Filed 01/09/24
                                                                                     Page 23
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · Were you ever employed by HCMFA?
·4· · · · A.· · Not that I recall.
·5· · · · Q.· · Were you ever -- did you ever hold
·6· ·the title of an officer or director of HCMFA?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title did you hold?
·9· · · · A.· · Treasurer.
10· · · · Q.· · When did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · I don't recall.
13· · · · Q.· · Can you tell me the year?
14· · · · A.· · I don't -- I don't know the year.
15· · · · Q.· · Can you approximate the year in
16· ·which you became the treasurer of HCMFA?
17· · · · A.· · I don't know.
18· · · · Q.· · Can you tell me if it was before or
19· ·after 2016?
20· · · · A.· · I don't recall.
21· · · · Q.· · Are you still the -- do you know if
22· ·you're still the treasurer of HCMFA today?
23· · · · A.· · Today, I am the acting treasurer for
24· ·HCMFA.
25· · · · Q.· · Is there a distinction between


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 159
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 24Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     162 of 899 Page 53 of 200 PageID 43997
                                            Filed 01/09/24
                                                                                     Page 24
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·treasurer and acting treasurer?
·3· · · · A.· · I said "acting treasurer" as I am an
·4· ·employee of Skyview, as you previously
·5· ·stated -- or asked.
·6· · · · Q.· · But you are the treasurer of HCMFA
·7· ·today; correct?
·8· · · · A.· · I am -- I am the acting treasurer
·9· ·for HCMFA.
10· · · · Q.· · How did you become the treasurer of
11· ·HCMFA?
12· · · · A.· · Are you asking how I became the
13· ·treasurer of HCMFA today?
14· · · · Q.· · How did you become appointed to
15· ·serve as the treasurer of HCMFA?
16· · · · A.· · Well, in -- in -- in what time
17· ·capacity?
18· · · · Q.· · The first time that you were
19· ·appointed.
20· · · · A.· · First time.· I believe I was asked
21· ·to serve as treasurer for HCMFA the first time.
22· · · · Q.· · By who?· Who asked you to do that?
23· · · · A.· · I don't recall.
24· · · · Q.· · Is there anything that would refresh
25· ·your recollection as to who appointed you as


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 160
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 25Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     163 of 899 Page 54 of 200 PageID 43998
                                            Filed 01/09/24
                                                                                     Page 25
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the treasurer of CF- -- HCMFA for the first
·3· ·time?
·4· · · · A.· · I don't -- I mean, there would be
·5· ·some documents, some legal documents.· I don't
·6· ·know where those are.
·7· · · · Q.· · How many times have you been
·8· ·appointed the treasurer of HCMFA?
·9· · · · A.· · I don't know.
10· · · · Q.· · Was it more than once?
11· · · · A.· · I don't know.
12· · · · Q.· · Can you tell me any period of time
13· ·since 2016 that you did not hold the title of
14· ·treasurer of HCMFA?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't recall.
17· · · · Q.· · What are your duties and
18· ·responsibilities as the treasurer of HCMFA?
19· · · · A.· · My duties are to do the best job
20· ·that I can as the -- as an accountant and
21· ·finance guy.
22· · · · Q.· · What specific duties and
23· ·responsibilities do you have as the treasurer
24· ·of HCMFA?
25· · · · A.· · My duties are to do the best job


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 161
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 26Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     164 of 899 Page 55 of 200 PageID 43999
                                            Filed 01/09/24
                                                                                     Page 26
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that I can as the accounting and finance person
·3· ·for HCMFA.
·4· · · · Q.· · As the accounting and finance person
·5· ·for HCMFA, do you have any particular areas of
·6· ·responsibility?
·7· · · · A.· · Yeah, it is to manage the accounting
·8· ·and finance function for HCMFA.
·9· · · · Q.· · Would that include -- do you have
10· ·responsibility for overseeing HCMFA's annual
11· ·audit?
12· · · · A.· · Can I please elaborate on my prior
13· ·question?
14· · · · Q.· · Of course.· You -- you are giving
15· ·answers.· I'm asking questions.
16· · · · A.· · Okay.· Yes, so the -- it -- like I
17· ·said, it is to manage the accounting finance
18· ·aspect, but I am, as we discussed, the
19· ·treasurer.· That is -- being treasurer is what
20· ·gives me that -- that management function.
21· · · · Q.· · Does anybody report to you in your
22· ·capacity as treasurer of HCMFA?
23· · · · A.· · I don't believe so.
24· · · · Q.· · Does HCMFA have a chief financial
25· ·officer?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 162
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 27Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     165 of 899 Page 56 of 200 PageID 44000
                                            Filed 01/09/24
                                                                                     Page 27
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't -- I don't know.
·3· · · · Q.· · You don't know?
·4· · · · · · · You're the treasurer of HCMFA but
·5· ·you don't know if HCMFA has a chief financial
·6· ·officer.
·7· · · · · · · Do I have that right?
·8· · · · A.· · That's right.
·9· · · · Q.· · Okay.· Have you heard of a company
10· ·called NexPoint Advisors?
11· · · · A.· · Yes.
12· · · · Q.· · We will refer to that as NexPoint.
13· ·Okay?
14· · · · A.· · Okay.
15· · · · Q.· · Were you ever employed by NexPoint?
16· · · · A.· · I don't recall.
17· · · · Q.· · Did you ever hold any title with
18· ·respect to the entity known as NexPoint?
19· · · · A.· · Yes.
20· · · · Q.· · What titles have you held in
21· ·relation to NexPoint?
22· · · · A.· · Treasurer.· I think it was only
23· ·treasurer.
24· · · · Q.· · Can you tell me the approximate year
25· ·you became the treasurer of NexPoint?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 163
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 28Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     166 of 899 Page 57 of 200 PageID 44001
                                            Filed 01/09/24
                                                                                     Page 28
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't know.
·3· · · · Q.· · Are you still the treasurer of
·4· ·NexPoint today?
·5· · · · A.· · I am the acting treasurer for
·6· ·NexPoint.
·7· · · · Q.· · When did your title change from
·8· ·treasurer to acting treasurer?
·9· · · · A.· · I don't know.
10· · · · Q.· · Did your duties and responsibilities
11· ·change at all when your title was changed from
12· ·treasurer to acting treasurer?
13· · · · A.· · I don't -- I don't believe so.
14· · · · Q.· · Why did --
15· · · · A.· · I still manage the finance and
16· ·accounting function for NexPoint.
17· · · · Q.· · Why did your title change from
18· ·treasurer to acting treasurer?
19· · · · A.· · I don't -- I'm using the term
20· ·"acting treasurer" as I'm a Skyview employee.
21· ·I don't -- I don't know -- again, I am a -- as
22· ·I am the Skyview employee.
23· · · · Q.· · Okay.
24· · · · A.· · And we -- we provide officer
25· ·services.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 164
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 29Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     167 of 899 Page 58 of 200 PageID 44002
                                            Filed 01/09/24
                                                                                     Page 29
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And you serve as an officer of
·3· ·HCMFA; correct?
·4· · · · A.· · I think we went over that with my
·5· ·testimony.· Yes, I'm the acting treasurer for
·6· ·HCMFA.
·7· · · · Q.· · And you are an officer of NexPoint;
·8· ·correct?
·9· · · · A.· · I think -- I am the acting treasurer
10· ·for NexPoint Advisors.
11· · · · Q.· · And -- and who appointed you acting
12· ·treasurer of NexPoint Advisors?
13· · · · A.· · I don't recall specifically.
14· · · · Q.· · Do you have any recollection of who
15· ·might have appointed you the treasurer of
16· ·NexPoint?
17· · · · A.· · I mean, it -- it -- I don't recall
18· ·exactly who it was.
19· · · · Q.· · Who were the possibilities?
20· · · · · · · MS. DEITSCH-PEREZ:· Object to the
21· · · · form.
22· · · · Q.· · You can answer.
23· · · · A.· · Someone in the legal group for
24· ·NexPoint.· The other officers as well.
25· · · · Q.· · Have you heard of a company called


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 165
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 30Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     168 of 899 Page 59 of 200 PageID 44003
                                            Filed 01/09/24
                                                                                     Page 30
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland Capital Management Services, Inc.?
·3· · · · A.· · Yes.
·4· · · · Q.· · We will refer to that as HCMS.
·5· ·Okay?
·6· · · · A.· · HCMS.· Okay.
·7· · · · Q.· · Were you ever employed by HCMS?
·8· · · · A.· · No.
·9· · · · Q.· · Have you ever held any titles in
10· ·relation to HCMF -- I apologize -- HCMS?
11· · · · A.· · Yes.
12· · · · Q.· · What titles have you held in
13· ·relation to HCMS?
14· · · · A.· · Treasurer and acting treasurer.
15· · · · Q.· · When did you first become treasurer
16· ·or acting treasurer of HCMS?
17· · · · A.· · I don't recall the exact dates.
18· · · · Q.· · Can you recall -- can you
19· ·approximate the year that you became the
20· ·treasurer of HCMS?
21· · · · A.· · I don't -- I don't know.
22· · · · Q.· · Are you still the treasurer of HCMS
23· ·today?
24· · · · A.· · I am the acting treasurer for HCMS.
25· · · · Q.· · And are your duties and


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 166
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 31Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     169 of 899 Page 60 of 200 PageID 44004
                                            Filed 01/09/24
                                                                                     Page 31
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·responsibilities as the acting treasurer for
·3· ·HCMS and the acting treasurer for NexPoint the
·4· ·same as your duties and responsibilities in
·5· ·your role as the acting treasurer of HCMFA?
·6· · · · A.· · More or less.
·7· · · · Q.· · Have you ever heard of a company
·8· ·called HCRE Partners, LLC?
·9· · · · A.· · Yes.
10· · · · Q.· · And do you understand that that
11· ·entity is now known today as NexPoint Real
12· ·Estate Partners?
13· · · · A.· · I did not know that.
14· · · · Q.· · All right.· Can we refer to HCRE
15· ·Partners as HCRE?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · Did you mean NexPoint Real Estate
18· · · · Partners, Mr. Morris?
19· · · · · · · MR. MORRIS:· No.
20· · · · · · · MS. DANDENEAU:· Oh.
21· · · · · · · MR. MORRIS:· He said he wasn't
22· · · · familiar that it was succeeded by that
23· · · · entity.· So --
24· · · · · · · MS. DANDENEAU:· Okay.
25· · · · · · · MR. MORRIS:· -- let's go with what


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 167
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 32Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     170 of 899 Page 61 of 200 PageID 44005
                                            Filed 01/09/24
                                                                                     Page 32
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · the witness knows.
·3· · · · Q.· · You're familiar with an entity
·4· ·called HCRE Partners, LLC; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Okay.· So that is the entity that we
·7· ·will refer to as HCRE.· If you're aware of any
·8· ·successor, that is great.· If not, let's just
·9· ·define it as such.
10· · · · · · · Have you ever been employed by HCRE
11· ·or any entity that you know to have succeeded
12· ·HCRE?
13· · · · A.· · No.
14· · · · Q.· · Did you ever serve as an officer or
15· ·director of HCRE or any successor?
16· · · · A.· · Not that I recall.
17· · · · Q.· · Okay.· Can we refer to NexPoint and
18· ·HCMFA as the advisors?
19· · · · A.· · Yes.
20· · · · Q.· · In general, the advisors provided
21· ·investment advisory services to certain retail
22· ·funds; correct?
23· · · · A.· · Yes.
24· · · · Q.· · And we will refer to the retail
25· ·funds that are served by the advisors


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 168
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 33Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     171 of 899 Page 62 of 200 PageID 44006
                                            Filed 01/09/24
                                                                                     Page 33
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·collectively as the retail funds; is that okay?
·3· · · · A.· · Okay.
·4· · · · Q.· · Each of the retail funds is governed
·5· ·by a board; correct?
·6· · · · A.· · Yes.
·7· · · · Q.· · And do you know the people who serve
·8· ·on the boards of the retail funds?
·9· · · · · · · MS. DANDENEAU:· Objection to form.
10· · · · A.· · I don't know all of them.
11· · · · Q.· · Do you know whether the same people
12· ·serve on the board of each of the retail funds
13· ·as we've defined that term?
14· · · · A.· · Which -- so when you say "retail
15· ·funds" -- again, I want to be -- what retail
16· ·funds are you referring to, because there are
17· ·-- there are several distinctions?
18· · · · · · · What retail funds are you using when
19· ·you refer to them?
20· · · · Q.· · That is why -- that is why I tried
21· ·to define the terms.· So let me do it again.
22· · · · · · · Retail funds for the purposes of
23· ·this deposition means any retail fund to which
24· ·either of the advisors provides advisory
25· ·services.· Okay?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 169
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 34Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     172 of 899 Page 63 of 200 PageID 44007
                                            Filed 01/09/24
                                                                                     Page 34
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Okay.
·3· · · · Q.· · Okay.· So do you know whether the
·4· ·same people serve on the board of each of the
·5· ·retail funds?
·6· · · · A.· · I don't know.
·7· · · · Q.· · Were you ever employed by any of the
·8· ·retail funds?
·9· · · · A.· · No.
10· · · · Q.· · No?
11· · · · A.· · No.
12· · · · Q.· · Okay.· Do you have any title with
13· ·respect to any of the retail funds?
14· · · · A.· · Yes.
15· · · · Q.· · What titles do you hold --
16· ·withdrawn.
17· · · · · · · Do you have the same titles with
18· ·respect to all of the retail funds or do
19· ·they -- or just something else?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · Q.· · Withdrawn.
22· · · · · · · Do you have the same title with
23· ·respect to each of the retail funds?
24· · · · A.· · No.
25· · · · Q.· · Tell me which title you have with


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 170
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 35Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     173 of 899 Page 64 of 200 PageID 44008
                                            Filed 01/09/24
                                                                                     Page 35
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·respect to each retail fund.
·3· · · · · · · Actually, let's do it a different
·4· ·way.· I withdraw the question.
·5· · · · · · · Can you give me one title you have
·6· ·in relation to any retail fund?
·7· · · · A.· · Yes.
·8· · · · Q.· · What title -- what title can you
·9· ·give me?
10· · · · A.· · Principal executive officer.
11· · · · Q.· · Do you serve as principal executive
12· ·officer for each of the retail funds?
13· · · · A.· · No.
14· · · · Q.· · Can you identify for me the retail
15· ·funds in which you serve as the principal
16· ·executive officer?
17· · · · A.· · Yes.· Highland Funds 1, Highland
18· ·Funds 2, Highland Income Fund, Highland Global
19· ·Allocation Fund.
20· · · · Q.· · I'm sorry, you said "Global
21· ·Allocation Fund"?
22· · · · A.· · Yes.
23· · · · · · · VIDEOGRAPHER:· Excuse me,
24· · · · Mr. Morris.· This is the videographer.· I'm
25· · · · concerned about the lighting in the


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 171
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 36Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     174 of 899 Page 65 of 200 PageID 44009
                                            Filed 01/09/24
                                                                                     Page 36
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · witness' camera.
·3· · · · · · · Do you want to go off the record and
·4· · · · make some adjustments?
·5· · · · · · · MR. MORRIS:· Sure, but just for this
·6· · · · purpose.· I don't want to take a break.· We
·7· · · · just started.
·8· · · · · · · MS. DANDENEAU:· Yeah, that is fine.
·9· · · · That is fine.· We're going to put you on
10· · · · mute.
11· · · · · · · MR. MORRIS:· All right.
12· · · · · · · MS. DANDENEAU:· I'm going to try to
13· · · · open up some of the shades.
14· · · · · · · VIDEOGRAPHER:· We're going off the
15· · · · record at 10:08 a.m.
16· · · · (Recess taken 10:08 a.m. to 10:11 a.m.)
17· · · · · · · VIDEOGRAPHER:· We are back on the
18· · · · record at 10:11 a.m.
19· · · · Q.· · Mr. Waterhouse, when did you become
20· ·the principal executive officer of the four
21· ·retail funds that you just identified?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you recall the approximate year
24· ·that you became the principal executive officer
25· ·of the four funds?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 172
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 37Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     175 of 899 Page 66 of 200 PageID 44010
                                            Filed 01/09/24
                                                                                     Page 37
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · 2021.
·3· · · · Q.· · Did you ever hold any title with
·4· ·respect to any of the four funds you have just
·5· ·identified other than principal executive
·6· ·officer?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Is it possible that you held a
·9· ·position or a title with the four funds you
10· ·just identified prior to 2021?
11· · · · A.· · Yes.
12· · · · Q.· · But you don't recall if you did or
13· ·not; do I have that right?
14· · · · A.· · No.· You -- I thought you asked, did
15· ·I hold other titles.
16· · · · Q.· · Did you hold any title at the four
17· ·retail funds for which you now serve as
18· ·principal executive officer at any time prior
19· ·to 2021?
20· · · · A.· · Yes.
21· · · · Q.· · What titles did you hold?
22· · · · A.· · I don't recall all the titles.
23· · · · Q.· · Do you recall any of the titles?
24· · · · A.· · Yes.
25· · · · Q.· · What titles do you recall holding at


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 173
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 38Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     176 of 899 Page 67 of 200 PageID 44011
                                            Filed 01/09/24
                                                                                     Page 38
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·those four retail funds before 2021?
·3· · · · A.· · Principal executive officer.
·4· · · · Q.· · Were you the principal executive
·5· ·officer of the four retail funds that you have
·6· ·identified?
·7· · · · A.· · Sorry, could you repeat the
·8· ·question?
·9· · · · Q.· · Were you the principal executive
10· ·officer for each of the four retail funds that
11· ·you have identified?
12· · · · A.· · Yes.
13· · · · Q.· · When did you become the principal
14· ·executive -- withdrawn.
15· · · · · · · Can you give me the approximate year
16· ·that you became the principal executive officer
17· ·for each of the four retail funds you've
18· ·identified?
19· · · · A.· · I don't recall.
20· · · · Q.· · What are your duties and
21· ·responsibilities as the principal executive
22· ·officer of these four retail funds?
23· · · · A.· · It is to manage the finance and
24· ·accounting positions.
25· · · · Q.· · So at the same time you serve as the


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 174
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 39Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     177 of 899 Page 68 of 200 PageID 44012
                                            Filed 01/09/24
                                                                                     Page 39
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·treasurer of the advisors, you also serve as
·3· ·the principal executive officer of these four
·4· ·retail funds; correct?
·5· · · · A.· · Yes.
·6· · · · Q.· · Did you ever hold any title with
·7· ·respect to any other retail fund?
·8· · · · A.· · Not that I recall.
·9· · · · Q.· · During the period that you served as
10· ·Highland's CFO, from time to time Highland
11· ·loaned money to certain of its officers and
12· ·employees; correct?
13· · · · A.· · Yes.
14· · · · Q.· · During the period that you served as
15· ·Highland's CFO, from time to time Highland
16· ·loaned money to certain --
17· · · · A.· · Let me -- let me retract that,
18· ·sorry, that -- you asked during the time I was
19· ·CFO, Highland loaned moneys to employees.                        I
20· ·don't -- I don't recall that during my tenure
21· ·of CFO.
22· · · · Q.· · You have no recollection during the
23· ·time that you were the CFO of Highland of
24· ·Highland ever loaning any money to any officer
25· ·or director of Highland?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 175
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 40Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     178 of 899 Page 69 of 200 PageID 44013
                                            Filed 01/09/24
                                                                                     Page 40
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall during my tenure of
·3· ·Highland or my -- as CFO of Highland -- yeah,
·4· ·if there are any loans as CFO of Highland.
·5· · · · Q.· · I'm just talking about officers and
·6· ·employees right now.· You have no recollection
·7· ·of Highland ever making a loan to any of its
·8· ·officers or employees during the time that you
·9· ·served as CFO.· Do I have that right?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · So I thought you were saying
12· ·officers and employees as CFO, right, so there
13· ·were -- I mean, okay, yes.
14· · · · Q.· · I would ask you to listen carefully
15· ·to my question.· If I -- if I'm not clear, let
16· ·me know, but I'm really trying to be as clear
17· ·as I can.
18· · · · A.· · I'm listening as carefully as I can,
19· ·and you are asking very specific questions in a
20· ·timeline.· And I'm trying to answer your
21· ·questions as specifically as I can, and I
22· ·apologize if -- if I'm going back.· I am -- you
23· ·are asking very specific questions.· Thank you.
24· · · · Q.· · During the period that you served as
25· ·Highland's CFO, from time to time Highland


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 176
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 41Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     179 of 899 Page 70 of 200 PageID 44014
                                            Filed 01/09/24
                                                                                     Page 41
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loaned money to certain corporate affiliates;
·3· ·correct?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · What are corporate affiliates?
·6· · · · Q.· · How about the ones that are in
·7· ·Highland's audited financial statements under
·8· ·the section entitled Loans to Affiliates.· Why
·9· ·don't we start with those.· Do you have any
10· ·understanding of what the phrase "affiliates"
11· ·means?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I understand what affiliates are,
14· ·yet affiliates can have different meanings in
15· ·different contexts, so...
16· · · · Q.· · Why don't you -- why don't you tell
17· ·me what your understanding of the term
18· ·"affiliate" is in relation to Highland Capital
19· ·Management, L.P.
20· · · · A.· · Is that a -- it depends on the
21· ·context.
22· · · · Q.· · How about the context of making
23· ·loans?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I didn't make the determination of


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 177
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 42Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     180 of 899 Page 71 of 200 PageID 44015
                                            Filed 01/09/24
                                                                                     Page 42
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·who an affiliate was or is at the time those --
·3· ·I didn't -- that wasn't my job to make a
·4· ·determination of who an affiliate is.
·5· · · · Q.· · All right.· So as the CFO of
·6· ·Highland, do you have any ability right now to
·7· ·tell me which companies that were directly or
·8· ·indirectly owned and/or controlled by
·9· ·Mr. Dondero in whole or in part received loans
10· ·from Highland Capital Management, L.P.?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
13· · · · A.· · Yes.
14· · · · Q.· · Okay.· Identify every entity that
15· ·you can think of that was directly or
16· ·indirectly owned and/or controlled by
17· ·Mr. Dondero in whole or in part that received a
18· ·loan from Highland Capital Management, L.P.
19· · · · · · · MR. RUKAVINA:· Objection, legal
20· · · · conclusion.
21· · · · A.· · NexPoint Advisors, Highland Capital
22· ·Management Fund Advisors, HCM Services,
23· ·Dugaboy.· Sorry, I don't think -- Dugaboy
24· ·doesn't fit that definition.· You said owned
25· ·and controlled.· I don't think that that


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 178
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 43Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     181 of 899 Page 72 of 200 PageID 44016
                                            Filed 01/09/24
                                                                                     Page 43
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·definition --
·3· · · · Q.· · I said owned and/or controlled.
·4· · · · A.· · I don't -- again, I'm not -- I'm not
·5· ·the legal expert.· I don't think it controls --
·6· ·he controls Dugaboy, so again, I'm not the
·7· ·legal person.
·8· · · · Q.· · I'm not asking you for a legal
·9· ·conclusion, sir.· I'm asking you for your
10· ·knowledge, okay, as the CFO -- the former CFO
11· ·of Highland Capital Management, other than
12· ·NexPoint, HCMFA, and HCMF -- HCMS, can you
13· ·think of any other entities that were owned
14· ·and/or controlled directly or indirectly in
15· ·whole or in part by Jim Dondero who received a
16· ·loan from Highland Capital Management, L.P.?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · HCRE.
19· · · · Q.· · Any others?
20· · · · A.· · That is -- that is all I can think
21· ·of.
22· · · · Q.· · And you're aware that from time to
23· ·time while you were the CFO, Highland loaned
24· ·money to Jim Dondero; correct?
25· · · · A.· · Yes.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 179
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 44Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     182 of 899 Page 73 of 200 PageID 44017
                                            Filed 01/09/24
                                                                                     Page 44
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Can we refer to the four
·3· ·entities that you just named and Mr. Dondero as
·4· ·the affiliates?
·5· · · · A.· · So that would be Jim Dondero,
·6· ·NexPoint Advisors, Highland Capital Management
·7· ·Fund Advisors, and HCRE.
·8· · · · Q.· · And HCMS?
·9· · · · A.· · And HCMS, okay.
10· · · · Q.· · And can we refer to the loans that
11· ·were given to each of those affiliates as the
12· ·affiliate loans?
13· · · · A.· · Yes.
14· · · · Q.· · And is it fair to say that each of
15· ·the affiliates were the borrowers under the
16· ·affiliate loans as we're defining the term?
17· · · · · · · MR. RUKAVINA:· Objection, legal
18· · · · conclusion.
19· · · · A.· · The borrowers are whoever were on
20· ·the notes.· I don't -- I don't know.· I'm not
21· ·the legal person.
22· · · · Q.· · But you --
23· · · · A.· · I don't know.
24· · · · Q.· · You do know, as Highland's former
25· ·CFO, that each of the affiliates that you have


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 180
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 45Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     183 of 899 Page 74 of 200 PageID 44018
                                            Filed 01/09/24
                                                                                     Page 45
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·identified tendered notes to Highland; correct?
·3· · · · · · · MR. RUKAVINA:· Hey, John, will you
·4· · · · just give me a running objection to legal
·5· · · · conclusion to HCM --
·6· · · · · · · MR. MORRIS:· No.· No, if you want to
·7· · · · object --
·8· · · · · · · MR. RUKAVINA:· I will object every
·9· · · · time.· Object to legal conclusion.
10· · · · · · · MR. MORRIS:· That is fine.
11· · · · A.· · Sorry, can you repeat the question?
12· · · · Q.· · Are you aware that each of the --
13· ·that each of the affiliates, as we have defined
14· ·the term, gave to Highland a promissory note in
15· ·exchange for the loans?
16· · · · · · · MR. RUKAVINA:· Objection to the
17· · · · extent that calls for a legal conclusion.
18· · · · A.· · I don't.
19· · · · Q.· · No, you don't know that?
20· · · · A.· · No, they didn't -- you said they
21· ·exchanged a promissory note for a loan.                       I
22· ·don't -- I don't understand that question, so I
23· ·said no.
24· · · · Q.· · At the time of the bankruptcy
25· ·filing, did Highland have in its possession


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 181
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 46Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     184 of 899 Page 75 of 200 PageID 44019
                                            Filed 01/09/24
                                                                                     Page 46
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·promissory notes that were signed by each of
·3· ·the affiliates?
·4· · · · A.· · Yes.
·5· · · · Q.· · To the best of your knowledge,
·6· ·during the time that you served as Highland's
·7· ·CFO, did Highland disclose to its outside
·8· ·auditors all of the loans that were made to
·9· ·affiliates?
10· · · · · · · MR. RUKAVINA:· Objection, that calls
11· · · · for a legal conclusion.
12· · · · · · · MS. DEITSCH-PEREZ:· I also couldn't
13· · · · hear you, John, because there was some
14· · · · garbling on -- on the -- on the call.
15· · · · · · · MR. MORRIS:· Folks, I've got to tell
16· · · · you this is not going well, and I'm
17· · · · reserving my right --
18· · · · · · · MS. DANDENEAU:· John, it was just
19· · · · the end of that question.· It was just the
20· · · · end of that question.· I couldn't hear it
21· · · · either.· Sorry, if you could repeat it,
22· · · · please.
23· · · · · · · MR. MORRIS:· That is less than an
24· · · · hour into this, but folks are trying to run
25· · · · out the clock, and so I'm just going to


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 182
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 47Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     185 of 899 Page 76 of 200 PageID 44020
                                            Filed 01/09/24
                                                                                     Page 47
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · state that now.
·3· · · · · · · MS. DANDENEAU:· You know, and,
·4· · · · Mr. Morris, I really object to that.                        I
·5· · · · mean --
·6· · · · · · · MR. MORRIS:· Okay.
·7· · · · · · · MS. DANDENEAU:· -- Mr. Waterhouse
·8· · · · just told you he's trying to listen to your
·9· · · · questions and answer them carefully, and
10· · · · you have no basis for saying that.
11· · · · · · · MR. MORRIS:· Okay.
12· · · · · · · MS. DANDENEAU:· This does not --
13· · · · this is not an experienced witness, so he's
14· · · · trying to do the best he can.
15· · · · Q.· · Mr. Waterhouse, during the time that
16· ·you served as Highland's CFO, did Highland
17· ·disclose to its outside auditors all of the
18· ·loans that it made to each of the affiliates
19· ·that you have identified?
20· · · · · · · MR. RUKAVINA:· Objection, legal
21· · · · conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · To the best of your knowledge, while
24· ·you were Highland's CFO, were all of the
25· ·affiliate loans described in Highland's audited


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 183
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 48Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     186 of 899 Page 77 of 200 PageID 44021
                                            Filed 01/09/24
                                                                                     Page 48
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·financial statements?
·3· · · · · · · MR. RUKAVINA:· Objection, legal
·4· · · · conclusion.
·5· · · · A.· · When an audit was performed, any
·6· ·loans that were made by Highland to the
·7· ·affiliates were disclosed to auditors.
·8· · · · Q.· · Are you aware of any loan that was
·9· ·made to any affiliate that was not disclosed to
10· ·the auditors?
11· · · · A.· · I'm not aware.
12· · · · Q.· · To the best of your knowledge, did
13· ·each of the affiliates who were --
14· ·(inaudible) -- loaned from Highland execute a
15· ·promissory note in connection with that loan?
16· · · · · · · MR. RUKAVINA:· Objection, legal
17· · · · conclusion.
18· · · · A.· · Sorry, you -- halfway through the
19· ·question it got muffled.
20· · · · · · · Can you repeat that again?
21· · · · Q.· · To the best of your knowledge, did
22· ·every affiliate execute a promissory note in
23· ·connection with each loan that it obtained from
24· ·Highland?
25· · · · · · · MR. RUKAVINA:· Objection, legal


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 184
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 49Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     187 of 899 Page 78 of 200 PageID 44022
                                            Filed 01/09/24
                                                                                     Page 49
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · conclusion.
·3· · · · A.· · Yes.
·4· · · · Q.· · You are not aware of any loan that
·5· ·any affiliate ever obtained from Highland where
·6· ·the affiliate did not give a promissory note in
·7· ·return; is that fair?
·8· · · · A.· · Yes, I'm not aware.
·9· · · · Q.· · And to the best of your knowledge,
10· ·did Highland loan to each affiliate an amount
11· ·of money equal to the principal amount of each
12· ·promissory note?
13· · · · · · · MR. RUKAVINA:· Objection, legal
14· · · · conclusion.
15· · · · A.· · Yes.
16· · · · Q.· · During the time that you served as
17· ·CFO, did Highland ever loan money to
18· ·Mark Okada?
19· · · · A.· · I -- I don't recall.
20· · · · Q.· · Did you ever see any promissory
21· ·notes executed by Mark Okada?
22· · · · A.· · I don't recall.
23· · · · Q.· · Do you know if Highland ever forgave
24· ·any loan that it ever made to Mr. Okada?
25· · · · A.· · I don't recall.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 185
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 50Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     188 of 899 Page 79 of 200 PageID 44023
                                            Filed 01/09/24
                                                                                     Page 50
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you recall if Mr. Okada paid back
·3· ·all principal and interest due and owing under
·4· ·any loan he obtained from Highland?
·5· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·6· · · · form.
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall whether -- during your
10· ·time as CFO, whether Highland ever loaned money
11· ·to Jim Dondero?
12· · · · A.· · Yes.
13· · · · Q.· · To the best of your knowledge, did
14· ·Mr. Dondero sign and deliver to Highland a
15· ·promissory note in connection with each loan
16· ·that he obtained from Highland?
17· · · · A.· · If you are referring to the
18· ·promissory notes that, you know, part of
19· ·Highland's records, yes.
20· · · · Q.· · Okay.· You're not aware of any loan
21· ·that Mr. Dondero took from Highland that wasn't
22· ·backed up by -- by a promissory note with a
23· ·face -- with a principal amount equal to the
24· ·amount of the loan; correct?
25· · · · A.· · Am I aware that Jim Dondero took a


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 186
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 51Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     189 of 899 Page 80 of 200 PageID 44024
                                            Filed 01/09/24
                                                                                     Page 51
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·loan?
·3· · · · Q.· · Without giving a -- let me ask a
·4· ·better question.· I'm sorry, Mr. Waterhouse.
·5· · · · · · · Are you aware of any loan that
·6· ·Mr. Dondero obtained from Highland where he
·7· ·didn't give a promissory note in return?
·8· · · · A.· · I'm not aware.
·9· · · · Q.· · During the time that you served as
10· ·Highland's CFO, did Highland ever forgive any
11· ·loans, in whole or in part, that it made to
12· ·Mr. Dondero?
13· · · · A.· · Not that I'm aware.
14· · · · Q.· · At the time that you served as
15· ·Highland's CFO, did Highland ever forgive any
16· ·loan, in whole or in part, that it made to any
17· ·affiliate as we've defined the term today?
18· · · · A.· · Not that I'm aware.
19· · · · Q.· · During the time that you served as
20· ·Highland's CFO, did Highland ever forgive, in
21· ·whole or in part, any loan that it ever made to
22· ·any officer or employee?
23· · · · A.· · Highland forgave loans to officers
24· ·and employees.· It may not have been at the
25· ·time when my title was CFO.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 187
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 52Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     190 of 899 Page 81 of 200 PageID 44025
                                            Filed 01/09/24
                                                                                     Page 52
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· And so I appreciate the
·3· ·distinction.
·4· · · · · · · Is it fair to say that, to the best
·5· ·of your knowledge, Highland did not forgive a
·6· ·loan that it made to an officer or employee
·7· ·after 2013?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · I don't recall.
10· · · · Q.· · To the best of your knowledge, did
11· ·Highland disclose to its auditors every
12· ·instance where it forgave, in whole or in part,
13· ·a loan that it had made to one of its officers
14· ·or employees?
15· · · · A.· · No.
16· · · · Q.· · Can you think of -- can you -- can
17· ·you identify any loan to an officer or employee
18· ·that was forgiven by Highland, in whole or in
19· ·part, that was not disclosed to Highland's
20· ·outside auditors?
21· · · · A.· · Look, I don't recall all of the
22· ·loans and the loan forgiveness.· I just know as
23· ·part of the audit process there is a
24· ·materiality concept.
25· · · · · · · So if there were loans to employees


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 188
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 53Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     191 of 899 Page 82 of 200 PageID 44026
                                            Filed 01/09/24
                                                                                     Page 53
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that were of -- you know, that were deemed
·3· ·immaterial, those items may not have been
·4· ·disclosed by the team to the auditors.
·5· · · · Q.· · I appreciate that.
·6· · · · · · · Do you have an understanding as to
·7· ·what the level of materiality was?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · As the CFO of Highland, to the best
10· ·of your knowledge, did Highland disclose to its
11· ·outside auditors every loan that was forgiven,
12· ·in whole or in part, that was material as that
13· ·term was defined by the outside auditors?
14· · · · A.· · Yes.
15· · · · Q.· · And do you recall where -- do you
16· ·recall where the definition of materiality can
17· ·be found for -- for this particular purpose?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · No.· You -- I don't determine
20· ·materiality.
21· · · · Q.· · Okay.· I'm just asking you if you
22· ·can help me understand where it is, but I think
23· ·we will find it in a few minutes.
24· · · · · · · You are aware that Highland has
25· ·commenced lawsuits against each of the


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 189
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 54Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     192 of 899 Page 83 of 200 PageID 44027
                                            Filed 01/09/24
                                                                                     Page 54
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·affiliates, as we've defined the term, to
·3· ·collect under certain promissory notes; is that
·4· ·right?
·5· · · · A.· · Yes.
·6· · · · Q.· · And are you familiar with the notes
·7· ·that are issue -- at issue in the lawsuits?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · A.· · Generally familiar.
10· · · · Q.· · Can we refer to the lawsuits that
11· ·Highland has commenced against the affiliates
12· ·collectively as the lawsuits?
13· · · · A.· · Yes.· And, again, the affiliates are
14· ·NexPoint, HCMFA, HCMS, and HCRE.
15· · · · Q.· · And Mr. Dondero?
16· · · · A.· · Okay.· See, that is a new -- and now
17· ·Mr. Dondero is included in your affiliate
18· ·definition.
19· · · · Q.· · I just --
20· · · · A.· · I thought affiliates -- I thought
21· ·affiliates were just the four prior entities,
22· ·so I just want to be clear.
23· · · · Q.· · I appreciate that.· So let's --
24· ·let's keep them separate and let's refer to the
25· ·four corporate entities as the affiliates, and


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 190
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 55Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     193 of 899 Page 84 of 200 PageID 44028
                                            Filed 01/09/24
                                                                                     Page 55
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Mr. Dondero we will call Mr. Dondero.· Okay?
·3· · · · A.· · Okay.· Thank you.· As you can see,
·4· ·Mr. Morris, there is a lot of entities -- a lot
·5· ·here.· I just want to be clear.
·6· · · · Q.· · Okay.· Now, the affiliates of
·7· ·Mr. Dondero signed promissory notes that are
·8· ·not subject to the lawsuit.
·9· · · · · · · Do you understand that?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · The affiliates and Mr. Dondero
12· ·signed --
13· · · · Q.· · You know what?· I will skip it.
14· ·That is okay.· Okay.
15· · · · · · · From time to time while you were
16· ·Highland's CFO, payments were applied against
17· ·principal and interests that were due under the
18· ·notes that were tendered by the affiliates and
19· ·Mr. Dondero; correct?
20· · · · · · · MR. RUKAVINA:· Objection to the
21· · · · extent that calls for a legal conclusion.
22· · · · A.· · Yes.
23· · · · Q.· · Did Highland have a process where --
24· ·whereby payments would be applied against
25· ·principal and interest against the notes that


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 191
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 56Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     194 of 899 Page 85 of 200 PageID 44029
                                            Filed 01/09/24
                                                                                     Page 56
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·were given by the affiliates and Mr. Dondero?
·3· · · · A.· · Yes.
·4· · · · Q.· · Can you describe the process for me?
·5· · · · A.· · The process, payment should be
·6· ·applied as laid out in the -- in the promissory
·7· ·note.
·8· · · · Q.· · From time to time were payments made
·9· ·that were not required under the promissory
10· ·notes?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · Yes.
13· · · · Q.· · Who was responsible for deciding
14· ·when and how much the payments would be made
15· ·with respect to each of the notes that were
16· ·issued by the affiliates and Mr. Dondero?
17· · · · A.· · Who was responsible for deciding how
18· ·much was paid prior to the due date?
19· · · · Q.· · Yes.
20· · · · A.· · I don't know.
21· · · · Q.· · Did you approve of each payment that
22· ·was made against principal and interest on the
23· ·notes that were given by the affiliates and
24· ·Mr. Dondero?
25· · · · · · · MS. DANDENEAU:· Objection to form.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 192
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 57Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     195 of 899 Page 86 of 200 PageID 44030
                                            Filed 01/09/24
                                                                                     Page 57
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Did I approve the payments?                      I
·3· ·approve -- I approve -- if there was cash -- if
·4· ·there was cash being repaid on a note payment,
·5· ·yes, I approved in the general sense of being
·6· ·made aware of the payment and the amount.
·7· · · · Q.· · And are you the person who
·8· ·authorized Highland's employees to effectuate
·9· ·those payments?
10· · · · A.· · Yes.
11· · · · Q.· · When you gave the instruction to
12· ·effectuate the payment, did you obtain
13· ·Mr. Dondero's prior approval?
14· · · · A.· · I mean, it -- I mean, it -- it
15· ·depends.
16· · · · Q.· · Can you think of any instance where
17· ·you directed Highland's employees to make a
18· ·payment of principal or interest against any
19· ·note that was tendered by an affiliate or
20· ·Mr. Dondero that Mr. Dondero did not approve of
21· ·in advance?
22· · · · A.· · I can't recall specifically.
23· · · · Q.· · Can you identify -- withdrawn.
24· · · · · · · Did Mr. Dondero ever tell you that a
25· ·payment that was made against principal and


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 193
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 58Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     196 of 899 Page 87 of 200 PageID 44031
                                            Filed 01/09/24
                                                                                     Page 58
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·interest due under one of the notes that was
·3· ·tendered by an affiliate or himself should not
·4· ·have been made?
·5· · · · A.· · Yes.
·6· · · · Q.· · Can you identify the payment for me?
·7· · · · A.· · It would be for -- for NexPoint
·8· ·Advisors.
·9· · · · Q.· · Okay.· And when did Mr. Dondero tell
10· ·you that a payment that you had initiated on
11· ·behalf of NexPoint should not have been made?
12· · · · A.· · I wasn't initiating payment.· It was
13· ·in the context of the -- I think you used this
14· ·term, "the advisors," so NexPoint Advisors and
15· ·Highland Capital Management Fund Advisors had
16· ·overpaid on certain agreements with Highland
17· ·Capital Management, L.P.· And as a part of that
18· ·process, the advisors -- what I was told at the
19· ·time were in talks and negotiations and
20· ·discussions with Highland Capital Management,
21· ·L.P., on offsets in relation to those
22· ·overpayments.
23· · · · Q.· · When did this conversation take
24· ·place?
25· · · · · · · MS. DANDENEAU:· Objection to form.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 194
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 59Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     197 of 899 Page 88 of 200 PageID 44032
                                            Filed 01/09/24
                                                                                     Page 59
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall specifically.
·3· · · · Q.· · Do you recall what year it was?
·4· · · · A.· · Yes.
·5· · · · Q.· · What year did the conversation with
·6· ·Mr. Dondero take place that you just described?
·7· · · · A.· · 2020.
·8· · · · Q.· · Okay.· Do you remember if it was
·9· ·December 2020?
10· · · · A.· · It -- it -- I don't -- I don't
11· ·recall what month specifically, but it would
12· ·have been November or December.
13· · · · Q.· · And we're talking here about a
14· ·payment of principal and/or interest that was
15· ·due -- withdrawn.
16· · · · · · · We're talking here about a payment
17· ·of principal and interest that was applied
18· ·against NexPoint's note; correct?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't recall what that payment
21· ·consisted of.
22· · · · Q.· · Is it possible that the payment you
23· ·have in mind related to the shared services
24· ·agreement?
25· · · · · · · MS. DANDENEAU:· Objection to form.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 195
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  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 60Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     198 of 899 Page 89 of 200 PageID 44033
                                            Filed 01/09/24
                                                                                     Page 60
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.
·3· · · · Q.· · Are you certain that the payment --
·4· ·that the payment that you have in mind related
·5· ·to the promissory note that NexPoint issued in
·6· ·favor of Highland?
·7· · · · · · · MS. DANDENEAU:· Objection to form.
·8· · · · A.· · Yes.
·9· · · · Q.· · Okay.· Other than that one payment,
10· ·can you identify any other instance where
11· ·Mr. Dondero told you that a payment should not
12· ·have been applied against principal and
13· ·interest under any promissory note tendered by
14· ·any affiliate or Mr. Dondero?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Objection to
17· · · · form.
18· · · · A.· · Not that I recall.
19· · · · Q.· · Thank you very much.
20· · · · · · · Do you know if Mr. Dondero approved
21· ·in advance of each loan made to each affiliate
22· ·and himself during the time that you were the
23· ·CFO?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 196
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 61Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     199 of 899 Page 90 of 200 PageID 44034
                                            Filed 01/09/24
                                                                                     Page 61
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes, generally.
·3· · · · Q.· · Can you identify any loan that was
·4· ·ever made to an affiliate or to Mr. Dondero
·5· ·that Mr. Dondero did not approve of in advance?
·6· · · · A.· · Other than the ones that are in
·7· ·dispute, I'm not aware.
·8· · · · Q.· · Do you believe that Mr. Dondero did
·9· ·not approve of each of the loans that are in
10· ·dispute in advance of the time that the loan
11· ·was made?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Given what is in the dispute, you
14· ·know, and -- and -- and the way things might --
15· ·yeah, I mean...
16· · · · Q.· · I am not asking about the dispute,
17· ·and it was probably my mistake to follow you
18· ·there.
19· · · · · · · Were you aware of every loan made by
20· ·Highland to each of its affiliates and
21· ·Mr. Dondero while you were the CFO at the time
22· ·each loan was made?
23· · · · A.· · Was I aware of every loan, yes.
24· · · · Q.· · Okay.· And if you put yourself back
25· ·in time, do you recall that any of the loans


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 197
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 62Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     200 of 899 Page 91 of 200 PageID 44035
                                            Filed 01/09/24
                                                                                     Page 62
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that were made to one of the affiliates or
·3· ·Mr. Dondero during the time that you were the
·4· ·CFO was made without Mr. Dondero's prior
·5· ·knowledge and approval?
·6· · · · A.· · Not that I recall.
·7· · · · Q.· · Thank you.· In fact, do you -- as
·8· ·the CFO, would you have allowed Highland to
·9· ·loan money to an affiliate or to Mr. Dondero
10· ·without obtaining Mr. Dondero's prior approval?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I can't -- there was so many times
13· ·over the years, I can't speak for every single
14· ·one, but generally, yes, I -- I spoke to him.
15· · · · Q.· · You -- you never -- you never --
16· ·withdrawn.· I will just take that.
17· · · · · · · Can you recall any payment that was
18· ·ever made against principal and interest on a
19· ·note that was issued in favor of Highland by an
20· ·affiliate or Mr. Dondero that you personally
21· ·did not know about in advance?
22· · · · A.· · There are so many through the years,
23· ·I don't -- I don't -- I don't recall every
24· ·single one.
25· · · · Q.· · Okay.· Can you identify any payment


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 198
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 63Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     201 of 899 Page 92 of 200 PageID 44036
                                            Filed 01/09/24
                                                                                     Page 63
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·that was made against principal and interest on
·3· ·any note tendered by any affiliate or
·4· ·Mr. Dondero that you didn't know about in
·5· ·advance?
·6· · · · A.· · I don't recall.
·7· · · · Q.· · Other than Mr. Dondero -- withdrawn.
·8· · · · · · · Did anybody at Highland have the
·9· ·authority to make a payment against principal
10· ·and interest due under a loan given to the
11· ·affiliates and Mr. Dondero without your
12· ·knowledge and approval?
13· · · · · · · MS. DANDENEAU:· Objection to form.
14· · · · A.· · Sorry, there was -- to make a
15· ·payment on an affiliate loan, what you are
16· ·saying would it require my knowledge and
17· ·approval, yes.
18· · · · Q.· · Okay.· I appreciate that.· Thank
19· ·you.
20· · · · · · · Did anybody at Highland have the
21· ·authority, to the best of your knowledge, to
22· ·effectuate a loan to an affiliate without
23· ·Mr. Dondero's prior knowledge and approval?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I can't speak for all, but


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 199
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  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 64Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     202 of 899 Page 93 of 200 PageID 44037
                                            Filed 01/09/24
                                                                                     Page 64
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·generally, yes.
·3· · · · Q.· · Did you personally communicate with
·4· ·Mr. Dondero to let him know each time a payment
·5· ·of principal or interest was being made against
·6· ·any note that was tendered by an affiliate or
·7· ·Mr. Dondero to Highland?
·8· · · · A.· · I don't -- are you saying, did I let
·9· ·Mr. Dondero know if a payment was made on any
10· ·affiliate or loan to Mr. Dondero?· I mean,
11· ·not -- not every -- no.
12· · · · Q.· · Let me ask it this way:· Did you
13· ·have a practice of informing Mr. Dondero when
14· ·payments were made against principal and
15· ·interest on any note that was tendered by an
16· ·affiliate or Mr. Dondero?
17· · · · · · · MS. DEITSCH-PEREZ:· Objection to
18· · · · form.
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · No, I did not.
21· · · · Q.· · Did Mr. Dondero ever tell you that a
22· ·payment of principal or interest had been made
23· ·against a note that was tendered by an
24· ·affiliate or himself that he had been unaware
25· ·of?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 200
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  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 65Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     203 of 899 Page 94 of 200 PageID 44038
                                            Filed 01/09/24
                                                                                     Page 65
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Not that I recall.
·3· · · · Q.· · Are you aware that Mr. Dondero and
·4· ·the affiliates -- withdrawn.
·5· · · · · · · Are you aware that Mr. Dondero
·6· ·NexPoint, HCRE, and HCMS all contend that they
·7· ·do not have to pay on any of the notes they
·8· ·issued because they are subject to an oral
·9· ·agreement between Mr. Dondero and Nancy
10· ·Dondero, in her capacity as the trustee of the
11· ·Dugaboy Investment Trust?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I didn't -- I didn't -- I didn't
14· ·know that it was all notes.
15· · · · Q.· · Okay.· Are you -- did you ever learn
16· ·that there was an oral agreement between Jim
17· ·Dondero and Nancy Dondero pertaining to any
18· ·notes issued by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · Yes.
22· · · · Q.· · Do you have any understanding as to
23· ·the terms of that agreement?
24· · · · A.· · Yes.
25· · · · Q.· · What is your understanding of the


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 201
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 66Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     204 of 899 Page 95 of 200 PageID 44039
                                            Filed 01/09/24
                                                                                     Page 66
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·terms of the agreement?
·3· · · · A.· · That there were certain milestones
·4· ·that had to be reached.
·5· · · · Q.· · Do you have any understanding of the
·6· ·terms of the agreement between Mr. Dondero and
·7· ·Nancy Dondero concerning any of the notes
·8· ·issued by the affiliates or Mr. Dondero other
·9· ·than that there have to be milestones reached?
10· · · · · · · MS. DEITSCH-PEREZ:· Object to the
11· · · · form.
12· · · · A.· · There are milestones, I found out
13· ·yesterday, or there was some --
14· · · · · · · MS. DANDENEAU:· Okay.· I'm just
15· · · · going to object to the extent that you
16· · · · learned anything in conversations with
17· · · · counsel, please don't reveal -- that is
18· · · · privileged, and don't reveal any privileged
19· · · · communications.
20· · · · · · · THE WITNESS:· Okay.
21· · · · A.· · So I'm not aware of anything else.
22· · · · Q.· · Do you know what the milestones
23· ·were?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 202
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  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 67Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     205 of 899 Page 96 of 200 PageID 44040
                                            Filed 01/09/24
                                                                                     Page 67
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you know anything about -- do you
·3· ·know what promissory notes the agreement
·4· ·covered?
·5· · · · A.· · I don't.
·6· · · · Q.· · Do you know if -- if Jim and Nancy
·7· ·Dondero entered into one agreement or more than
·8· ·one agreement?
·9· · · · · · · MS. DEITSCH-PEREZ:· Object to the
10· · · · form.
11· · · · A.· · I don't know.
12· · · · Q.· · Do you know if the agreement is in
13· ·writing?
14· · · · A.· · I don't know.
15· · · · Q.· · How did you learn of the existence
16· ·of the agreement?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · Again --
19· · · · A.· · I don't -- I don't recall who told
20· ·me.
21· · · · Q.· · You have no recollection of who told
22· ·you about this agreement between Jim and Nancy
23· ·Dondero?
24· · · · · · · MS. DEITSCH-PEREZ:· Object to the
25· · · · form.


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 203
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 68Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     206 of 899 Page 97 of 200 PageID 44041
                                            Filed 01/09/24
                                                                                     Page 68
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't recall.
·3· · · · Q.· · Do you recall how you learned of the
·4· ·agreement?
·5· · · · · · · Was it in a meeting?· Was it in a
·6· ·phone call?· Was it in an email?
·7· · · · A.· · I don't recall.
·8· · · · Q.· · Do you recall when you learned of
·9· ·the agreement?
10· · · · A.· · Not specifically.
11· · · · Q.· · Do you recall what year you learned
12· ·of the agreement?
13· · · · A.· · In -- look, I mean, there are so
14· ·many notes.· I may be getting -- I believe it
15· ·was 2020.
16· · · · Q.· · All right.· I'm not asking about
17· ·notes, sir.· I'm asking about the agreement
18· ·that you testified you knew about between Jim
19· ·and Don- -- Nancy Dondero.· Okay.
20· · · · · · · Do you understand my question now?
21· ·Should I ask my question again?
22· · · · A.· · Yeah, sure.· Go ahead.
23· · · · Q.· · I'm going to use the word
24· ·"agreement" to refer to the agreement that
25· ·Mr. Dondero and Nancy Dondero entered into


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 204
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 69Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     207 of 899 Page 98 of 200 PageID 44042
                                            Filed 01/09/24
                                                                                     Page 69
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·where you understood that certain milestones
·3· ·had to be reached.· Okay?
·4· · · · A.· · Uh-huh.
·5· · · · · · · MS. DANDENEAU:· Objection.
·6· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·7· · · · form.
·8· · · · · · · MR. MORRIS:· Just defining a term,
·9· · · · what is the objection.
10· · · · · · · MS. DEITSCH-PEREZ:· The objection --
11· · · · · · · MR. MORRIS:· I will move on.· I will
12· · · · move on.
13· · · · · · · MS. DEITSCH-PEREZ:· John --
14· · · · Q.· · Sir, are you okay with that
15· ·definition of agreement?
16· · · · A.· · Okay.
17· · · · Q.· · Okay.· So you don't recall who --
18· ·who informed you of the existence of the
19· ·agreement; is that right?
20· · · · A.· · I don't recall.
21· · · · Q.· · You don't recall who told you the
22· ·terms of the agreement.
23· · · · · · · Do I have that right?
24· · · · A.· · Correct.
25· · · · Q.· · And you don't recall if you learned


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 205
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
         21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                               EnteredEntered
                                                       10/29/2101/05/22
                                                                17:22:3818:18:43
                                                                           Page 70Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document Appendix
                                  178-16 Page     208 of 899 Page 99 of 200 PageID 44043
                                            Filed 01/09/24
                                                                                     Page 70
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·about the agreement in a meeting, through an
·3· ·email, or through a phone call.
·4· · · · · · · Do I have that right?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Can you tell me when you learned of
·7· ·the agreement?
·8· · · · A.· · I don't -- I don't -- I don't
·9· ·remember specifically.
10· · · · Q.· · Can you tell me if you learned of
11· ·the agreement before or after the petition
12· ·date?
13· · · · A.· · It would have been -- it would have
14· ·been after.
15· · · · Q.· · Can you tell me if you learned of
16· ·the agreement before or after January 9th,
17· ·2020?
18· · · · A.· · It would have been after.
19· · · · Q.· · Can you tell me if you learned of
20· ·the agreement before or after you left Highland
21· ·Capital Management in February of 2021?
22· · · · A.· · I don't -- I don't -- I don't know.
23· · · · Q.· · It is possible that you learned of
24· ·it while you were a Highland employee.
25· · · · · · · Do I have that right?


                       TSG Reporting - Worldwide· · 877-702-9580                 APP 206
                                                                                               YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 71Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   209 of 899Page 100 of 200 PageID 44044
                                                                                   Page 71
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I don't remember the -- I mean, it
·3· ·was sometime in 2021.· I don't remember when.
·4· · · · Q.· · All right.· So to the best of your
·5· ·recollection, it was in 2021 but you don't
·6· ·recall if it was before or after you ceased to
·7· ·be a Highland employee.
·8· · · · · · · Do I have that right?
·9· · · · A.· · Yeah, I mean, it was -- it was
10· ·likely after I was -- after I left Highland
11· ·because, if I put myself back into the last
12· ·days of -- of 2021, it was -- you know, the
13· ·communications with Mr. Dondero were -- were --
14· ·were -- there weren't as many communications
15· ·because of the circumstances.
16· · · · Q.· · And so based on that you believe
17· ·that it is most likely that you learned of this
18· ·agreement sometime after you left Highland
19· ·employment?
20· · · · A.· · I wouldn't use the term "most
21· ·likely."· I don't recall specifically.· I don't
22· ·recall.
23· · · · Q.· · Do you recall ever telling Jim Seery
24· ·about this agreement?
25· · · · A.· · No, I don't -- I didn't tell


                       TSG Reporting - Worldwide· · 877-702-9580               APP 207
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 72Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   210 of 899Page 101 of 200 PageID 44045
                                                                                   Page 72
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Jim Seery.
·3· · · · Q.· · Did you tell anybody at DSI about
·4· ·this agreement?
·5· · · · A.· · No.
·6· · · · Q.· · Did you tell any of Highland's
·7· ·independent directors about this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you tell anybody at Pachulski
10· ·Stang Ziehl & Jones about this agreement?
11· · · · A.· · No.
12· · · · Q.· · Did you tell any employee of
13· ·Highland about this agreement?
14· · · · A.· · No.
15· · · · · · · MS. DANDENEAU:· Mr. Morris, it has
16· · · · been an hour and a half.· Is this a good
17· · · · time for a break?
18· · · · · · · MR. MORRIS:· Sure.
19· · · · Q.· · Mr. Waterhouse, I will just remind
20· ·you that during the break please don't speak
21· ·with anybody about the deposition, the
22· ·substance of your testimony or anything else
23· ·concerning the deposition.· Okay?
24· · · · A.· · Yes.
25· · · · · · · MR. MORRIS:· So it is 11:02.· We're


                       TSG Reporting - Worldwide· · 877-702-9580               APP 208
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 73Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   211 of 899Page 102 of 200 PageID 44046
                                                                                   Page 73
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · at 11:02 your time.· Let's come back, I
·3· · · · guess, at 15 -- at 11:15 your time.
·4· · · · · · · VIDEOGRAPHER:· We're going off the
·5· · · · record at 11:02 a.m.
·6· · · · (Recess taken 11:02 a.m. to 11:20 a.m.)
·7· · · · · · · VIDEOGRAPHER:· We are back on the
·8· · · · record at 11:20 a.m.
·9· · · · Q.· · Mr. Waterhouse, did you speak with
10· ·anybody during the break about this deposition?
11· · · · A.· · No.
12· · · · · · · MS. DANDENEAU:· Other than -- other
13· · · · than his counsel.
14· · · · Q.· · Did you speak to your counsel about
15· ·the substance of your deposition today?
16· · · · A.· · No, I didn't bring it up.
17· · · · Q.· · I didn't ask you if you brought it
18· ·up.· I asked you if you had any conversation
19· ·with your lawyer about the substance of your
20· ·deposition.
21· · · · · · · MS. DANDENEAU:· Yes, he did.
22· · · · Q.· · Can you tell me what the -- you
23· ·discussed?
24· · · · · · · MS. DANDENEAU:· No, I object to
25· · · · that.· He's not going to answer.· That is a


                       TSG Reporting - Worldwide· · 877-702-9580               APP 209
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 74Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   212 of 899Page 103 of 200 PageID 44047
                                                                                   Page 74
·1· · · · · ·WATERHOUSE - 10-19-21
·2· ·privileged conversation.
·3· · · · ·MR. MORRIS:· So I just want to make
·4· ·sure that I understand.· During the break
·5· ·you spoke with your client about the
·6· ·substance of this deposition; is that
·7· ·right?
·8· · · · ·MS. DANDENEAU:· Yes, John.
·9· · · · ·MR. MORRIS:· And you refuse -- you
10· ·refuse to let your client tell me what was
11· ·discussed; is that right?
12· · · · ·MS. DANDENEAU:· That's correct.
13· · · · ·MR. MORRIS:· You know, I had given
14· ·the instruction prior to the break not to
15· ·speak with counsel.· I would have
16· ·appreciated --
17· · · · ·MS. DANDENEAU:· No, you didn't --
18· ·actually, that is not true, Mr. Morris.
19· ·You said not to speak with anyone.· We
20· ·never have interpreted that to mean
21· ·conversations with counsel.· That's never
22· ·been -- I have never, ever heard that
23· ·instruction.
24· · · · ·MR. MORRIS:· Okay.· We will -- we
25· ·will -- we will deal with it when and if we


                       TSG Reporting - Worldwide· · 877-702-9580               APP 210
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 75Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   213 of 899Page 104 of 200 PageID 44048
                                                                                   Page 75
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · have to.
·3· · · · Q.· · Mr. Waterhouse, after learning about
·4· ·the agreement, did you ask anybody if the
·5· ·agreement was reflected in a writing?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · No.
·8· · · · Q.· · Did you ask anybody if the terms of
·9· ·the agreement were memorialized anywhere?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · · · · MR. MORRIS:· What is the --
12· · · · A.· · No.
13· · · · · · · MS. DANDENEAU:· Well, because you
14· · · · keep talking about this agreement and I --
15· · · · I -- I think, Mr. Morris, that is really
16· · · · not clear what you mean by "the agreement."
17· · · · And maybe you can just go back and restate
18· · · · what that is.
19· · · · · · · MR. MORRIS:· Okay.· Your client has
20· · · · agreed with me twice on the definition, but
21· · · · I will try one more time.
22· · · · Q.· · Mr. Waterhouse, do you understand
23· ·that when I use the term "agreement," I'm
24· ·referring to the agreement between Jim and
25· ·Nancy Dondero concerning certain promissory


                       TSG Reporting - Worldwide· · 877-702-9580               APP 211
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 76Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   214 of 899Page 105 of 200 PageID 44049
                                                                                   Page 76
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·notes where you learned that one of the terms
·3· ·of the agreement was milestones reached?
·4· · · · A.· · Okay.
·5· · · · Q.· · And did you understand that that was
·6· ·the -- the agreement that we were referring to
·7· ·every time we used the word "agreement" in this
·8· ·deposition?
·9· · · · A.· · I don't know anything about this
10· ·agreement.· So, look, I do -- it -- I don't
11· ·know whether --
12· · · · Q.· · Let's -- let's try this again.
13· · · · A.· · Yeah.· Look, I don't know what this
14· ·agreement relates.
15· · · · · · · MS. DEITSCH-PEREZ:· John, John --
16· · · · Q.· · Let me try --
17· · · · · · · MS. DEITSCH-PEREZ:· John, please let
18· · · · the witness finish.
19· · · · · · · MR. MORRIS:· Please stop.· Please
20· · · · stop.· Please stop talking.
21· · · · · · · MS. DEITSCH-PEREZ:· No, you stop.
22· · · · Let the witness --
23· · · · · · · MR. MORRIS:· Stop talking.
24· · · · · · · MS. DEITSCH-PEREZ:· -- finish -- you
25· · · · interrupted him.


                       TSG Reporting - Worldwide· · 877-702-9580               APP 212
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 77Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   215 of 899Page 106 of 200 PageID 44050
                                                                                   Page 77
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· You know what, you
·3· · · · guys, this is really wrong.· It is really,
·4· · · · really wrong.· Okay?
·5· · · · · · · I had the witness agree not once,
·6· · · · but twice to the definition of agreement.
·7· · · · Okay?· I'm going to try and do it a third
·8· · · · time.
·9· · · · · · · MS. DANDENEAU:· No, but, please,
10· · · · John, really --
11· · · · · · · MR. MORRIS:· No, please stop
12· · · · talking.· Please.· It is my deposition.
13· · · · Object to questions.
14· · · · · · · MS. DANDENEAU:· No, but also you
15· · · · instructed him that -- that if you were
16· · · · going -- if you were interrupting him, that
17· · · · he should remind you that you're
18· · · · interrupting him and -- and --
19· · · · · · · MR. MORRIS:· Let him do that.· Let
20· · · · him do that.
21· · · · · · · MS. DANDENEAU:· Okay.· Well, you --
22· · · · · · · MR. MORRIS:· Please stop talking.
23· · · · A.· · Okay.· I don't know any of the
24· ·details of these agreements.· I don't know
25· ·anything about them.· I heard -- someone -- I


                       TSG Reporting - Worldwide· · 877-702-9580               APP 213
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  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 78Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   216 of 899Page 107 of 200 PageID 44051
                                                                                   Page 78
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·don't know who, I don't know when, as you
·3· ·asked, sometime in '21, someone told me about
·4· ·this -- or I don't honestly know -- I don't
·5· ·even recall exactly how I was made aware of
·6· ·this, but I was.· I don't know -- I don't know
·7· ·any of these details, and I'm getting -- again,
·8· ·there is, you know, I -- I -- I had a passing
·9· ·conversation with -- with Jim at some point
10· ·on -- on some -- on the executive comp, and I'm
11· ·getting confused of what is what, because
12· ·again, I don't know any of these details.
13· · · · Q.· · Okay.· Let me try again,
14· ·Mr. Waterhouse, and I apologize.
15· · · · · · · Are you aware of any agreement
16· ·between Jim Dondero and Nancy Dondero
17· ·concerning any promissory note that was given
18· ·to Highland by any affiliate or Mr. Dondero?
19· · · · · · · MS. DEITSCH-PEREZ:· Object to the
20· · · · form.
21· · · · A.· · I've heard of an agreement.· That
22· ·is -- that is -- I mean, if you are using aware
23· ·as heard, sure.
24· · · · Q.· · And you understand that one of the
25· ·terms of the agreement is that it was based on


                       TSG Reporting - Worldwide· · 877-702-9580               APP 214
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 79Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   217 of 899Page 108 of 200 PageID 44052
                                                                                   Page 79
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·milestones that had to be reached; is that
·3· ·right?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · That was one of the words that was
·6· ·used when I heard about it, yes.
·7· · · · Q.· · And when you heard about this
·8· ·agreement that had a term in it concerning
·9· ·milestones reached, did you ask the person who
10· ·was telling you about the agreement whether or
11· ·not it was in writing?
12· · · · A.· · I did not.
13· · · · Q.· · Did you ask any questions at all?
14· · · · · · · MS. DANDENEAU:· Objection to form.
15· · · · A.· · Not that I recall.
16· · · · Q.· · But do you understand that going
17· ·forward, we're going to refer to the agreement
18· ·as the agreement that you just described that
19· ·you were --
20· · · · · · · MS. DANDENEAU:· Object to the form.
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· You don't have any personal
23· ·knowledge concerning the terms of the
24· ·agreement; correct?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


                       TSG Reporting - Worldwide· · 877-702-9580               APP 215
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 80Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   218 of 899Page 109 of 200 PageID 44053
                                                                                   Page 80
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · Q.· · You can answer.
·4· · · · A.· · I don't -- I heard about the
·5· ·agreement.· I don't know anything -- I heard
·6· ·there was an agreement.· That is -- again, as I
·7· ·testified before -- I said before, heard about
·8· ·it, don't know the details.· I believe it was
·9· ·sometime this year.
10· · · · Q.· · Do you have any personal knowledge
11· ·about the terms of the agreement, sir?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · Other than what I have previously
14· ·discussed, I don't -- I don't know.
15· · · · Q.· · Did -- did Mr. Dondero tell you
16· ·about the existence of the agreement?
17· · · · A.· · I don't recall.
18· · · · Q.· · Do you recall the source of your
19· ·information when you learned about the
20· ·agreement?
21· · · · A.· · No, I don't -- I don't recall.                      I
22· ·don't remember.· I just -- I heard about it
23· ·generally.· I don't remember -- I don't
24· ·remember who, how, if, how.· I don't remember.
25· · · · Q.· · You know, Mr. Waterhouse, I just


                       TSG Reporting - Worldwide· · 877-702-9580               APP 216
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 81Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   219 of 899Page 110 of 200 PageID 44054
                                                                                   Page 81
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·want to be clear that I never would have asked
·3· ·you to appear at this deposition if your name
·4· ·hadn't been included in responses to discovery
·5· ·as to somebody with knowledge about the -- who
·6· ·was told about the existence of the agreement.
·7· · · · · · · That is what prompted me do this,
·8· ·and I really do feel compelled to tell you that
·9· ·I otherwise would never have called you as a
10· ·witness.· So I regret that you're being put
11· ·through this today.· I had no intention of
12· ·burdening you or taking your time, but that is
13· ·the reason that we issued the subpoena is
14· ·because certain of the defendants identified
15· ·you as somebody --
16· · · · · · · MS. DEITSCH-PEREZ:· Mr. Morris, you
17· · · · are here to ask questions, not to have --
18· · · · · · · MR. MORRIS:· I feel badly for the
19· · · · guy.· I really do.
20· · · · · · · MS. DEITSCH-PEREZ:· I'm sure you do.
21· · · · · · · MR. MORRIS:· I do.· Stop.
22· · · · · · · MS. DEITSCH-PEREZ:· You stop.
23· · · · · · · MR. MORRIS:· I'm allowed.
24· · · · · · · MS. DEITSCH-PEREZ:· No, you're not
25· · · · allowed to have a chat with the witness.


                       TSG Reporting - Worldwide· · 877-702-9580               APP 217
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  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 82Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   220 of 899Page 111 of 200 PageID 44055
                                                                                   Page 82
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Well, I hope that you
·3· ·appreciate what I'm saying here,
·4· ·Mr. Waterhouse.
·5· · · · · · · MS. DANDENEAU:· All right.· Let's go
·6· · · · ahead and ask questions, and again, you're
·7· · · · entitled to probe his -- his knowledge
·8· · · · of -- whatever knowledge he has about
·9· · · · this -- this agreement and --
10· · · · · · · MR. MORRIS:· That is what I'm doing.
11· · · · · · · MS. DANDENEAU:· -- he will answer
12· · · · the questions to the best that he can.
13· · · · · · · MR. MORRIS:· That is what I'm doing.
14· · · · Q.· · Mr. Waterhouse, I take it you do not
15· ·know which promissory notes issued by which
16· ·affiliates or Mr. Dondero are the subject of
17· ·this agreement; do I have that right?
18· · · · A.· · Yes, I don't -- I don't know.
19· · · · Q.· · Do you know of any way to determine
20· ·which promissory notes issued by the affiliates
21· ·and Mr. Dondero are the subject of this
22· ·agreement other than asking Jim or Nancy
23· ·Dondero?
24· · · · · · · MS. DANDENEAU:· Objection to form.
25· · · · A.· · I don't know.


                       TSG Reporting - Worldwide· · 877-702-9580               APP 218
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  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 83Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   221 of 899Page 112 of 200 PageID 44056
                                                                                   Page 83
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did you ever make --
·3· · · · A.· · I don't know anything about these
·4· ·agreements.
·5· · · · Q.· · Did you ever make any effort to
·6· ·determine which promissory notes are subject to
·7· ·this agreement?
·8· · · · A.· · No.
·9· · · · Q.· · Did you ever ask anybody which
10· ·promissory notes are subject to this agreement?
11· · · · A.· · No.
12· · · · Q.· · Do you know if there is a list
13· ·anywhere of the promissory notes that are
14· ·subject to this agreement?
15· · · · A.· · I'm not aware.
16· · · · Q.· · Have you ever seen the terms of the
17· ·agreement written down anywhere?
18· · · · A.· · No.
19· · · · Q.· · Have you ever asked anybody whether
20· ·the terms of the agreement were written down
21· ·anywhere?
22· · · · A.· · I have not.
23· · · · Q.· · Did learning about the agreement
24· ·cause you to do anything in response?
25· · · · · · · MS. DANDENEAU:· Objection to form.


                       TSG Reporting - Worldwide· · 877-702-9580               APP 219
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  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 84Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   222 of 899Page 113 of 200 PageID 44057
                                                                                   Page 84
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · No.
·3· · · · Q.· · Did anybody ever describe to you the
·4· ·nature of the milestones that you referred to
·5· ·earlier?
·6· · · · A.· · No, I don't -- I don't have any
·7· ·details of this.
·8· · · · Q.· · That is fine.
·9· · · · · · · PricewaterhouseCoopers served as
10· ·Highland's outside auditors prior to the
11· ·petition date; correct?
12· · · · A.· · Yes.
13· · · · Q.· · You refer to PricewaterhouseCoopers
14· ·as PwC?
15· · · · A.· · Yes.
16· · · · Q.· · PricewaterhouseCoopers audited
17· ·Highland's financial statements on an annual
18· ·basis; correct?
19· · · · A.· · During my -- during my time as -- as
20· ·CFO, yes, PricewaterhouseCoopers was the
21· ·auditor.
22· · · · Q.· · Do you know why Highland had its
23· ·annual financial statements audited each year?
24· · · · A.· · Generally.
25· · · · Q.· · Tell me your general understanding


                       TSG Reporting - Worldwide· · 877-702-9580               APP 220
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 85Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   223 of 899Page 114 of 200 PageID 44058
                                                                                   Page 85
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·as to the reason why Highland had its annual
·3· ·financial statements audited each year.
·4· · · · A.· · From -- from time to time, they were
·5· ·used -- or asked for, as part of diligence or
·6· ·transactions or -- or things of that nature.
·7· · · · Q.· · And were they given to third parties
·8· ·for purposes of diligence or transactions from
·9· ·time to time?
10· · · · A.· · As far as I'm aware, yes.
11· · · · Q.· · And was it your understanding as the
12· ·CFO that the third parties who received the
13· ·financial statements in diligence or
14· ·transactions was going to rely on those?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · I don't know -- I don't know gen --
17· ·I don't know specifically what they were going
18· ·to rely on.· You know, we would get requests
19· ·for audited financial statements.· I don't know
20· ·what they were relying on.
21· · · · Q.· · And --
22· · · · A.· · You would have to ask them.
23· · · · Q.· · Did you personally play a role in
24· ·PwC's annual audit and the conduct of the
25· ·audit?


                       TSG Reporting - Worldwide· · 877-702-9580               APP 221
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 86Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   224 of 899Page 115 of 200 PageID 44059
                                                                                   Page 86
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MS. DANDENEAU:· Objection to form.
·3· · · · A.· · During my tenure as CFO, I played a
·4· ·very minimal role.
·5· · · · Q.· · What was the minimal role that you
·6· ·played?
·7· · · · A.· · You know, again, it was -- it was to
·8· ·check in with the team, to make sure that, you
·9· ·know, audit -- the deadlines were being hit,
10· ·information was being presented to the auditors
11· ·in a -- in a timely fashion, but, you know,
12· ·other than that, it was a very capable team
13· ·that are still current employees of Highland
14· ·and, you know, they -- they conducted 99
15· ·percent of -- look, I don't want to give
16· ·percentages.· I mean, this is -- but I -- I --
17· ·I played a minimal role towards the end.
18· · · · · · · Before during my earlier years as
19· ·CFO, I did more, and then as time went on, I
20· ·did less in it.
21· · · · Q.· · Okay.· Was there a person at
22· ·Highland who was responsible for overseeing
23· ·Highland's participation in PwC's audit during
24· ·the time that you were the CFO?
25· · · · A.· · Yeah.· I mean, there was -- there


                       TSG Reporting - Worldwide· · 877-702-9580               APP 222
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 87Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   225 of 899Page 116 of 200 PageID 44060
                                                                                   Page 87
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·was a -- there was a point -- it varies.· It
·3· ·varies by year, in function, in time and, you
·4· ·know, depending on the request, but yes, I
·5· ·mean, there is -- there is -- there is
·6· ·generally a point person of communication.
·7· · · · Q.· · And who was the point person from
·8· ·2016 until the time you left Highland?
·9· · · · A.· · I don't -- I don't know
10· ·specifically, but it would have been, you
11· ·know -- you know, someone on the corporate
12· ·accounting team.
13· · · · Q.· · And was there a head of the
14· ·corporate accounting team?
15· · · · A.· · Yes, so -- yes.
16· · · · Q.· · Who was the head of corporate
17· ·accounting for the five years prior to the time
18· ·you left Highland?
19· · · · A.· · I don't -- if you're asking from
20· ·2016 on, I don't -- it was Dave Klos, but,
21· ·again, there was -- there was changes to the
22· ·team and the reporting structure.· I don't
23· ·remember exactly when that happened during --
24· ·you know, over the last -- since 2016.
25· · · · Q.· · Did the folks who participated and


                       TSG Reporting - Worldwide· · 877-702-9580               APP 223
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 88Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   226 of 899Page 117 of 200 PageID 44061
                                                                                   Page 88
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·ran the audit all report to you, directly or
·3· ·indirectly?
·4· · · · A.· · Yes.
·5· · · · Q.· · And did you have any responsibility
·6· ·for making sure that the audit report was
·7· ·accurate before it was finalized?
·8· · · · A.· · Yeah.· I mean, you know, that --
·9· ·that is -- my responsibility to the auditors
10· ·was -- again, is -- and the CFO is to -- we are
11· ·providing accurate financial statements; right?
12· · · · · · · And -- and -- and as part of any
13· ·audit, we disclose all relevant information as
14· ·part of any audit.
15· · · · Q.· · Okay.· And as the CFO, did you take
16· ·steps to make sure that the audit report was
17· ·accurate?
18· · · · A.· · I mean, I would say in a general
19· ·sense, yes.· But, again, I mean, I had a
20· ·very -- I had a very capable and competent
21· ·team.· I wasn't managing them.
22· · · · · · · You know, part of what I do is I let
23· ·the team -- I want managers to grow.· I want
24· ·managers to have rope.· And that is -- you
25· ·know, I'm not a stand-behind-you type of guy.


                       TSG Reporting - Worldwide· · 877-702-9580               APP 224
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 89Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   227 of 899Page 118 of 200 PageID 44062
                                                                                   Page 89
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·If you -- if you talk to my team members, I'm
·3· ·not micromanaging people.· I want people to
·4· ·learn and grow in their function so they can go
·5· ·on and do bigger and better things with their
·6· ·careers.
·7· · · · · · · And so, yes, generally I was
·8· ·responsible for it, but I wanted the team to
·9· ·learn and grow and be responsible for the bulk
10· ·of the audit.
11· · · · Q.· · Did you personally review each audit
12· ·report before it was finalized to satisfy
13· ·yourself that it was accurate?
14· · · · A.· · I don't -- I don't recall, you know,
15· ·for every single -- we're talking 2016, there
16· ·would have been three years, 2016 to '17, '18.
17· ·I don't -- we're -- we're going back
18· ·five years-plus.· I don't -- you know, I don't
19· ·recall.
20· · · · Q.· · Did you have a practice that you
21· ·employed to make sure that you were satisfied
22· ·that Highland's audit reports were true and
23· ·accurate to the best of your knowledge?
24· · · · A.· · I mean, our -- the practice was set
25· ·up with our -- the -- the practice to put


                       TSG Reporting - Worldwide· · 877-702-9580               APP 225
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  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 90Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   228 of 899Page 119 of 200 PageID 44063
                                                                                   Page 90
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·together accurate audited or accurate financial
·3· ·statements is to your control environment.
·4· · · · · · · So, you know, the -- so the practice
·5· ·was to maintain a stable control environment
·6· ·which then the output is -- is accurate
·7· ·financial statements.
·8· · · · · · · So -- so, you know, if I was
·9· ·comfortable that the control environment was
10· ·operating, then, you know, that would dictate
11· ·how I would -- you know, what I might or might
12· ·not do in a given year.
13· · · · Q.· · Okay.· Do you recall ever being
14· ·uncomfortable with the control environment
15· ·during the period that you served as CFO?
16· · · · A.· · Yeah.· I mean, look, yes, there are
17· ·times -- you know, nothing is perfect.· So
18· ·there were -- there were times when, yes, you
19· ·know -- there are times I learned I was
20· ·uncomfortable with the control environment, and
21· ·that is part of the management of the process
22· ·and having, you know -- and -- and working
23· ·through whatever obstacles present themselves.
24· · · · Q.· · Okay.· Were you ever uncomfortable
25· ·with the control process as it related to


                       TSG Reporting - Worldwide· · 877-702-9580               APP 226
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 91Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   229 of 899Page 120 of 200 PageID 44064
                                                                                   Page 91
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·reporting and disclosures of loans to
·3· ·affiliates and Mr. Dondero?
·4· · · · · · · MS. DANDENEAU:· Objection to form.
·5· · · · A.· · I don't -- I don't recall --
·6· · · · Q.· · So you don't recall --
·7· · · · A.· · -- the --
·8· · · · · · · MS. DANDENEAU:· Mr. Morris --
·9· · · · A.· · I don't recall being uncomfortable.
10· ·But, again, we're going back several years.                       I
11· ·don't -- you know, the practice in an audit is
12· ·to disclose all information to the auditors.
13· ·And I don't -- I don't recall.
14· · · · Q.· · As part of the process of the audit,
15· ·did you sign what is sometimes referred to as a
16· ·management representation letter?
17· · · · A.· · Yes.
18· · · · · · · MR. MORRIS:· Can we put up on the
19· · · · screen a document that we have premarked as
20· · · · Exhibit 33.
21· · · · · · · (Exhibit 33 marked.)
22· · · · · · · MS. DANDENEAU:· Mr. Morris, that is
23· · · · not in the binder; correct?
24· · · · · · · MR. MORRIS:· Correct.
25· · · · Q.· · So you will see, Mr. Waterhouse,


                       TSG Reporting - Worldwide· · 877-702-9580               APP 227
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 92Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   230 of 899Page 121 of 200 PageID 44065
                                                                                   Page 92
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·this is a letter dated June 3rd.· And if we
·3· ·could go to the signature page.
·4· · · · · · · And do you see that you and
·5· ·Mr. Dondero signed this document?
·6· · · · A.· · Yes.
·7· · · · Q.· · That is your signature; right?
·8· · · · A.· · Yes.
·9· · · · · · · MR. MORRIS:· Okay.· Can you go back
10· · · · to the top.
11· · · · · · · MS. DANDENEAU:· Mr. Morris, can you
12· · · · have somebody post this in the chat so that
13· · · · we have can have a copy of this, please.
14· · · · · · · MR. MORRIS:· Yeah, sure.· Asia, can
15· · · · you do that, please.
16· · · · Q.· · Okay.· Do you see at the bottom of
17· ·the second paragraph there is a reference to
18· ·materiality?
19· · · · A.· · Yes.
20· · · · Q.· · Okay.· It says, Materiality used for
21· ·purposes of these representations is
22· ·$1.7 million.
23· · · · · · · Do you see that?
24· · · · A.· · I do.
25· · · · Q.· · And did PwC set that level of


                       TSG Reporting - Worldwide· · 877-702-9580               APP 228
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 93Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   231 of 899Page 122 of 200 PageID 44066
                                                                                   Page 93
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·materiality?
·3· · · · A.· · Yes.
·4· · · · Q.· · And for purposes of the audit, did
·5· ·PwC set the level of materiality each year?
·6· · · · A.· · Yes.
·7· · · · Q.· · Did that number change over time?
·8· · · · A.· · I'm not aware of what materiality is
·9· ·every single year, so -- but, you know, this
10· ·number would likely fluctuate.
11· · · · Q.· · Okay.· I'm going to go back to a
12· ·question I asked you earlier today.· And that
13· ·is in connection -- this letter is issued in
14· ·connection with the audit for the period ending
15· ·12/31/2018; correct?
16· · · · A.· · Yes.
17· · · · Q.· · Okay.· And is it fair to say that if
18· ·any -- actually, withdrawn.· I'm going to take
19· ·it outside of this.
20· · · · · · · If Highland ever forgave the loan to
21· ·any affiliate or any of its officers or
22· ·employees, in whole or in part, to the best of
23· ·your knowledge, would that forgiveness have
24· ·been disclosed in the audited financial
25· ·statements if it exceeded the level of


                       TSG Reporting - Worldwide· · 877-702-9580               APP 229
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 94Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   232 of 899Page 123 of 200 PageID 44067
                                                                                   Page 94
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·materiality that PwC established?
·3· · · · · · · MS. DANDENEAU:· Objection to form.
·4· · · · A.· · So, again, during my tenure as CFO,
·5· ·and -- Highland -- it was -- it is required to
·6· ·disclose any affiliate loans that are in excess
·7· ·of materiality.
·8· · · · · · · Now, the forgiveness of those loans
·9· ·may or may not -- I mean, since materiality
10· ·fluctuates every year, a -- you know, if a loan
11· ·was forgiven, it may or may not, you know --
12· ·and, look, I would want to consult the guidance
13· ·around this.
14· · · · · · · It is not something we do -- you
15· ·know, it is not -- you know, GAAP can be and
16· ·disclosures can be very specialized so, again,
17· ·we want to consult the guidance.· But we would
18· ·see if and what would need to be disclosed if
19· ·it were deemed immaterial.
20· · · · Q.· · Did you and Mr. Dondero sign
21· ·management representation letters of this type
22· ·in each year in which you served as Highland's
23· ·CFO?
24· · · · A.· · I -- I -- I will speak for myself.
25· ·I signed them.· There may have been others that


                       TSG Reporting - Worldwide· · 877-702-9580               APP 230
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 95Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   233 of 899Page 124 of 200 PageID 44068
                                                                                   Page 95
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·signed as well.· I don't -- I don't recall.
·3· · · · Q.· · But to the best of your knowledge,
·4· ·you, personally, signed a management
·5· ·representation letter in connection with
·6· ·Highland's audit each year that you served as
·7· ·the CFO; correct?
·8· · · · A.· · I would say generally speaking,
·9· ·Mr. Morris.· I don't recall for every single
10· ·year, you know, generally, but I would want to
11· ·refer to all the rep letters and see who signed
12· ·them.
13· · · · Q.· · Do you recall Highland having its
14· ·financial statements audited in any year during
15· ·the period that you were a CFO where you didn't
16· ·sign the management representation letter?
17· · · · A.· · I don't recall.· But, John, we're
18· ·going back five, six, seven, eight, nine,
19· ·decade.· I don't -- I don't remember.
20· · · · Q.· · I don't want to go back that many
21· ·decades, but I'm just asking you if you recall
22· ·that there was you didn't sign it?
23· · · · A.· · I -- I -- I don't, but my memory
24· ·is -- again, I -- I -- I can't tell you what I
25· ·did in 2012.· I mean, I think generally, yes,


                       TSG Reporting - Worldwide· · 877-702-9580               APP 231
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 96Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   234 of 899Page 125 of 200 PageID 44069
                                                                                   Page 96
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·but I don't -- I don't know for sure, and I
·3· ·would want to rely on the document.
·4· · · · Q.· · Let me ask the question a little bit
·5· ·differently then.
·6· · · · · · · Do you have any reason to believe
·7· ·that Highland had its annual financial audit
·8· ·and you did not sign a management
·9· ·representation letter in connection with that
10· ·audit?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't believe it would, but,
13· ·again, I would want to -- I don't recall and I
14· ·would want to confirm it to -- to make, you
15· ·know, an affirmative -- to give an affirmative
16· ·answer.
17· · · · Q.· · Do you know whether PwC required
18· ·management to sign management representation
19· ·letters?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Yes.· I mean, it -- management
22· ·representation letters are signed by
23· ·management.
24· · · · Q.· · Okay.· And do you know -- do you
25· ·have any understanding as to why PwC requires


                       TSG Reporting - Worldwide· · 877-702-9580               APP 232
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 97Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   235 of 899Page 126 of 200 PageID 44070
                                                                                   Page 97
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·management to sign management representation
·3· ·letters?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · I don't know why PwC's -- what PwC's
·7· ·specific practice is.· I know generally what
·8· ·management representation letters are.
·9· · · · Q.· · Okay.· Do you personally -- I'm not
10· ·asking about PwC.· I'm asking for you -- I'm
11· ·asking about you, do you have an understanding
12· ·as to why the auditor asks for management
13· ·representation letters?
14· · · · A.· · Okay.· So you're asking me in my
15· ·personal capacity, yes, I have a general
16· ·understanding of why.
17· · · · Q.· · Can you give me the general
18· ·understanding that you have as to why
19· ·management representation letters are required?
20· · · · A.· · They are -- they are required to --
21· ·they are -- they are one of the items required
22· ·in an audit to help verify completeness.
23· · · · Q.· · Do you have any -- any other
24· ·understanding as to why management
25· ·representation letters are required?


                       TSG Reporting - Worldwide· · 877-702-9580               APP 233
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 98Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   236 of 899Page 127 of 200 PageID 44071
                                                                                   Page 98
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · That is -- that is -- other than
·3· ·what I said, it is -- it is -- it is required
·4· ·so -- to ensure that the -- you know, there
·5· ·is -- there is completeness in what is being
·6· ·audited.
·7· · · · Q.· · Did you -- did you have a practice
·8· ·whereby you and Mr. Dondero conferred about the
·9· ·management representation letters before you
10· ·signed them?
11· · · · A.· · No.
12· · · · Q.· · Did you have a practice --
13· ·withdrawn.
14· · · · · · · Do you see just the next sentence
15· ·after the materiality, there is a sentence that
16· ·states:· We confirm, to the best of our
17· ·knowledge and belief, as of June 3rd, 2019, the
18· ·date of your report, the following
19· ·representations made to you during your audit.
20· · · · · · · Do you see that sentence?
21· · · · A.· · Yes.
22· · · · Q.· · Okay.· Did you understand when you
23· ·signed this letter that you were confirming the
24· ·representations that followed?
25· · · · A.· · When I signed this management


                       TSG Reporting - Worldwide· · 877-702-9580               APP 234
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc Doc
                        86-4148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              EnteredEntered
                                                      10/29/21
                                                             01/05/22
                                                               17:22:38
                                                                      18:18:43
                                                                          Page 99Desc
                                                                                  of 397
 Case 3:21-cv-00881-X Document Appendix    Page01/09/24
                                  178-16 Filed   237 of 899Page 128 of 200 PageID 44072
                                                                                   Page 99
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·letter -- representation letter, yes.
·3· · · · Q.· · Okay.· Did you discuss this letter
·4· ·with Mr. Dondero before you signed it?
·5· · · · A.· · I don't recall.
·6· · · · Q.· · Do you recall if Mr. Dondero asked
·7· ·you any questions before he signed the letter?
·8· · · · A.· · I don't recall.
·9· · · · Q.· · Do you recall if you asked
10· ·Mr. Dondero any questions before you signed
11· ·this letter?
12· · · · A.· · I don't recall.
13· · · · Q.· · Is it fair to say that Mr. Dondero
14· ·did not disclose to you the existence of the
15· ·agreement that we have -- as we've defined that
16· ·term prior to the time you signed this letter?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · I don't think I understand the
19· ·question.· So, again, you are saying, did
20· ·Mr. Dondero not disclose to me the existence of
21· ·this letter?
22· · · · Q.· · No, I apologize.
23· · · · · · · Did Mr. Dondero disclose to you the
24· ·existence of the agreement prior to the time
25· ·you signed this letter on June 3rd, 2019?


                       TSG Reporting - Worldwide· · 877-702-9580               APP 235
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 100
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   238 of 899Page 129 of 200 PageID 44073
                                                                                  Page 100
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · The agreement -- the agreement that
·3· ·we talked about earlier?
·4· · · · Q.· · Correct.
·5· · · · A.· · Look, as I said earlier, the first
·6· ·time I heard of this agreement was sometime
·7· ·this year.
·8· · · · Q.· · Okay.· Can we turn -- let's just
·9· ·look at a couple of items on the list.· If we
10· ·can go to page 33416.· Do you see in Number 35
11· ·it talks about the proper recording or
12· ·disclosure in the financial statements of ND
13· ·relationships and transactions with related
14· ·parties.
15· · · · · · · Do you see that?
16· · · · A.· · I do.
17· · · · Q.· · As the CFO, do you have any
18· ·understanding as to whether Dugaboy is a
19· ·related party?
20· · · · A.· · I don't recall.
21· · · · Q.· · Do you know whether any of the
22· ·affiliates are related parties?
23· · · · A.· · If -- if it was NexPoint, HCMFA,
24· ·HCMS, HCRE, yeah, if -- if that is the
25· ·affiliate definition, and there.· In ASC 850 --


                       TSG Reporting - Worldwide· · 877-702-9580                APP 236
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 101
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   239 of 899Page 130 of 200 PageID 44074
                                                                                  Page 101
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·again, I mean, I haven't looked at ASC 850 in
·3· ·quite some time, but, you know, if -- if there
·4· ·is a control language, you know, ASC 850, would
·5· ·that -- that section in GAAP would -- would
·6· ·pick up and define what are related parties.
·7· · · · · · · So, you know, like I said, if -- one
·8· ·of the four entities I just described, if -- if
·9· ·they are in that control definition of ASC 850,
10· ·they would be picked up in 35D.
11· · · · Q.· · Do you -- do you have any reason to
12· ·believe that they would be picked up in that
13· ·definition, based on your knowledge and
14· ·experience?
15· · · · A.· · I -- I believe that entities
16· ·controlled under GAAP are -- are affiliates.
17· · · · Q.· · Okay.· Would Mr. Dondero also
18· ·qualify as a related party for purposes of
19· ·Section 35D, to the best of your knowledge?
20· · · · A.· · Yeah, I don't -- I don't know.                       I
21· ·would think -- I would have to read the code
22· ·section to see if someone personally -- is it
23· ·talking about related parties.· So, look, if
24· ·your own in control, yeah, I mean, I would have
25· ·to read the section.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 237
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 102
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   240 of 899Page 131 of 200 PageID 44075
                                                                                  Page 102
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · To the best of your knowledge, was
·3· ·the existence of the agreement ever disclosed
·4· ·to PwC?
·5· · · · A.· · I'm not -- I'm not aware.
·6· · · · Q.· · Do you recall if the agreement was
·7· ·ever disclosed in Highland's audited financial
·8· ·statements?
·9· · · · A.· · I don't -- I don't remember if it
10· ·was in every Highland's audited financial
11· ·statements during my tenure.· We would have to
12· ·read the financial statements to see what was
13· ·disclosed, but I'm not -- I mean, as I sit here
14· ·today, I'm not aware.
15· · · · Q.· · That is all I'm asking for.
16· · · · A.· · I'm not aware.
17· · · · Q.· · Can we go to the next page, please,
18· ·and look at 36.· 36 says, we have disclosed to
19· ·you the identity of the partnership's related
20· ·party relationships and all the related party
21· ·relationships and transactions of which we are
22· ·aware.
23· · · · · · · Do you see that?
24· · · · A.· · Yes.
25· · · · Q.· · To the best of your knowledge, as of


                       TSG Reporting - Worldwide· · 877-702-9580                APP 238
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 103
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   241 of 899Page 132 of 200 PageID 44076
                                                                                  Page 103
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·June 3rd, 2019, did Highland disclose to PwC
·3· ·the identity of the partnership's related
·4· ·parties and all the related party relationships
·5· ·and transactions of which it was aware?
·6· · · · A.· · I mean, I can speak for myself as
·7· ·signer of this representation letter.                     I
·8· ·disclosed what -- what, you know, what --
·9· ·what -- what I knew.· Sorry, look, yes, so I --
10· ·I disclosed what I knew.
11· · · · Q.· · Okay.· Can we go to page 419.· Do
12· ·you see at the end there is a reference to
13· ·events that occurred since the end of the
14· ·fiscal year and the date of the letter?
15· · · · A.· · Yes.
16· · · · Q.· · And were you aware of that -- of
17· ·that provision of the management representation
18· ·letter before you signed the document?
19· · · · A.· · Yes.
20· · · · Q.· · Do you have an understanding as to
21· ·why PwC asked for that confirmation of that
22· ·particular part of the management
23· ·representation letter?
24· · · · A.· · It is -- it is -- it is just -- it
25· ·is a typical audit request.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 239
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 104
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   242 of 899Page 133 of 200 PageID 44077
                                                                                  Page 104
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And do you understand -- do you have
·3· ·an understanding that PwC wanted to know that
·4· ·as of the date of the audit whether any
·5· ·material changes had occurred since the end of
·6· ·the fiscal year, using the definition of
·7· ·materiality that is in this particular
·8· ·management representation letter?
·9· · · · A.· · It -- it is -- it is -- it is a --
10· ·it is as described.· It is just a poorly worded
11· ·question, so it is hard for me to say yes.
12· · · · Q.· · If I asked you this, I apologize,
13· ·but did you ever learn when the agreement was
14· ·entered into?
15· · · · A.· · I don't -- I don't -- like I said
16· ·before, I don't know or have any details of the
17· ·agreement.
18· · · · Q.· · Okay.· Did you ever ask anybody when
19· ·the agreement was entered into?
20· · · · A.· · I did not.
21· · · · Q.· · Let's look at the audited financial
22· ·statements.· We will put up on the screen a
23· ·document that has been premarked as Exhibit 34.
24· · · · · · · (Exhibit 34 marked.)
25· · · · · · · MS. DANDENEAU:· And again, if Ms. La


                       TSG Reporting - Worldwide· · 877-702-9580                APP 240
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 105
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   243 of 899Page 134 of 200 PageID 44078
                                                                                  Page 105
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Canty could please put that in the chat
·3· · · · room, that would be great.
·4· · · · · · · MR. MORRIS:· I will assure you we
·5· · · · will put every document in the chat room.
·6· · · · Q.· · Now, I'm just going to ask you
·7· ·questions that are related to the provisions of
·8· ·this report that concern the affiliate loans,
·9· ·but again, Mr. Waterhouse, if there is any part
10· ·of the document that you need to see or that
11· ·you think you might need to see in order to
12· ·refresh your recollection to answer any of my
13· ·questions, will you let me know that?
14· · · · A.· · Yes.
15· · · · Q.· · Because this is a pretty lengthy
16· ·document, but do you see that the cover page
17· ·here is the Highland consolidated financial
18· ·statements for the period ending December 31st,
19· ·2018?
20· · · · A.· · Yes.
21· · · · Q.· · If we can go to -- I think it is the
22· ·next one, looking for PwC's signature line.
23· · · · · · · MS. CANTY:· I'm sorry, John, did you
24· ·say something?
25· · · · · · · MR. MORRIS:· Yes, can we turn the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 241
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 106
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   244 of 899Page 135 of 200 PageID 44079
                                                                                  Page 106
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · page.· I think it is 215.· Yes, stop right
·3· · · · there, just above -- I'm sorry, I want to
·4· · · · see just the date of the report.
·5· · · · Q.· · Okay.· Do you see at the bottom of
·6· ·that page there, Mr. Waterhouse,
·7· ·PricewaterhouseCoopers has signed this audit
·8· ·report?
·9· · · · A.· · Yes, I see their signature.
10· · · · Q.· · Okay.· And it is the dated same day
11· ·as your management representation letter; is
12· ·that right?
13· · · · A.· · It is -- yes, it is the same day.
14· · · · Q.· · Was that the practice to sign the
15· ·management representation letter on the same
16· ·day that the audit report was signed?
17· · · · A.· · Yes, that is typical in every audit.
18· · · · Q.· · Can we just scroll down to the
19· ·balance sheet on the next page.
20· · · · · · · Do you see that there is a line
21· ·there that says, Notes and Other Amounts Due
22· ·from Affiliates?
23· · · · A.· · Yes.
24· · · · Q.· · Does that line, to the best of your
25· ·knowledge, include the amounts that were due


                       TSG Reporting - Worldwide· · 877-702-9580                APP 242
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 107
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   245 of 899Page 136 of 200 PageID 44080
                                                                                  Page 107
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·under the affiliate under the notes signed by
·3· ·the affiliates and Mr. Dondero?
·4· · · · · · · MR. RUKAVINA:· Objection to the
·5· · · · extent that calls for a legal conclusion.
·6· · · · A.· · I mean, I would want to see the
·7· ·detail and the build to this $173,398,000, but,
·8· ·yes, I mean, if -- if -- given what we
·9· ·discussed before, you know, it -- it should
10· ·capture that.
11· · · · Q.· · And -- and while you were the CFO of
12· ·Highland, were all notes held by Highland that
13· ·were issued by an affiliate or Mr. Dondero
14· ·carried as assets on Highland's balance sheets?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · · · · MS. DEITSCH-PEREZ:· Object to form.
17· · · · A.· · I don't -- I don't know how else
18· ·they would be carried.
19· · · · Q.· · Okay.· Can you think of any -- are
20· ·you aware of any promissory note issued by an
21· ·affiliate or Mr. Dondero that was not carried
22· ·on Highland's audited financial balance sheets?
23· · · · A.· · I'm -- I'm -- I'm not aware.
24· · · · Q.· · Okay.· Are you aware of any category
25· ·of asset on Highland's balance sheet in which


                       TSG Reporting - Worldwide· · 877-702-9580                APP 243
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 108
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   246 of 899Page 137 of 200 PageID 44081
                                                                                  Page 108
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·any of the promissory notes issued by an
·3· ·affiliate or Mr. Dondero would have been
·4· ·included?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Sorry, am I aware of any asset of an
·7· ·affiliate being included --
·8· · · · Q.· · That -- let me -- let me try again.
·9· · · · · · · Do you see there is a number of
10· ·different assets that are described on this
11· ·balance sheet?
12· · · · A.· · Yes.
13· · · · Q.· · One of the assets that is described
14· ·is Notes and Other Amounts Due from Affiliates;
15· ·right?
16· · · · A.· · Yes.
17· · · · Q.· · And it is reasonable to conclude
18· ·that the notes from the affiliates and
19· ·Mr. Dondero are included in that line item;
20· ·right?
21· · · · A.· · Yes, based on this description.
22· ·Again, I would want to see a build of this to
23· ·100 percent confirm, but based on the
24· ·description, the asset description, it is -- it
25· ·is likely.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 244
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 109
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   247 of 899Page 138 of 200 PageID 44082
                                                                                  Page 109
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Now, does that mean absolute?                       I
·3· ·don't know.
·4· · · · Q.· · Do you have any reason to believe
·5· ·that the promissory notes would have been
·6· ·carried on the balance sheet in a category
·7· ·other than Notes and Other Amounts Due from
·8· ·Affiliates?
·9· · · · A.· · If they were deemed -- no.· If they
10· ·were deemed an affiliate, you know, under GAAP,
11· ·they should be carried in that line.
12· ·Otherwise, it would go into another line.
13· · · · Q.· · Okay.· And do you see the total
14· ·asset base as of December 31st, 2018, was
15· ·approximately $1.04 billion?
16· · · · A.· · Yes.
17· · · · Q.· · Is my math correct that the Notes
18· ·and Other Amounts Due from Affiliates
19· ·constituted approximately 17 percent of
20· ·Highland's assets as of the end of 2018?
21· · · · A.· · Well, so how are you defining
22· ·Highland?
23· · · · Q.· · Highland Capital Management, L.P.,
24· ·the entity that this audit is subject to -- or
25· ·the subject of.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 245
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 110
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   248 of 899Page 139 of 200 PageID 44083
                                                                                  Page 110
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · On a consolidated or unconsolidated
·3· ·basis?
·4· · · · Q.· · I'm looking at the balance sheet.
·5· ·It is a consolidated balance sheet.· Okay?
·6· · · · · · · Does the Notes and Other Amounts Due
·7· ·from Affiliates constitute approximately
·8· ·17 percent of the total assets of Highland
·9· ·Capital Management, L.P., on a consolidated
10· ·basis?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't have a calculator in front
13· ·of me but I will take your math, if you are
14· ·taking the 173 divided by the billion.
15· · · · Q.· · Okay.
16· · · · A.· · If that is accurate, yes.· But,
17· ·again, on a consolidated basis.
18· · · · Q.· · And on an unconsolidated basis the
19· ·percentage would be higher; correct?
20· · · · A.· · I -- no.· I don't know.
21· · · · Q.· · Well, okay.· That is fair.
22· · · · · · · MR. MORRIS:· Can we turn to
23· · · · page 241, please.
24· · · · Q.· · Do you see that this is a section of
25· ·the audit report that is entitled Notes and


                       TSG Reporting - Worldwide· · 877-702-9580                APP 246
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 111
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   249 of 899Page 140 of 200 PageID 44084
                                                                                  Page 111
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Other Amounts Due from Affiliates?
·3· · · · A.· · Sorry, I can't see the -- the --
·4· · · · Q.· · It is at the top.
·5· · · · A.· · Notes and Other Amounts Due from
·6· ·Affiliates, yes, I see that.· I don't -- I
·7· ·don't have a page number, but I'm on a page
·8· ·that says at the top:· Notes and Other Amounts
·9· ·Due from Affiliates.
10· · · · Q.· · Okay.· And that is the same title of
11· ·the line item on the balance sheet that we just
12· ·looked at; right?· Notes and Other Amounts Due
13· ·from Affiliates?
14· · · · A.· · Yes.
15· · · · Q.· · And is it your understanding, based
16· ·on your experience and knowledge as the CFO,
17· ·that this is the section of the narrative that
18· ·ties into the line item that we just looked at?
19· · · · A.· · Yes.
20· · · · Q.· · And is this section of the audit
21· ·report intended to describe and disclose all of
22· ·the material facts concerning the Notes and
23· ·Other Amounts Due from Affiliates?
24· · · · · · · MS. DANDENEAU:· Objection, form.
25· · · · A.· · This -- these notes -- these notes


                       TSG Reporting - Worldwide· · 877-702-9580                APP 247
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 112
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   250 of 899Page 141 of 200 PageID 44085
                                                                                  Page 112
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·of the financial statements are -- the purpose
·3· ·is to disclose any material items in relation
·4· ·to that balance sheet line item.
·5· · · · Q.· · Okay.· And all of the information,
·6· ·to the best of your knowledge, that is set
·7· ·forth in this section of the audit report was
·8· ·provided by Highland; correct?
·9· · · · A.· · Yes, it would have been provided by
10· ·the corporate accounting team.
11· · · · Q.· · Okay.· And the corporate accounting
12· ·team, did that team report to you in the
13· ·organizational structure?
14· · · · A.· · Yes.
15· · · · Q.· · And did you have any concerns about
16· ·the controls that were in place to make sure
17· ·that the information provided with respect to
18· ·Notes and Other Amounts Due from Affiliates was
19· ·accurate and complete?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · Not that I recall.
22· · · · Q.· · Okay.· Do you recall ever being
23· ·concerned that any portion of the Notes and
24· ·Other Amounts Due from Affiliates in any audit
25· ·report was inaccurate, incomplete, or not


                       TSG Reporting - Worldwide· · 877-702-9580                APP 248
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 113
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   251 of 899Page 142 of 200 PageID 44086
                                                                                  Page 113
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·reliable?
·3· · · · A.· · I didn't -- I had concerns about,
·4· ·you know, like I talked about before, of there
·5· ·were -- there were potentially issues in the
·6· ·control environment.· But as far as it relates
·7· ·to the audited financial statements, any -- the
·8· ·team would work with the auditors to disclose
·9· ·all -- all notes in Highland's possession.
10· · · · · · · And any -- any notes that were
11· ·deemed material by the auditor, right, these
12· ·were disclosed in these -- in this section, you
13· ·know, in -- in the notes to the consolidated
14· ·financial statements as you presented.
15· · · · Q.· · Do you recall ever having a
16· ·conversation with anybody at any time
17· ·concerning the accuracy of the section of audit
18· ·reports that relates to Notes and Other Amounts
19· ·Due from Affiliates?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · You know, as -- as -- I didn't have
22· ·direct conversations with
23· ·PricewaterhouseCoopers as I had, you know --
24· ·I -- I had the team that managed this.
25· · · · · · · Again, I wasn't anywhere chose to


                       TSG Reporting - Worldwide· · 877-702-9580                APP 249
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 114
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   252 of 899Page 143 of 200 PageID 44087
                                                                                  Page 114
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·being the point person of this audit.· And I
·3· ·can't recall, you know, when -- you know, I
·4· ·don't even know if I was ever the point person
·5· ·during my tenure as CFO.
·6· · · · · · · I don't know if PwC had any concerns
·7· ·when they were performing those audit
·8· ·procedures.· They may have and they may have --
·9· ·and it may not have been communicated to me.                         I
10· ·don't know.
11· · · · · · · MR. MORRIS:· All right.· I move to
12· · · · strike.
13· · · · Q.· · And I'm going to ask you to listen
14· ·carefully to my question.
15· · · · · · · Did you -- do you recall ever having
16· ·a conversation with anybody at any time
17· ·concerning the accuracy of the reporting
18· ·provided in the audited financial statement on
19· ·the topic of Notes and Other Amounts Due?
20· · · · · · · MS. DANDENEAU:· Objection to form.
21· · · · A.· · I don't recall for this, but that
22· ·doesn't mean that it didn't exist.
23· · · · Q.· · Okay.· But you have no reason to
24· ·believe, as you sit here right now, that you
25· ·ever discussed with anybody concerns over the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 250
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 115
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   253 of 899Page 144 of 200 PageID 44088
                                                                                  Page 115
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·accuracy of the section of the audit reports
·3· ·called Notes and Other Amounts Due from
·4· ·Affiliates; correct?
·5· · · · · · · MS. DANDENEAU:· Object to the form.
·6· · · · · · · MS. DEITSCH-PEREZ:· Objection to
·7· · · · form.
·8· · · · A.· · I don't recall having any
·9· ·conversations.· But, again, I mean, this is --
10· ·this is two years ago.
11· · · · Q.· · I'm just asking for your
12· ·recollection, sir.
13· · · · A.· · Yes.
14· · · · Q.· · If you don't recall, this will --
15· · · · A.· · Yeah.
16· · · · Q.· · (Overspeak) -- if you don't
17· ·recall --
18· · · · A.· · Yeah, I don't -- I don't recall.
19· · · · Q.· · Do you know who was responsible for
20· ·drafting the audit report?
21· · · · A.· · Are you asking the actual Highland
22· ·employee responsible?· I mean, it was
23· ·Highland's responsibility, so, I mean, that
24· ·is --
25· · · · Q.· · Right.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 251
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 116
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   254 of 899Page 145 of 200 PageID 44089
                                                                                  Page 116
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · -- Highland's responsibility.
·3· ·Highland's responsibility.
·4· · · · Q.· · Who, at Highland, was responsible
·5· ·for drafting this section of the audit report?
·6· · · · A.· · I -- I don't know the answer to
·7· ·that.· Again, there was a team who worked on
·8· ·this.· And I don't know, you know, whether it
·9· ·was the staff or the manager.
10· · · · · · · Again, this is where I let the teams
11· ·manage.· And, you know, there may be a
12· ·corporate accountant who worked on this.                       I
13· ·just -- you know, I wasn't part of that process
14· ·to give that person experience.· I don't know.
15· · · · Q.· · Do you recall having any
16· ·communications with anybody at any time
17· ·concerning this section of the report?
18· · · · A.· · Yeah, I don't recall.
19· · · · Q.· · Do you recall whether you ever told
20· ·anybody at any time that any aspect of this
21· ·section of the report was inaccurate or
22· ·incomplete?
23· · · · A.· · I don't recall.
24· · · · Q.· · As you sit here today, do you have
25· ·any reason to believe that this section of the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 252
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 117
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   255 of 899Page 146 of 200 PageID 44090
                                                                                  Page 117
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·audit report is incomplete or inaccurate in any
·3· ·way?
·4· · · · · · · And I'm happy to give you a moment
·5· ·to -- to look at it, if you would like.
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · · · · MS. DEITSCH-PEREZ:· Same.
·8· · · · A.· · I mean, I would have to look at -- I
·9· ·would have to look at the bill to the note
10· ·schedule to make sure I know you presented me
11· ·with materiality, but again, there might be a
12· ·note as of 12/31/18 that somehow was -- was
13· ·under materiality not disclosed.· I don't -- I
14· ·don't know.· I would need more information.
15· · · · Q.· · Okay.· But without more information,
16· ·you have no reason to believe anything this
17· ·section is inaccurate; correct?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · A.· · I don't.· I mean, you know, this was
20· ·part of the audit.
21· · · · Q.· · Thank you.· Now, you will see if we
22· ·could scroll just a little bit more that each
23· ·of the first five paragraphs concerns
24· ·specifically the four affiliates that we've
25· ·been discussing and Mr. Dondero.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 253
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 118
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   256 of 899Page 147 of 200 PageID 44091
                                                                                  Page 118
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · MR. MORRIS:· If we could go the
·3· · · · other way, La Asia.· We don't need Okada.
·4· · · · We're going to have to thread the needle.
·5· · · · Okay.· Good, perfect.
·6· · · · Q.· · Do you see those five paragraphs
·7· ·certain the four affiliates and Mr. Dondero as
·8· ·we've been referring to today?
·9· · · · A.· · Yes.
10· · · · Q.· · Okay.· And do you see at the end of
11· ·every paragraph it states, quote:· A fair value
12· ·of a partnership's outstanding notes receivable
13· ·approximates the carrying value of the notes
14· ·receivable?
15· · · · A.· · Yes, I see that.
16· · · · Q.· · Do you have an understanding of what
17· ·that means?
18· · · · A.· · Yes.
19· · · · Q.· · What is your understanding of that
20· ·sentence?
21· · · · A.· · It is the -- again, the -- the fair
22· ·value, right, which is -- which is what the --
23· ·what Highland could sell that asset for.· This
24· ·statement is comparing the fair value of the
25· ·notes to the carrying value, so the carrying


                       TSG Reporting - Worldwide· · 877-702-9580                APP 254
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 119
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   257 of 899Page 148 of 200 PageID 44092
                                                                                  Page 119
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·value is the line item that you showed me
·3· ·earlier that is in Notes and Other Amounts Due
·4· ·from Affiliates.
·5· · · · Q.· · Okay.· Is another way to say this is
·6· ·that the fair market value of the notes equals
·7· ·the principal amount and -- withdrawn.
·8· · · · · · · Is the fair way to interpret this
·9· ·that the fair market value of the notes equals
10· ·all remaining unpaid principal and interest due
11· ·under the notes?
12· · · · · · · MS. DANDENEAU:· Object to the form.
13· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
14· · · · A.· · I don't know the answer to that,
15· ·because I don't recall where -- where any --
16· ·where -- in what line item was the interest
17· ·component reported.
18· · · · Q.· · All right.· Well, if we look in this
19· ·audit report, you will see in the middle of the
20· ·first paragraph, for example, it states that as
21· ·of December 31st, 2018, total interest and
22· ·principal due on outstanding promissory notes
23· ·was approximately $5.3 million.
24· · · · · · · Do you see that?
25· · · · A.· · I do.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 255
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 120
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   258 of 899Page 149 of 200 PageID 44093
                                                                                  Page 120
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is that the carrying value or the
·3· ·fair value?
·4· · · · A.· · That would be the carrying value --
·5· · · · Q.· · And is the last --
·6· · · · A.· · -- in my opinion.
·7· · · · Q.· · Okay.· And it is in your opinion as
·8· ·the chief financial officer of Highland during
·9· ·the period of time that you described; right?
10· ·It is an educated opinion?
11· · · · A.· · I'm reading this at face value.· I'm
12· ·taking that as that is carrying value.
13· · · · Q.· · Okay.· And does the last sentence
14· ·say that the carrying value is roughly
15· ·approximate to the fair market value?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
18· · · · A.· · Again, this note to the financial
19· ·statement is specific to notes and other
20· ·amounts due from affiliates.
21· · · · Q.· · Correct.
22· · · · A.· · If the interest component is
23· ·reported elsewhere on the balance sheet, you
24· ·know, it -- it -- it could be off.· Again, I
25· ·don't have the detail.· I don't know, but yes,


                       TSG Reporting - Worldwide· · 877-702-9580                APP 256
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 121
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   259 of 899Page 150 of 200 PageID 44094
                                                                                  Page 121
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·look, I mean, if you -- I mean, if you are
·3· ·saying the 5.3 million is in the notes and
·4· ·other amounts due from affiliates, then the
·5· ·last statement is saying the fair value
·6· ·approximates 5.3 million.· That is what that
·7· ·last sentence is saying.
·8· · · · Q.· · Do you see in the middle of the
·9· ·first paragraph -- not in the middle, the next
10· ·to last sentence there is a statement that the
11· ·partnership will not demand payment on amounts
12· ·that exceed HCMFA's excess cash availability
13· ·prior to May 31st, 2021.
14· · · · · · · Do you see that?
15· · · · A.· · I do.
16· · · · Q.· · Do you know when Highland agreed not
17· ·to demand payment as described in that
18· ·sentence?
19· · · · A.· · I don't know specifically.
20· · · · Q.· · Do you know why Highland agreed not
21· ·to demand payment on HCMFA's notes until May
22· ·2021?
23· · · · A.· · Yes.
24· · · · Q.· · Why was that decision made?
25· · · · A.· · You know, well, it -- it -- that


                       TSG Reporting - Worldwide· · 877-702-9580                APP 257
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 122
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   260 of 899Page 151 of 200 PageID 44095
                                                                                  Page 122
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·decision was made as to not put HCMFA into a
·3· ·position where it didn't have sufficient assets
·4· ·to pay for the demand note.
·5· · · · Q.· · And at the time the agreement was
·6· ·entered into, pursuant to which the partnership
·7· ·wouldn't demand payment, did HCMFA have
·8· ·insufficient assets to satisfy the notes if a
·9· ·demand had been made?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't have HCMFA's financial
12· ·statements in front of me as of 12/31/18.
13· · · · Q.· · Was there a concern that HCMFA would
14· ·be unable to satisfy its demands under the
15· ·notes if demand was made?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · Well, there is -- I don't recall --
18· ·I mean, there is something, right, in place to
19· ·basically not demand payment until May 31, 2021
20· ·as detailed here.
21· · · · Q.· · And who made the decision to enter
22· ·into -- who made the decision on behalf of
23· ·Highland not to demand payment until May 31st,
24· ·2021?
25· · · · A.· · I'm trying to remember.· I don't


                       TSG Reporting - Worldwide· · 877-702-9580                APP 258
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 123
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   261 of 899Page 152 of 200 PageID 44096
                                                                                  Page 123
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·remember exactly -- I don't remember if it was
·3· ·myself or -- or Jim Dondero who -- who -- there
·4· ·was -- there was something signed, from what I
·5· ·recall, that -- that -- that backed up this
·6· ·line item in the -- in the notes I'm -- look,
·7· ·I'm, I'm --
·8· · · · Q.· · We will get to that.
·9· · · · A.· · You --
10· · · · Q.· · I'm just --
11· · · · A.· · You have -- I mean --
12· · · · Q.· · We're going to give that to you.
13· ·I'm going to give that to you.
14· · · · A.· · You -- you -- you have all the
15· ·documents.· I don't have the documents, and
16· ·that is what makes it so hard.· I don't have
17· ·any documents to prepare for this deposition;
18· ·right?· You have all -- I don't -- I don't -- I
19· ·don't remember, but, you know, again, it would
20· ·probably be myself or Jim.
21· · · · Q.· · Do you know if Highland received
22· ·anything in return for its agreement not to
23· ·make a demand for two years?
24· · · · A.· · I don't -- I don't think it referred
25· ·anything.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 259
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 124
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   262 of 899Page 153 of 200 PageID 44097
                                                                                  Page 124
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · And did you and Mr. Dondero discuss
·3· ·HCMFA's ability to satisfy the notes if a
·4· ·demand was made at the time this agreement was
·5· ·entered into?
·6· · · · · · · MS. DANDENEAU:· Objection to form.
·7· · · · A.· · I don't -- I don't -- I don't recall
·8· ·having a specific conversation, if I did, or --
·9· ·or David Klos.
10· · · · Q.· · Okay.· I'm just asking if you recall
11· ·any conversations that you had.
12· · · · A.· · I don't recall.
13· · · · Q.· · Okay.· Do you know why Highland
14· ·loaned the money to HCMFA that is the subject
15· ·of the notes described in this paragraph?
16· · · · A.· · I don't remember specifically why
17· ·5.3 million was loaned.· I mean, I -- it would
18· ·have to be put in the context.
19· · · · Q.· · Do you have any recollection at all
20· ·as to why Highland ever loaned any money to
21· ·HCMFA?
22· · · · A.· · Yes.
23· · · · · · · MS. DANDENEAU:· Objection to form.
24· · · · Q.· · What do you remember about that?
25· · · · A.· · There was a Highland Global


                       TSG Reporting - Worldwide· · 877-702-9580                APP 260
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 125
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   263 of 899Page 154 of 200 PageID 44098
                                                                                  Page 125
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Allocation Fund, which was a -- a fund managed
·3· ·by Highland Capital Management Fund Advisors.
·4· ·There was a -- we -- I'm just telling you,
·5· ·there was -- there was -- there was a -- a
·6· ·ultimately a NAV error found in this fund while
·7· ·it was an open-ended fund and, you know, there
·8· ·were amounts owed by the advisor in -- in
·9· ·relation to that NAV error.
10· · · · · · · There were also, for the same fund,
11· ·that same fund was ongoing an
12· ·open-end-to-close-end conversion, and as part
13· ·of that proposal, shareholders who voted for
14· ·the conversion received compensation from the
15· ·advisor.
16· · · · Q.· · All right.· Now, the events that
17· ·you're describing occurred in the spring of
18· ·2019; right?
19· · · · A.· · These started back -- I think, I
20· ·mean --
21· · · · Q.· · I apologize.
22· · · · A.· · -- that -- I mean, the answer to
23· ·that is no.
24· · · · Q.· · I apologize, the loans that were
25· ·made in connection with the events that you're


                       TSG Reporting - Worldwide· · 877-702-9580                APP 261
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 126
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   264 of 899Page 155 of 200 PageID 44099
                                                                                  Page 126
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·describing occurred in May 2019; right?
·3· · · · · · · MR. RUKAVINA:· Objection to the
·4· · · · extent that calls for a legal conclusion.
·5· · · · A.· · I don't recall specifically what
·6· ·amounts of money were moved when, for what
·7· ·purpose.
·8· · · · Q.· · Okay.· Fair enough.· Going to the
·9· ·next paragraph, do you recall that NexPoint
10· ·Advisors had obtained a number of loans from
11· ·Highland, and they rolled up those loans into
12· ·one note in approximately 2017?
13· · · · A.· · This is for NexPoint Advisors?
14· · · · Q.· · Yes.
15· · · · A.· · I -- I mean, I don't -- I don't
16· ·recall the NexPoint Advisors loan being a
17· ·roll-up loan, but --
18· · · · Q.· · Do you know why?
19· · · · A.· · But, look, if you have documents
20· ·that show -- I mean, look, I just don't recall.
21· · · · Q.· · Okay.· That is fair.· Do you know
22· ·why -- do you have any recollection as to why
23· ·Highland loaned money to NexPoint?
24· · · · A.· · Yes.
25· · · · Q.· · Why did High -- why do you recall --


                       TSG Reporting - Worldwide· · 877-702-9580                APP 262
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 127
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   265 of 899Page 156 of 200 PageID 44100
                                                                                  Page 127
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·what is the reason you recall Highland lending
·3· ·money to NexPoint?
·4· · · · A.· · I mean, I was just -- I just -- I
·5· ·just recall.· I mean, I just -- I don't
·6· ·remember why.
·7· · · · Q.· · I understand.· And I'm asking you if
·8· ·you recall --
·9· · · · A.· · Oh, why -- I thought you say --
10· ·NexPoint Advisors was launching a fund which
11· ·is -- I believe that the legal name is NexPoint
12· ·Capital, Inc.· And it -- it provided a
13· ·co-invest into that fund.
14· · · · · · · And, from what I remember, the --
15· ·the -- that NexPoint borrowed money from
16· ·Highland at the time to make that co-invest.
17· · · · Q.· · So this was an investment that
18· ·NexPoint was required to make; is that right?
19· · · · · · · MS. DANDENEAU:· Objection to form.
20· · · · A.· · I don't know if it was required to
21· ·make, I don't recall that, or if it just made
22· ·it.
23· · · · Q.· · Okay.· But your recollection is that
24· ·NexPoint made an investment and they borrowed
25· ·money from Highland to finance the investment.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 263
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 128
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   266 of 899Page 157 of 200 PageID 44101
                                                                                  Page 128
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · Do I have that right?
·3· · · · A.· · Yes.
·4· · · · Q.· · How about HCRE?· Do you know why
·5· ·HCRE borrowed money from Highland?
·6· · · · A.· · I don't remember specifically.
·7· · · · Q.· · Do you remember generally?
·8· · · · A.· · Generally, yeah -- I mean, yes.
·9· · · · Q.· · Can you tell me your general
10· ·recollection as to why Highland loaned money to
11· ·HCRE?
12· · · · A.· · For -- for -- for investment
13· ·purposes.
14· · · · Q.· · So HCRE made the investment and it
15· ·obtained a loan, or loans, from Highland in
16· ·order to finance that investment or those
17· ·investments.
18· · · · · · · Do I have that right?
19· · · · A.· · I mean, I -- you know, generally.
20· · · · Q.· · Okay.· How about Highland Management
21· ·Services, Inc.?
22· · · · · · · Do you have any recollection as to
23· ·why HCMS borrowed money from Highland?
24· · · · A.· · Generally.
25· · · · Q.· · What is your general recollection as


                       TSG Reporting - Worldwide· · 877-702-9580                APP 264
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 129
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   267 of 899Page 158 of 200 PageID 44102
                                                                                  Page 129
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to why HCMS borrowed money from Highland?
·3· · · · A.· · For -- for investment purposes.
·4· · · · Q.· · So it is the same thing, HCMS wanted
·5· ·to make investments and it borrowed money from
·6· ·Highland in order to finance those investments;
·7· ·is that right?
·8· · · · A.· · I mean, yes, generally.· I mean, I
·9· ·can't -- I don't -- on the services, there --
10· ·there are several loans in these schedules.
11· ·You know, I can't remember why every single one
12· ·of these were made, but I would say, yeah, I
13· ·mean, generally.
14· · · · Q.· · Okay.· I appreciate that.
15· · · · · · · MR. MORRIS:· Let's go to the page
16· · · · with Bates No. 251.· La Asia, are you
17· · · · there?
18· · · · · · · MS. CANTY:· Sorry, John.· It went
19· · · · out for a minute.· Can you say that again.
20· · · · I don't know what is going on.
21· · · · · · · MR. MORRIS:· The page with Bates
22· · · · No. 251, can we go to that.
23· · · · · · · MS. CANTY:· Yes, sorry.
24· · · · · · · MR. MORRIS:· Keep going to the
25· · · · bottom.· Yeah, there you go.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 265
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 130
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   268 of 899Page 159 of 200 PageID 44103
                                                                                  Page 130
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Do you see, Mr. Waterhouse, that
·3· ·there is a section there called Subsequent
·4· ·Events?
·5· · · · A.· · I do.
·6· · · · Q.· · And does this relate to the last
·7· ·sentence above the signature line on the
·8· ·management representation letter that we talked
·9· ·about earlier where you made the representation
10· ·that you disclosed subsequent events?
11· · · · A.· · I mean, it relates to it, but not in
12· ·its entirety.
13· · · · Q.· · Okay.
14· · · · · · · MR. MORRIS:· If we can scroll up to
15· · · · capture the entirety of this section right
16· · · · here.
17· · · · Q.· · And what do you mean by that, sir?
18· · · · · · · MR. MORRIS:· Yeah, right there.
19· · · · Perfect.
20· · · · A.· · There are -- there are different
21· ·subsequent events in -- under GAAP.· So there
22· ·are -- and -- and -- so what we see in the
23· ·notes to the financial statements are one type
24· ·of subevent.
25· · · · Q.· · Okay.· And -- and would the type of


                       TSG Reporting - Worldwide· · 877-702-9580                APP 266
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 131
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   269 of 899Page 160 of 200 PageID 44104
                                                                                  Page 131
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·subsequent event relating to affiliate loans be
·3· ·captured in this section if they were -- if
·4· ·they were made after the end of the fiscal year
·5· ·and prior to the issuance of the audit report?
·6· · · · A.· · Yes, if they were deemed material or
·7· ·disclosable.
·8· · · · Q.· · Okay.· I appreciate that.
·9· · · · · · · Do you see the next to the last
10· ·entry there?· It says, Over the course of 2019
11· ·through the report date, HCMFA issued
12· ·promissory notes to the partnership in the
13· ·aggregate amount of $7.4 million?
14· · · · A.· · Yes.
15· · · · Q.· · And does that refresh your
16· ·recollection that those are the notes that
17· ·related to the NAV error that you mentioned
18· ·earlier?
19· · · · A.· · I don't -- I don't remember the
20· ·exact.· Again, there are -- I mentioned two
21· ·line items; right?
22· · · · Q.· · Yes.
23· · · · A.· · I mean, it was the GAAP conversion
24· ·process plus the -- the NAV error.· I don't
25· ·have the details.· I don't recall specifically


                       TSG Reporting - Worldwide· · 877-702-9580                APP 267
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 132
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   270 of 899Page 161 of 200 PageID 44105
                                                                                  Page 132
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·if -- you know, what -- if that 7.4 million was
·3· ·solely attributable to the NAV error.
·4· · · · Q.· · Okay.· But there is no question that
·5· ·Highland told PricewaterhouseCoopers that over
·6· ·the course of 2019 HCMFA issued promissory
·7· ·notes to the partnership in the aggregate
·8· ·amount of $7.4 million; correct?
·9· · · · A.· · In the course of the audit, we would
10· ·have produced all promissory notes in our
11· ·possession, including the ones that are
12· ·detailed here.
13· · · · Q.· · Do you recall that you signed the
14· ·two promissory notes that are referenced in
15· ·that provision?
16· · · · · · · MS. DANDENEAU:· Objection to form.
17· · · · A.· · I didn't recall initially but I've
18· ·been reminded.
19· · · · Q.· · Okay.· And -- and do you recall that
20· ·those notes are dated May 2nd and May 3rd,
21· ·2019?
22· · · · A.· · Yes.
23· · · · Q.· · So that was just a month before the
24· ·audit was completed; correct?
25· · · · A.· · Yes.· I think we had a June 3rd


                       TSG Reporting - Worldwide· · 877-702-9580                APP 268
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 133
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   271 of 899Page 162 of 200 PageID 44106
                                                                                  Page 133
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·date, right, if -- if my memory serves me
·3· ·right.
·4· · · · Q.· · Yes, I will represent to you that
·5· ·your memory is accurate in that regard.
·6· · · · · · · Did anybody ever instruct you as the
·7· ·CFO to correct this statement that we're
·8· ·looking at in subsequent events?
·9· · · · A.· · So let me understand.· You're saying
10· ·when I was CFO at Highland Capital did anyone
11· ·ever ask me to correct the -- over the course
12· ·of 2019 through the report date HCMFA issued
13· ·promissory notes, this statement?
14· · · · Q.· · Right.
15· · · · A.· · Not that I'm aware.
16· · · · Q.· · While you were the CFO of Highland,
17· ·did anybody ever tell you that that sentence
18· ·was wrong?
19· · · · A.· · Not that I'm aware.
20· · · · Q.· · Highland -- withdrawn.
21· · · · · · · HCMFA disclosed these notes in its
22· ·own audited financial statements; right?
23· · · · · · · MR. RUKAVINA:· Objection, form.
24· · · · A.· · I assume that these would be
25· ·material -- if these are material financial


                       TSG Reporting - Worldwide· · 877-702-9580                APP 269
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 134
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   272 of 899Page 163 of 200 PageID 44107
                                                                                  Page 134
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·statements, yes, they -- they -- they should be
·3· ·and they were likely disclosed.
·4· · · · Q.· · Now, there is no statement
·5· ·concerning the 2019 notes about the forbearance
·6· ·that we looked at in the affiliated note
·7· ·section of the report; right?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · I'll withdraw.· That was bad.
10· · · · · · · Do you recall when we were looking
11· ·at the paragraph concerning HCMFA earlier it
12· ·had that disclosure about the agreement whereby
13· ·Highland wouldn't ask for demand on the -- on
14· ·the HCMFA notes?
15· · · · A.· · Yes.
16· · · · Q.· · That forbearance disclosure is not
17· ·made with respect to the 2019 notes; right?
18· · · · A.· · Not -- look, not that I can recall,
19· ·unless -- unless it was done at a subsequent
20· ·day.
21· · · · Q.· · Right.· And it is not in the
22· ·subsequent event section that we're looking at
23· ·right now where the 2019 notes are described;
24· ·right?
25· · · · A.· · Right.· But this is through


                       TSG Reporting - Worldwide· · 877-702-9580                APP 270
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 135
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   273 of 899Page 164 of 200 PageID 44108
                                                                                  Page 135
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·June 3rd.· It could have been done on June 4th.
·3· ·I don't -- I don't -- I don't recall.
·4· · · · Q.· · Okay.
·5· · · · · · · MR. MORRIS:· Can we put up on the
·6· · · · screen the HCMFA audit report.· And while
·7· · · · we're --
·8· · · · · · · MS. DANDENEAU:· What exhibit is
·9· · · · this?
10· · · · · · · MR. MORRIS:· La Asia, what number is
11· · · · that?
12· · · · · · · MS. CANTY:· 45.
13· · · · · · · MR. MORRIS:· So this will be marked
14· · · · as Exhibit 45.
15· · · · · · · (Exhibit 45 marked.)
16· · · · · · · MS. CANTY:· Yeah, and I will put it
17· · · · in the chat.
18· · · · · · · MS. DANDENEAU:· Thank you.
19· · · · Q.· · Okay.· All right.· Do you see that
20· ·this is the consolidated financial statements
21· ·for HCMFA for the period ending 12/31/18?
22· · · · A.· · Yes.
23· · · · Q.· · As the treasurer of HCMFA at the
24· ·time, did you have to sign a management
25· ·representation letter similar to the one that


                       TSG Reporting - Worldwide· · 877-702-9580                APP 271
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 136
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   274 of 899Page 165 of 200 PageID 44109
                                                                                  Page 136
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·we looked at earlier for Highland?
·3· · · · A.· · I would imagine I would have been
·4· ·asked to.· I don't recall if I did.
·5· · · · Q.· · Do you recall ever being asked by an
·6· ·auditor to sign a management representation
·7· ·letter and then not doing it?
·8· · · · A.· · No.
·9· · · · · · · MR. MORRIS:· Can we just scroll down
10· · · · again.· I just want to see the date of the
11· · · · document.
12· · · · A.· · I mean, let me -- you know, there
13· ·are different versions to management
14· ·representation letters I will qualify.
15· · · · · · · Yes, there are certain -- from time
16· ·to time auditors can make representations
17· ·that -- in the rep letter that is being
18· ·proposed that are inaccurate or out of scope or
19· ·things like that and they've asked for
20· ·signature.
21· · · · · · · In that context, yes.· I mean, you
22· ·know -- I mean, if I have been asked to sign
23· ·and make those representations and those
24· ·representations are invalid, yes, I would not,
25· ·I mean, I -- I wouldn't sign that.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 272
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 137
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   275 of 899Page 166 of 200 PageID 44110
                                                                                  Page 137
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· PricewaterhouseCoopers served
·3· ·as HCMFA's outside auditors as well; correct?
·4· · · · A.· · Yes.
·5· · · · Q.· · Do you see that this audit report is
·6· ·signed on June 3rd, 2019, just like the
·7· ·Highland audit report?
·8· · · · A.· · That is correct.
·9· · · · Q.· · And did the process of -- of
10· ·preparing HCMFA's audit report, was that the
11· ·same process that Highland followed when it did
12· ·its audit report at this time?
13· · · · A.· · I mean, it is a different entity.
14· ·There are different assets.· You know, it --
15· ·it -- it is -- as you saw, Highland's
16· ·financials are on a consolidated basis.· This
17· ·is different, so it is under the same control
18· ·environment and team.
19· · · · Q.· · Okay.· I appreciate that.· So the
20· ·same control environment and team participated
21· ·in the preparation of the audit for Highland
22· ·and for HCMFA at around the same time; correct?
23· · · · A.· · Yes.
24· · · · · · · MR. MORRIS:· Can we go to page 17 of
25· · · · the report.· I don't have the Bates number.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 273
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 138
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   276 of 899Page 167 of 200 PageID 44111
                                                                                  Page 138
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Okay.· Do you see that just like
·3· ·Highland's audited financial report, HCMFA's
·4· ·audited financial report also has a section
·5· ·related to subsequent events?
·6· · · · A.· · Yes.
·7· · · · Q.· · And am I reading this correctly that
·8· ·just as Highland had done, HCMFA disclosed in
·9· ·its audited financial report a subsequent event
10· ·that related to the issuance of promissory
11· ·notes to Highland in the aggregate amount of
12· ·$7.4 million in 2019?
13· · · · A.· · That is what I see in the report.
14· · · · Q.· · And you were the treasurer of HCMFA
15· ·at the time; right?
16· · · · A.· · Yes, to the best of my knowledge.
17· · · · Q.· · And did anybody ever tell you prior
18· ·to the time of the issuance of this audit
19· ·report that that sentence relating to HCMFA's
20· ·2019 notes was inaccurate or wrong in any way?
21· · · · A.· · Not that I recall.
22· · · · Q.· · As you sit here right now, has
23· ·anybody ever told you that that sentence is
24· ·inaccurate or wrong in any way?
25· · · · A.· · Not that I recall.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 274
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 139
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   277 of 899Page 168 of 200 PageID 44112
                                                                                  Page 139
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · I apologize if I asked you this
·3· ·already, but has anybody ever told you at any
·4· ·time that you are not authorized to sign the
·5· ·promissory notes that are the subject of the
·6· ·sentence we're looking at?
·7· · · · A.· · Not that I recall.
·8· · · · Q.· · Did anybody ever tell you at any
·9· ·time that you had made a mistake when you
10· ·signed the promissory notes that are the
11· ·subject of this sentence?
12· · · · A.· · Say that again.· Did anyone ever say
13· ·that I made a mistake?
14· · · · Q.· · Let me ask the question again.
15· · · · · · · Did anybody ever tell you at any
16· ·time that you made a mistake when you signed
17· ·the two promissory notes in Highland's favor on
18· ·behalf of HCMFA in 2019?
19· · · · A.· · Not that I recall.
20· · · · · · · MR. MORRIS:· Let's just look at the
21· · · · promissory notes quickly.· Can we please
22· · · · put up Document Number 1, and so this is in
23· · · · the pile that y'all have.· We'll just go
24· · · · for a few more minutes and we can take our
25· · · · lunch break.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 275
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 140
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   278 of 899Page 169 of 200 PageID 44113
                                                                                  Page 140
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · All right.· So I don't know if you
·3· ·have seen this before, sir.· Do you see that
·4· ·this is a complaint against HCMFA?
·5· · · · A.· · Yes, I am looking at it on the
·6· ·screen.
·7· · · · Q.· · Okay.· And have you ever seen this
·8· ·document before?
·9· · · · A.· · I went through some of these
10· ·documents with my counsel here yesterday.
11· · · · · · · MR. MORRIS:· All right.· Can we go
12· · · · to Exhibit 1 of this document.
13· · · · Q.· · Do you see Exhibit 1 is a
14· ·$2.4 million promissory note back in 2019?
15· · · · A.· · Yeah, I found it in the book.· Yes,
16· ·I have it here in front of me.
17· · · · Q.· · And this is a demand note, right, if
18· ·you look at Paragraph 2?
19· · · · A.· · Yes.
20· · · · Q.· · And this is a note where the maker
21· ·is HCMFA, and Highland is the payee; right?
22· · · · A.· · Yes.
23· · · · · · · MR. MORRIS:· And if we can scroll
24· · · · down, can we just see Mr. Waterhouse's
25· · · · signature.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 276
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 141
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   279 of 899Page 170 of 200 PageID 44114
                                                                                  Page 141
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Is that your signature, sir?
·3· · · · A.· · Yes, it is.
·4· · · · Q.· · And did you sign this document on or
·5· ·around May 2nd, 2019?
·6· · · · A.· · I don't recall specifically signing
·7· ·this, but this is my signature.
·8· · · · Q.· · Okay.· And do you recall that
·9· ·Highland transferred $2.4 million to HCMFA at
10· ·or around the time you signed this document?
11· · · · A.· · I don't recall specifically.                       I
12· ·would want to, as I sit here today, go back and
13· ·confirm that, but again, presumably that --
14· ·that -- that did happen.
15· · · · Q.· · You wouldn't have signed this
16· ·document if you didn't believe that HCMFA
17· ·either received or was going to receive
18· ·$2.4 million from Highland; is that fair?
19· · · · A.· · I mean, it -- if -- if -- if there
20· ·wasn't a transfer of value, yeah, I mean, you
21· ·know, I would have no reason to -- to sign a
22· ·note.
23· · · · Q.· · And -- and Highland wouldn't have
24· ·given this note to PricewaterhouseCoopers if --
25· ·withdrawn.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 277
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 142
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   280 of 899Page 171 of 200 PageID 44115
                                                                                  Page 142
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · HCMFA wouldn't have given this note
·3· ·to PricewaterhouseCoopers if it hadn't received
·4· ·the principal value of -- of the note in the
·5· ·form of a loan; correct?
·6· · · · · · · MR. RUKAVINA:· Objection, legal
·7· · · · conclusion, speculation and form.
·8· · · · A.· · Again, we -- what we provided to PwC
·9· ·were, as part of the audit, any promissory
10· ·notes executed and outstanding.· You know, as a
11· ·part of the audit, they, you know, they -- they
12· ·have copies of all the bank statements,
13· ·things -- things of that sort.
14· · · · · · · MR. MORRIS:· Okay.· Can we go to
15· · · · Exhibit 2.
16· · · · · · · (Exhibit 2 marked.)
17· · · · Q.· · Do you see that this is a promissory
18· ·note dated May 3rd, 2019 in the amount of
19· ·$5 million?
20· · · · A.· · Yes.
21· · · · Q.· · Do you believe this is also a demand
22· ·note if you look at Paragraph 2?
23· · · · A.· · Yes.
24· · · · Q.· · And do you see that HCMFA is the
25· ·maker, and Highland is the payee?


                       TSG Reporting - Worldwide· · 877-702-9580                APP 278
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 143
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   281 of 899Page 172 of 200 PageID 44116
                                                                                  Page 143
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Yes.
·3· · · · Q.· · And if we go to the bottom, can we
·4· ·just confirm that that is your signature?
·5· · · · A.· · Yes.
·6· · · · Q.· · And together these notes are the
·7· ·notes that are referred to both in Highland and
·8· ·HCMFA's audited financial reports in the
·9· ·subsequent event sections; correct?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · They -- they -- they totaled
12· ·$7.4 million, so presumably, yes.
13· · · · Q.· · Okay.· And you were authorized to
14· ·sign these two notes; correct?
15· · · · · · · MR. RUKAVINA:· Objection, legal
16· · · · conclusion.
17· · · · A.· · Yeah.· I mean, I'm -- I was the
18· ·officer of -- of HCMFA.· You know, I -- I'm not
19· ·the legal expert on -- on what that -- what
20· ·that confers to me or what it doesn't.· I mean,
21· ·that is my signature on the notes.
22· · · · Q.· · And you believed you were authorized
23· ·to sign the notes; is that fair?
24· · · · A.· · I signed a lot of documents in my
25· ·capacity, just because it is operational in


                       TSG Reporting - Worldwide· · 877-702-9580                APP 279
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 144
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   282 of 899Page 173 of 200 PageID 44117
                                                                                  Page 144
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·nature.· So, you know, to me this was just
·3· ·another document, to be perfectly honest.
·4· · · · Q.· · Sir, would you have signed
·5· ·promissory notes with the principal amount of
·6· ·$7.4 million if you didn't believe you were
·7· ·authorized to do so?
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · Are you frozen?
10· · · · A.· · No.· I'm just -- you know, it is --
11· ·you know, again, I typically don't sign
12· ·promissory notes, and I don't recall why I
13· ·signed these, but -- you know, but I did.
14· · · · Q.· · All right.· So listen carefully to
15· ·my question.· Would you have ever signed
16· ·promissory notes with a face amount of
17· ·$7.4 million without believing that you were
18· ·authorized to do so?
19· · · · A.· · No.· I mean, I'm -- I'm putting my
20· ·signature on there, so no.
21· · · · Q.· · Okay.· And would you have signed two
22· ·promissory notes obligating HCMFA to pay
23· ·Highland $7.4 million without Mr. Dondero's
24· ·prior knowledge and approval?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 280
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 145
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   283 of 899Page 174 of 200 PageID 44118
                                                                                  Page 145
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · A.· · You know, from -- from what I recall
·4· ·around these notes, you know, I don't recall
·5· ·specifically Mr. -- Mr. Dondero saying to -- to
·6· ·make this a loan.
·7· · · · · · · So my conversation with Mr. Dondero
·8· ·around the culmination of the NAV error as
·9· ·related to TerreStar which was a -- a -- I
10· ·think it was a year and a half process.                       I
11· ·don't know, it was a multi-month process, very
12· ·laborious, very difficult.
13· · · · · · · When we got to the end, I had a
14· ·conversation with Mr. Dondero on where to, you
15· ·know, basically get the funds to reimburse the
16· ·fund, and I recall him saying, get the money
17· ·from Highland.
18· · · · Q.· · And so he told you to get the money
19· ·from Highland; is that right?
20· · · · A.· · That is what I recall -- in my
21· ·conversation with him, that is -- that is what
22· ·I can recall.
23· · · · Q.· · Do you know who drafted these notes?
24· · · · A.· · I don't.
25· · · · Q.· · Did you ask somebody to draft the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 281
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 146
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   284 of 899Page 175 of 200 PageID 44119
                                                                                  Page 146
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·notes?
·3· · · · A.· · I didn't ask -- I don't specifically
·4· ·ask people to draft notes really.· I mean,
·5· ·again, you know, the legal group at Highland is
·6· ·responsible and has always been responsible for
·7· ·drafting promissory notes.
·8· · · · Q.· · So based on your -- based on the
·9· ·practice, you believe that somebody from the
10· ·Highland's legal department would have drafted
11· ·these notes.· Do I have that right?
12· · · · · · · MS. DEITSCH-PEREZ:· Object to the
13· · · · form.· John, I also asked you for the Word
14· · · · versions of these notes so we could look at
15· · · · the properties, and you have not provided
16· · · · them.· Are you intending to?
17· · · · · · · MR. MORRIS:· No.
18· · · · Q.· · Can you answer my question, sir?
19· · · · A.· · Again, I --
20· · · · · · · MS. DANDENEAU:· Do you want him to
21· · · · repeat it?
22· · · · A.· · Yeah, why don't you repeat it?
23· · · · Q.· · Sure.· Mr. Waterhouse, based on the
24· ·practice that you have described in your
25· ·understanding, do you believe that these notes


                       TSG Reporting - Worldwide· · 877-702-9580                APP 282
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 147
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   285 of 899Page 176 of 200 PageID 44120
                                                                                  Page 147
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·would have been drafted by somebody in the
·3· ·legal department?
·4· · · · · · · MS. DEITSCH-PEREZ:· Object to the
·5· · · · form.
·6· · · · A.· · Yes.
·7· · · · Q.· · Okay.· And do you know who would
·8· ·have instructed -- do you have any knowledge as
·9· ·to who would have instructed the legal
10· ·department to draft these notes?
11· · · · · · · MS. DEITSCH-PEREZ:· Object to the
12· · · · form.
13· · · · A.· · It was whoever was working -- I
14· ·mean, it was likely someone on the team.                       I
15· ·mean, I don't remember exactly on every note or
16· ·every document, but, again, a lot of these
17· ·things of this nature -- they're operational in
18· ·nature -- were handled by the team.
19· · · · · · · The team knows to -- I mean, we
20· ·don't draft documents.· We're not lawyers.
21· ·We're not attorneys.· It is not what I do or
22· ·accountants do.
23· · · · · · · So they are always instructed to go
24· ·and -- and go to the legal team to get
25· ·documents like this drafted.· Also, when you go


                       TSG Reporting - Worldwide· · 877-702-9580                APP 283
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 148
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   286 of 899Page 177 of 200 PageID 44121
                                                                                  Page 148
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·to the legal team, the -- you know, we always
·3· ·loop in compliance.· And compliance -- when you
·4· ·go to the legal team, compliance is part of
·5· ·legal team.· They're made aware of -- of -- of
·6· ·these types of transactions.
·7· · · · Q.· · And do you believe that you had
·8· ·the -- withdrawn.
·9· · · · · · · Did you ever tell Mr. Dondero --
10· ·(inaudible) -- did you see those?
11· · · · A.· · Sorry.
12· · · · · · · MS. DEITSCH-PEREZ:· I did not hear
13· · · · the end of that question.
14· · · · Q.· · Did you ever tell Mr. Dondero that
15· ·you signed these two notes?
16· · · · A.· · I don't recall ever -- no, I don't
17· ·recall having a conversation with him.
18· · · · Q.· · Did you ever discuss these two notes
19· ·with him at any time?
20· · · · A.· · The conversation, I recall, was what
21· ·I described earlier.· And that is the only time
22· ·I recall ever discussing this.
23· · · · Q.· · Okay.· But the corporate accounting
24· ·group had a copy of this -- of these two notes.
25· ·And pursuant to the audit process, the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 284
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 149
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   287 of 899Page 178 of 200 PageID 44122
                                                                                  Page 149
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·corporate accounting group gave the two notes
·3· ·to PricewaterhouseCoopers in connection with
·4· ·the audit; correct?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · Yes.· I mean, that is -- yeah, I
·7· ·mean, they -- unless the legal team can also
·8· ·retain copies of items like this.· I mean, I
·9· ·don't know everything that they would retain as
10· ·well.
11· · · · · · · The legal team would also, if they
12· ·had documents as part of audits, turn that over
13· ·to the auditors as well.· So it could have been
14· ·the corporate accounting team.· It could be
15· ·someone on the legal team.
16· · · · Q.· · All right.· So you didn't -- you
17· ·didn't draft this note; right?
18· · · · A.· · I -- I -- I did not.
19· · · · Q.· · But somebody at Highland did; is
20· ·that fair?
21· · · · · · · MS. DEITSCH-PEREZ:· Object to the
22· · · · form.
23· · · · A.· · I don't know.· I mean, we can go to
24· ·the legal team.· I don't -- I'm not sitting
25· ·behind someone in legal.· Maybe they went to


                       TSG Reporting - Worldwide· · 877-702-9580                APP 285
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 150
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   288 of 899Page 179 of 200 PageID 44123
                                                                                  Page 150
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·outside counsel.· I have no idea.
·3· · · · Q.· · Did you have any reason to believe
·4· ·you weren't authorized to sign this note,
·5· ·either of these two notes?
·6· · · · A.· · I think I have already answered that
·7· ·question.
·8· · · · Q.· · Okay.· You didn't give these notes
·9· ·to PricewaterhouseCoopers; correct?
10· · · · · · · MS. DANDENEAU:· Objection to form.
11· · · · A.· · I don't recall giving these to
12· ·PricewaterhouseCoopers.
13· · · · Q.· · And in the practice that you have
14· ·described, somebody in the corporate accounting
15· ·group would have given these two notes to
16· ·PricewaterhouseCoopers; correct?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · I think I've answered that.· I said
19· ·either the corporate accounting team or maybe
20· ·the legal team.
21· · · · · · · MR. MORRIS:· Okay.· Why don't we
22· · · · take our lunch break here.
23· · · · · · · VIDEOGRAPHER:· We're going off the
24· · · · record at 1:04 p.m.
25· · · · (Recess taken 1:04 p.m. to 1:49 p.m.)


                       TSG Reporting - Worldwide· · 877-702-9580                APP 286
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 151
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   289 of 899Page 180 of 200 PageID 44124
                                                                                  Page 151
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · · · · VIDEOGRAPHER:· We are back on the
·3· · · · record at 1:49 p.m.
·4· · · · Q.· · Mr. Waterhouse, did you speak with
·5· ·anybody during the break about the substance of
·6· ·this deposition?
·7· · · · A.· · I spoke to -- to Deb and Michelle.
·8· · · · Q.· · About the substance of the
·9· ·deposition?
10· · · · A.· · Yes.
11· · · · Q.· · Can you tell me what you talked
12· ·about?
13· · · · · · · MS. DANDENEAU:· No.· We object on
14· · · · the basis of privilege.
15· · · · Q.· · Okay.· You are going to follow your
16· ·counsel's objection here?
17· · · · A.· · Yes.
18· · · · Q.· · Okay.
19· · · · · · · MR. MORRIS:· Can we put up on the
20· · · · screen Exhibit 35.
21· · · · · · · (Exhibit 35 marked.)
22· · · · Q.· · Are you able to see that document,
23· ·sir?
24· · · · A.· · Yes.
25· · · · Q.· · Have you ever seen an incumbency


                       TSG Reporting - Worldwide· · 877-702-9580                APP 287
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 152
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   290 of 899Page 181 of 200 PageID 44125
                                                                                  Page 152
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·certificate before?
·3· · · · A.· · I have.
·4· · · · Q.· · Do you have a general understanding
·5· ·of what an incumbency certificate is?
·6· · · · A.· · I have a general understanding.
·7· · · · Q.· · What is your general understanding?
·8· · · · A.· · You know, those -- my general
·9· ·understanding is that the incumbency
10· ·certificate basically lists folks that can --
11· ·are like authorized signers.
12· · · · Q.· · Okay.· And do you see that this is
13· ·an incumbency certificate for Highland Capital
14· ·Management Fund Advisors, L.P.?
15· · · · A.· · Yes.
16· · · · Q.· · Okay.· And if we could scroll down
17· ·just a little bit, do you see that it's dated
18· ·effective as of April 11th, 2019?
19· · · · A.· · Yes, I see that.
20· · · · Q.· · Okay.· And is that your signature in
21· ·the middle of the signature block?
22· · · · A.· · Yes, it is.
23· · · · Q.· · And by signing it, did you accept
24· ·appointment as the treasurer of HCMFA effective
25· ·as of April 11th, 2019?


                       TSG Reporting - Worldwide· · 877-702-9580                APP 288
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 153
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   291 of 899Page 182 of 200 PageID 44126
                                                                                  Page 153
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Again, I'm not the legal -- I don't
·3· ·know if this makes me the treasurer or the
·4· ·appointment.· I don't know -- I don't know
·5· ·that, so I don't -- I don't know if that
·6· ·document -- again, I think -- again, I'm not
·7· ·the legal expert.· I think isn't there --
·8· ·aren't there other legal documents that detail
·9· ·who the officers are that could be incorporated
10· ·or things like that?· Again, I don't want to
11· ·play armchair attorney here.
12· · · · Q.· · I'm not asking you for a legal
13· ·conclusion.· I'm asking you for your knowledge
14· ·and understanding.· When you signed this
15· ·document, did you understand that you were
16· ·accepting an appointment as the treasurer of
17· ·HCMFA?
18· · · · · · · MS. DANDENEAU:· Objection to form.
19· · · · · · · MS. DEITSCH-PEREZ:· Objection, form.
20· · · · A.· · Again, I don't think this -- that
21· ·wasn't my understanding.· I don't think this
22· ·makes -- this document makes me the treasurer.
23· · · · Q.· · What do you think this document --
24· ·why did you sign this document?
25· · · · · · · MS. DEITSCH-PEREZ:· Objection to


                       TSG Reporting - Worldwide· · 877-702-9580                APP 289
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 154
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   292 of 899Page 183 of 200 PageID 44127
                                                                                  Page 154
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · · · · MR. MORRIS:· You're objecting to the
·4· · · · form of the question when I asked him why
·5· · · · did you sign the document?· What is the
·6· · · · basis for the objection?
·7· · · · · · · MS. DEITSCH-PEREZ:· Because, John, I
·8· · · · think that it does call for a legal
·9· · · · conclusion other than -- with him saying
10· · · · because somebody told me to sign this
11· · · · document.· But if you want to go there,
12· · · · that is fine.
13· · · · · · · MR. MORRIS:· Okay.
14· · · · · · · MS. DANDENEAU:· I don't think --
15· · · · he's already said he's not a lawyer.
16· · · · · · · MR. MORRIS:· I'll allow the witness
17· · · · to answer this question.
18· · · · Q.· · Why did you sign this document, sir?
19· · · · A.· · I mean, our -- our legal group would
20· ·bring by these incumbency certificates from
21· ·time to time.· I have no idea why they're being
22· ·updated, and I was asked to sign.
23· · · · Q.· · Did you ask anybody, what is this
24· ·document?
25· · · · A.· · No.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 290
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 155
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   293 of 899Page 184 of 200 PageID 44128
                                                                                  Page 155
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did anybody tell you why they needed
·3· ·you to sign the document?
·4· · · · A.· · Not that I can recall.
·5· · · · Q.· · You testified earlier that you
·6· ·understood that you served as the acting
·7· ·treasurer for HCMFA; correct?
·8· · · · A.· · Yes.
·9· · · · Q.· · How did you become the acting
10· ·treasurer of HCMFA?
11· · · · · · · MS. DANDENEAU:· Objection to form.
12· · · · A.· · I don't -- I don't know the legal --
13· ·I don't know the legal mechanic of how I became
14· ·the acting treasurer.
15· · · · Q.· · I'm not asking for the legal
16· ·mechanic.· I'm asking you as the person who
17· ·is --
18· · · · · · · MS. DANDENEAU:· John, you said --
19· · · · · · · MR. MORRIS:· Stop.
20· · · · · · · MS. DANDENEAU:· -- how did you
21· · · · become the treasurer.· That is --
22· · · · · · · MR. MORRIS:· Please stop.
23· · · · · · · MS. DANDENEAU:· That is a legal
24· · · · question.
25· · · · · · · MR. MORRIS:· I am not asking any


                       TSG Reporting - Worldwide· · 877-702-9580                APP 291
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 156
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   294 of 899Page 185 of 200 PageID 44129
                                                                                  Page 156
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · legal questions, to be clear.· I'm asking
·3· · · · for this witness' understanding as to how
·4· · · · he became the acting treasurer of HCMFA.
·5· · · · If he doesn't know, he can say he doesn't
·6· · · · know, but this legal stuff is nonsense, and
·7· · · · I really object to it.
·8· · · · Q.· · Sir, I'm asking you a very simple
·9· ·question.
10· · · · · · · MS. DANDENEAU:· Argumentative.
11· · · · Q.· · You testified -- you testified that
12· ·you became the acting treasurer of HCM --
13· ·HCMFA; correct?
14· · · · A.· · Yes.
15· · · · Q.· · How did that happen?
16· · · · · · · MS. DANDENEAU:· Again, object to
17· · · · form.
18· · · · · · · MR. MORRIS:· I can't wait to do this
19· · · · in a courtroom.· Good God.
20· · · · Q.· · Go ahead, sir.
21· · · · A.· · I don't know the exact process of
22· ·how that happened.
23· · · · Q.· · Do you have any idea whether signing
24· ·this document was part of the process?
25· · · · · · · MR. MORRIS:· You know what --


                       TSG Reporting - Worldwide· · 877-702-9580                APP 292
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 157
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   295 of 899Page 186 of 200 PageID 44130
                                                                                  Page 157
·1· · · · · ·WATERHOUSE - 10-19-21
·2· · · · ·MS. DANDENEAU:· Objection.
·3· · · · ·MR. MORRIS:· -- withdrawn.· You guys
·4· ·want to do this, I can't wait.· I can't
·5· ·wait.· This is the craziest stuff ever.
·6· · · · ·MS. DANDENEAU:· John, he said he's
·7· ·not a lawyer, and you are asking him for a
·8· ·legal conclusion, and he says he doesn't
·9· ·know, and you persist.
10· · · · ·MR. MORRIS:· Okay.
11· · · · ·MS. DANDENEAU:· So you can ask these
12· ·questions --
13· · · · ·MR. MORRIS:· Did anyone -- please
14· ·stop talking.
15· · · · ·MS. DANDENEAU:· -- at another
16· ·point -- no, no, no, I'm entitled to talk,
17· ·too; right?· If you're going to make these
18· ·accusations as if we're trying to stonewall
19· ·you, this is not the witness to ask that
20· ·question.
21· · · · ·MR. MORRIS:· I can't -- I can't
22· ·wait -- I can't wait to do this in a
23· ·courtroom.· I will just leave it at that.
24· · · · ·MS. DANDENEAU:· That's right, I'm
25· ·sure you can't.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 293
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 158
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   296 of 899Page 187 of 200 PageID 44131
                                                                                  Page 158
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did anyone ever tell you, sir, that
·3· ·even though you were the acting treasurer of
·4· ·HCMFA, that you were not authorized to sign the
·5· ·two promissory notes that we looked at before
·6· ·lunch?
·7· · · · A.· · I'm not sure I understand the
·8· ·question.· I wasn't -- I mean, I'm -- I'm the
·9· ·current acting treasurer.
10· · · · Q.· · Did anybody ever tell you at any
11· ·time that even though you were the acting
12· ·treasurer of HCMFA, that you were not
13· ·authorized to sign the two promissory notes
14· ·that we looked at before lunch?
15· · · · · · · MS. DANDENEAU:· Objection to form.
16· · · · A.· · Not that I recall.
17· · · · Q.· · Did anybody ever tell you at any
18· ·time that you were not authorized to sign the
19· ·two promissory notes that we looked at before
20· ·lunch?
21· · · · A.· · Not that I recall.
22· · · · Q.· · Did anybody ever tell you at any
23· ·time that you should not have signed the two
24· ·promissory notes that we looked at before
25· ·lunch?


                       TSG Reporting - Worldwide· · 877-702-9580                APP 294
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 159
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   297 of 899Page 188 of 200 PageID 44132
                                                                                  Page 159
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Not that I recall.
·3· · · · Q.· · Did you ever tell anybody at any
·4· ·time that you weren't authorized to sign the
·5· ·two promissory notes that we looked at before
·6· ·lunch?
·7· · · · A.· · Not that I recall.
·8· · · · Q.· · Did you ever tell anybody at any
·9· ·time that you made a mistake when you signed
10· ·the two promissory notes that we looked at
11· ·before lunch?
12· · · · A.· · Not that I recall.
13· · · · Q.· · As you sit here right now, do you
14· ·have any reason to believe that you were not
15· ·authorized to sign the two documents that we
16· ·looked at before lunch?
17· · · · · · · MS. DANDENEAU:· Objection to form.
18· · · · A.· · If -- if this is the -- the valid
19· ·incumbency certificate, I mean, this does --
20· ·this does detail who the signers are.
21· · · · Q.· · Okay.· And looking at that document,
22· ·does that give you comfort that you were
23· ·authorized to sign the two promissory notes
24· ·that we looked at before lunch?
25· · · · · · · MS. DEITSCH-PEREZ:· Object to the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 295
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 160
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   298 of 899Page 189 of 200 PageID 44133
                                                                                  Page 160
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · form.
·3· · · · · · · MS. DANDENEAU:· Objection, form.
·4· · · · A.· · Yes.
·5· · · · Q.· · As of October 20th -- withdrawn.
·6· · · · · · · I'm trying to take your mind back to
·7· ·a year ago, October 2020.· Do you recall at
·8· ·that time that the boards of the retail funds
·9· ·were making inquiries about obligations that
10· ·were owed by the advisors to Highland in
11· ·connection with their 15(c) review?
12· · · · · · · MS. DANDENEAU:· Objection to form.
13· · · · A.· · I don't -- I don't recall.
14· · · · Q.· · As of October 2020, you had no
15· ·reason to believe you weren't authorized to
16· ·sign the two promissory notes that we just
17· ·looked at; correct?
18· · · · · · · MS. DANDENEAU:· Objection, form.
19· · · · · · · MS. DEITSCH-PEREZ:· Objection to
20· · · · form.
21· · · · A.· · I didn't think about it in October
22· ·of 2020, but I mean --
23· · · · Q.· · Did you have any reason to believe
24· ·at that time that you weren't authorized to
25· ·sign the two notes that we just looked at?


                       TSG Reporting - Worldwide· · 877-702-9580                APP 296
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 161
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   299 of 899Page 190 of 200 PageID 44134
                                                                                  Page 161
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · Not that I'm aware, no.
·3· · · · Q.· · Did you have any reason to believe a
·4· ·year ago that you made a mistake when you
·5· ·signed those two notes?
·6· · · · A.· · Not that I'm aware.
·7· · · · Q.· · A year ago you believed that HCMFA
·8· ·owed Highland the unpaid principal amounts that
·9· ·were due under those two notes; correct?
10· · · · A.· · They're -- they're promissory notes
11· ·that were -- as you presented, that were --
12· ·that were executed.· Whether they're valid or
13· ·if there's other reasons, I didn't -- I don't
14· ·know.
15· · · · Q.· · I'm not asking you whether they're
16· ·valid or not.· I'm asking you for your state of
17· ·mind.· A year ago you believed that HCMFA
18· ·was -- was obligated to pay the unpaid
19· ·principal amount under the two notes that you
20· ·signed; correct?
21· · · · A.· · Yeah, I'm -- I'm -- yes.
22· · · · Q.· · Thank you.· Are you aware -- you're
23· ·aware that -- that in 2017, NexPoint issued a
24· ·note in favor of Highland in the approximate
25· ·amount of $30 million; correct?


                       TSG Reporting - Worldwide· · 877-702-9580                APP 297
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 162
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   300 of 899Page 191 of 200 PageID 44135
                                                                                  Page 162
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · A.· · I'm -- I'm -- I'm generally aware.
·3· · · · Q.· · Okay.· And are you generally aware
·4· ·that from time to time, after the note was
·5· ·issued by NexPoint, that moneys were applied to
·6· ·principal and interest that were due under the
·7· ·NexPoint note?
·8· · · · A.· · Yes, I'm generally aware.
·9· · · · Q.· · Okay.· And did anybody ever tell you
10· ·that the payments that were made against the
11· ·NexPoint notes were made by mistake?
12· · · · A.· · Yes.
13· · · · Q.· · And is it the one payment that we
14· ·talked about earlier today?
15· · · · A.· · We talked about a lot of things
16· ·today.· What payment are we talking about?
17· · · · Q.· · Okay.· Who told you that any payment
18· ·made against the NexPoint note was made by
19· ·mistake?
20· · · · A.· · D.C. Sauter.
21· · · · Q.· · When did Mr. Sauter tell you that?
22· · · · A.· · I don't -- I don't remember
23· ·specifically.
24· · · · Q.· · Do you remember what payments --
25· · · · A.· · Sometime -- sometime this year.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 298
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 163
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   301 of 899Page 192 of 200 PageID 44136
                                                                                  Page 163
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Sometime in 2021?
·3· · · · A.· · Yes.
·4· · · · Q.· · Do you remember what payment he was
·5· ·referring to?
·6· · · · A.· · It was the -- the payment made in
·7· ·January of 2021 or -- yeah, January of -- of
·8· ·this -- January of 2021.
·9· · · · Q.· · Okay.· So did anybody ever tell you
10· ·at any time that any payment that was made
11· ·against principal --
12· · · · A.· · And -- and -- and -- hold on, and it
13· ·may have been other -- again, it may have been
14· ·that payment or -- or there may have been what
15· ·he was explaining, a misapplication of prior
16· ·payments as well.
17· · · · Q.· · Can you -- can you give me any
18· ·specificity -- withdrawn.
19· · · · · · · Withdrawn.· Can you tell me
20· ·everything that Mr. Sauter told you about --
21· ·about errors in relation to payments made
22· ·against principal and interest due under the
23· ·NexPoint note?
24· · · · · · · MS. DANDENEAU:· Can I just --
25· · · · · · · MR. RUKAVINA:· Hold on.· Hold on.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 299
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 164
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   302 of 899Page 193 of 200 PageID 44137
                                                                                  Page 164
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · I'm going to object here, and I'm going to
·3· · · · instruct the witness not to answer
·4· · · · depending on the discussion that you had --
·5· · · · Mr. Waterhouse, I'm the lawyer for
·6· · · · NexPoint, and as everyone here knows, D.C.
·7· · · · Sauter is in-house counsel.
·8· · · · · · · So if you and Mr. Sauter were having
·9· · · · a factual discussion and him preparing his
10· · · · affidavit, et cetera, then go ahead and
11· · · · answer that.· But if you were having a
12· · · · discussion as to our legal strategy in this
13· · · · lawsuit, or anything having to do with
14· · · · that, then do not answer that.
15· · · · · · · And if you need to talk to either
16· · · · your counsel or me about that, then we need
17· · · · to have that discussion now.
18· · · · A.· · Okay.· Yeah, I don't -- I don't
19· ·really know how to make that distinction, so
20· ·maybe I need to talk to counsel before I
21· ·answer, or if I can answer.
22· · · · Q.· · Let me just ask you this question:
23· ·Did -- did you have any conversation with
24· ·Mr. Sauter about any payment of principal and
25· ·interest prior to the time that you left


                       TSG Reporting - Worldwide· · 877-702-9580                APP 300
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 165
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   303 of 899Page 194 of 200 PageID 44138
                                                                                  Page 165
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·Highland's employment, or did it happen after
·3· ·you left Highland's employment?
·4· · · · A.· · I don't -- I don't recall if -- I
·5· ·don't recall.· I mean, it was sometime in 2021.
·6· ·I don't remember if it was before or after I
·7· ·was let go from Highland.
·8· · · · Q.· · Okay.· So -- so nobody told you
·9· ·prior to 2021 that any error or mistake was
10· ·made in the application of payments against
11· ·principal and interest due on the NexPoint
12· ·note.· Do I have that right?
13· · · · A.· · Yeah, I don't -- I don't recall this
14· ·being in 2020.
15· · · · Q.· · Okay.· And it didn't happen in 2019;
16· ·correct?
17· · · · A.· · I don't recall that happened.
18· · · · Q.· · And it didn't happen in 2018;
19· ·correct?
20· · · · A.· · I don't -- I don't recall that
21· ·happening.
22· · · · Q.· · And it didn't happen in 2017;
23· ·correct?
24· · · · A.· · I don't recall.
25· · · · Q.· · But -- but you believe the


                       TSG Reporting - Worldwide· · 877-702-9580                APP 301
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 166
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   304 of 899Page 195 of 200 PageID 44139
                                                                                  Page 166
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·conversation took place in 2021.· You just
·3· ·don't remember if it was before or after you
·4· ·left Highland's employment.· Do I have that
·5· ·right?
·6· · · · A.· · It was sometime this year.                     I
·7· ·don't -- I don't remember.
·8· · · · Q.· · Okay.· Did you report this
·9· ·conversation to Mr. Seery at any point?
10· · · · A.· · I don't believe so.
11· · · · Q.· · Did you report this conversation to
12· ·anybody at DSI at any time?
13· · · · A.· · I don't recall.
14· · · · Q.· · Do you have -- you don't have a
15· ·recollection of ever doing that; correct?
16· · · · A.· · Yeah, that's right.· I don't recall
17· ·doing that.
18· · · · Q.· · Do you recall telling anybody at
19· ·Pachulski Stang about the conversation you
20· ·recall with Mr. Sauter?
21· · · · A.· · No, I don't -- I don't recall.
22· · · · Q.· · Did you tell any of the independent
23· ·board members about your conversation with
24· ·Mr. Sauter?
25· · · · A.· · I don't recall.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 302
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 167
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   305 of 899Page 196 of 200 PageID 44140
                                                                                  Page 167
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · Did you tell any of the employees at
·3· ·Highland before you left Highland's employment
·4· ·about this call that you had with Mr. Sauter?
·5· · · · · · · MS. DANDENEAU:· Objection to form.
·6· · · · A.· · No, I don't -- no, I don't recall.
·7· · · · Q.· · NexPoint -- to the best of your
·8· ·knowledge, did NexPoint ever file a proof of
·9· ·claim against Highland to try to recover moneys
10· ·that were mistakenly paid against the principal
11· ·and interest due under the note?
12· · · · A.· · Okay.· Hold on.· You are saying did
13· ·NexPoint Advisors file a proof of claim to
14· ·Highland for errors related to payments under
15· ·the NexPoint note to Highland?
16· · · · Q.· · Correct.
17· · · · A.· · I'm -- I'm -- I'm not -- I'm not
18· ·aware.
19· · · · Q.· · Are you aware --
20· · · · A.· · I'm not the legal person here, I
21· ·don't know.
22· · · · Q.· · I'm just asking for your knowledge,
23· ·sir.
24· · · · A.· · Yeah, I don't know.· I'm not aware.
25· · · · Q.· · Are you aware of any claim of any


                       TSG Reporting - Worldwide· · 877-702-9580                APP 303
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 168
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   306 of 899Page 197 of 200 PageID 44141
                                                                                  Page 168
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·kind that NexPoint has ever made to try to
·3· ·recover the amounts that it contends were -- or
·4· ·that Mr. Sauter contend were mistakenly applied
·5· ·against principal and interest due under the
·6· ·NexPoint note?
·7· · · · A.· · I'm not aware.
·8· · · · · · · MS. DANDENEAU:· Objection to form.
·9· · · · Q.· · Okay.· The advisors' agreements with
10· ·the retail funds are subject to annual renewal;
11· ·correct?
12· · · · A.· · Yes.
13· · · · Q.· · And do you participate in the
14· ·renewal process each year?
15· · · · A.· · Yes.
16· · · · Q.· · What role do you play in the renewal
17· ·process?
18· · · · A.· · I'm -- I'm asked by the retail board
19· ·to walk-through the advisors financials.
20· · · · Q.· · And do you do that in the context of
21· ·a board meeting?
22· · · · A.· · Yes, it is -- yes, it is typically
23· ·done in a board meeting.
24· · · · Q.· · And do you recall the time --
25· ·does -- does the renewal process happen around


                       TSG Reporting - Worldwide· · 877-702-9580                APP 304
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 169
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   307 of 899Page 198 of 200 PageID 44142
                                                                                  Page 169
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· ·the same time each year?
·3· · · · A.· · Yes, it is -- it is around the same
·4· ·time every year.
·5· · · · Q.· · And what -- what time period of the
·6· ·year does the renewal process occur?
·7· · · · A.· · Approximately the September
·8· ·timeframe.
·9· · · · Q.· · During that process, in your
10· ·experience, does the board typically conduct
11· ·its own diligence and ask for information?
12· · · · A.· · Does the board ask for lots of -- I
13· ·mean, just -- I mean, lots of information as a
14· ·part of that -- that -- as part of that board
15· ·meeting and that process.
16· · · · Q.· · Okay.· And do you recall that the
17· ·process in 2020 spilled into October?
18· · · · A.· · Yes.· Yes.
19· · · · Q.· · Okay.· And as part of the process in
20· ·2020, the retail board asked -- asked what are
21· ·referred to as 15(c) questions; right?
22· · · · A.· · I guess I don't want to be -- they
23· ·asked 15(c) -- are you saying they asked 15(c)
24· ·questions and this is why it went into October
25· ·or --


                       TSG Reporting - Worldwide· · 877-702-9580                APP 305
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 170
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   308 of 899Page 199 of 200 PageID 44143
                                                                                  Page 170
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · Q.· · No, I apologize.
·3· · · · · · · Do you have an understanding of
·4· ·what -- of what 15(c) refers to in the context
·5· ·of the annual renewal process?
·6· · · · A.· · Yes, generally.
·7· · · · Q.· · All right.· What is your general
·8· ·understanding of the term "15(c)" in the
·9· ·context of the annual renewal process?
10· · · · A.· · I -- I think 15(c) is the section
11· ·that -- that -- you know, that -- that the
12· ·board has to evaluate every year, the retail
13· ·board.· They have to, you know, go through,
14· ·evaluate, and go through that approval process
15· ·on a yearly basis.
16· · · · Q.· · Okay.
17· · · · · · · MR. MORRIS:· Can we put up on the
18· · · · screen Exhibit 36, please.
19· · · · · · · (Exhibit 36 marked.)
20· · · · · · · MR. MORRIS:· I guess let's just
21· · · · start at the bottom so Mr. Waterhouse can
22· · · · see what is here.
23· · · · Q.· · You see this begins with an email
24· ·from Blank Rome to a number of people.
25· · · · · · · MR. MORRIS:· And if we can scroll


                       TSG Reporting - Worldwide· · 877-702-9580                APP 306
                                                                                             YVer1f
  Case
    Case
       21-03005-sgj
          21-03005-sgj
                    Doc 86-4
                        Doc 148-3
                             Filed 10/29/21
                                     Filed 01/05/22
                                              Entered Entered
                                                      10/29/2101/05/22
                                                               17:22:3818:18:43
                                                                          Page 171
                                                                                 Desc
                                                                                   of 397
 Case 3:21-cv-00881-X Document  Appendix   Page01/09/24
                                  178-16 Filed   309 of 899Page 200 of 200 PageID 44144
                                                                                  Page 171
·1· · · · · · · · WATERHOUSE - 10-19-21
·2· · · · up -- keep going just a little bit.
·3· · · · Q.· · You will see that there is an email
·4· ·from Lauren Thedford to Thomas Surgent and
·5· ·others where she reports that she was attaching
·6· ·and reproducing below additional 15(c)
·7· ·follow-up questions from the board.
·8· · · · · · · Do you see that?
·9· · · · A.· · Yes.
10· · · · Q.· · And do you see Question No. 2 asks
11· ·whether there are any material outstanding
12· ·amounts currently payable or due in the future
13· ·(e.g., notes) to HCMLP by HCMFA or NexPoint
14· ·Advisors or any other affiliate that provides
15· ·services to the funds?
16· · · · · · · Do you see that?
17· · · · A.· · Yes.
18· · · · Q.· · And -- and did you -- do you recall
19· ·that in -- in October of 2020 the retail boards
20· ·were asking for that information?
21· · · · A.· · I don't recall it, but there --
22· ·they're obviously asking in this email.
23· · · · Q.· · Okay.
24· · · · · · · MR. MORRIS:· Can we scroll up a
25· · · · little bit, please.


                       TSG Reporting - Worldwide· · 877-702-9580                APP 307
                                                                                             YVer1f
